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 1   THOMAS E. MONTGOMERY, County Counsel
     County of San Diego
 2   By FERNANDO KISH, Senior Deputy (SBN 236961)
        CHRISTINA I. VILASECA, Senior Deputy (SBN 290910)
 3   1600 Pacific Highway, Room 355
     San Diego, California 92101-2469
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 5   E-mail: christina.vilaseca@sdcounty.ca.gov
 6   Attorneys for Defendant County of San Diego
 7
 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11   JANE DOE, an Individual,           )                 '19CV2335 JM AGS
                                                     No. ________________________
                                        )
12          Plaintiff,                  )            NOTICE OF LODGMENT OF
                                        )            EXHIBITS IN SUPPORT OF
13          v.                          )            DEFENDANT COUNTY OF SAN
                                        )            DIEGO’S NOTICE OF REMOVAL OF
14   COUNTY OF SAN DIEGO, a California )             STATE COURT ACTION PURSUANT
     Municipality; TIMOTHY WILSON, an )              TO 28 U.S.C. SECTION 1441(a), 28
15   individual; and DOES 1 through 10, )            U.S.C. SECTION 1331 (FEDERAL
     inclusive                          )            QUESTION), and 28 U.S.C. SECTION
16                                      )            1367(a) (SUPPLEMENTAL
            Defendants.                 )            JURISDICTION)
17                                      )
18
19         Pursuant to 28 U.S.C. § 1446, Defendant County of San Diego (“County”)
20   lodges the following exhibits, attached hereto, in support of its notice of removal of
21   state court action to this court.
22   Exhibit A: Register of Action (“Docket”) as of December 6, 2019 for Superior Court of
23                California, County of San Diego case entitled Jane Doe v. County of San
24                Diego, Timothy Wilson, and Does 1-10, Case No. 37-2019-00020094-CU-
25                CR-CTL.
26   Exhibit B: Plaintiff’s Complaint for Damages and Request for Jury Trial filed April 2,
27                2019.
28   Exhibit C: Plaintiff’s Civil Case Cover Sheet filed April 2, 2019.
     Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.8 Page 2 of 189



 1   Exhibit D: Plaintiff’s Motion to Permit Use of Pseudonym filed April 2, 2019.
 2   Exhibit E:   Order Granting Jane Doe’s Motion to Permit Use of Pseudonym filed April
 3                15, 2019.
 4   Exhibit F:   Notice of Case Assignment and Case Management Conference filed on
 5                April 18, 2019.
 6   Exhibit G: Summons filed April 29, 2019.
 7   Exhibit H: Proof of Service of Summons and Complaint on Timothy Wilson completed
 8                on May 8, 2019 and filed on June 10, 2019.
 9   Exhibit I:   Proof of Service of Summons and Complaint on County of San Diego
10                completed on May 8, 2019 and filed on June 10, 2019.
11   Exhibit J:   Request for Entry of Default of Timothy Wilson filed on June 10, 2019.
12   Exhibit K: Plaintiff’s First Amended Complaint filed July 2, 2019.
13   Exhibit L:   Plaintiff and County of San Diego’s Stipulation and Order to Allow County
14                Additional Time to Respond to Complaint filed August 1, 2019 and Order
15                signed on August 6, 2019.
16   Exhibit M: Plaintiff’s Motion for Leave to File Second Amended Complaint filed
17                August 16, 2019.
18   Exhibit N: County of San Diego’s Notice of Jury Fee Deposit filed September 19, 2019.
19   Exhibit O: County of San Diego’s CMC Statement filed September 19, 2019.
20   Exhibit P:   Plaintiff’s CMC Statement filed September 26, 2019.
21   Exhibit Q: Plaintiff’s Notice of Jury Fee Deposit filed October 3, 2019.
22   Exhibit R: County of San Diego’s Opposition to Plaintiff’s Motion for Leave to File
23                Second Amended Complaint filed October 28, 2019.
24   Exhibit S:   Plaintiff’s Reply to Opposition for Leave to File Second Amended
25                Complaint filed on November 1, 2019.
26   Exhibit T:   Superior Court’s Tentative Ruling on Plaintiff’s Motion for Leave to File
27                Second Amended Complaint entered on November 7. 2019.
28   Exhibit U: Court’s Notice of Ruling served on November 12, 2019.

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 1   Exhibit V: Plaintiff’s Second Amended Complaint filed on November 14, 2019.
 2   Exhibit W: Plaintiff’s Application and Order Appointing GAL - Jennifer Tanis, and
 3               Supporting Declarations filed on November 15, 2019.
 4
 5   DATED: December 6, 2019             THOMAS E. MONTGOMERY, County Counsel
 6                                       By: s/FERNANDO KISH, Senior Deputy
                                         Attorneys for Defendant County of San Diego
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              EXHIBIT “A”
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SUPERIOR COURT OF CALIFORNIA
County of SAN DIEGO                                                       Register of Actions Notice

Case Number:     37-2019-00020094-CU-CR-CTL                                 Filing Date:          04/02/2019
Case Title:      Doe vs County of San Diego [IMAGED]                        Case Age:             248 days
Case Status:     Pending                                                    Location:             Central
Case Category:   Civil - Unlimited                                          Judicial Officer:     Ronald F. Frazier
Case Type:       Civil Rights                                               Department:           C-65

Future Events
Date             Time            Department                     Event
01/17/2020       10:30 AM        C-65                           Civil Case Management Conference - Complaint

Participants
Name                                          Role                    Representation
County of San Diego                           Defendant               Kish, Fernando
Doe, Jane                                     Plaintiff               Licari, Michael A
Tanis, Jennifer                               Guardian Ad Litem
Wilson, Timothy                               Defendant

Representation
Name                                          Address                                    Phone Number
KISH, FERNANDO                                1600 Pacific Hwy Rm 355 San Diego CA 92101 (619) 531-4860
                                              2469
LICARI, MICHAEL A                             7801 Mission Court Court 240 San Diego CA
                                              92108

ROA#      Entry Date                          Short/Long Entry                                    Filed By
    1     04/02/2019    Complaint filed by Doe, Jane.                                  Doe, Jane (Plaintiff)
                        Refers to: County of San Diego; Wilson, Timothy
     2    04/02/2019    Civil Case Cover Sheet filed by Doe, Jane.                     Doe, Jane (Plaintiff)
     3    04/02/2019    Declaration - Other (Jane Doe's Motion to Permit use of        Doe, Jane (Plaintiff)
                        Pseudonym) filed by Doe, Jane.
     4    04/15/2019    Order - Other (Granting Jane Doe's motion to permit use of     Doe, Jane (Plaintiff)
                        Pseudonym) filed by Doe, Jane.
     5    04/02/2019    Declaration - Other (of Jane Doe in support of her motion to   Doe, Jane (Plaintiff)
                        permit use of a Pseudonym) filed by Doe, Jane.
     6    04/18/2019    Summons issued.
     7    04/02/2019    Case assigned to Judicial Officer Frazier, Ronald.
     8    04/18/2019    Civil Case Management Conference scheduled for
                        10/04/2019 at 11:00:00 AM at Central in C-65 Ronald F.
                        Frazier.
     9    04/18/2019    Case initiation form printed.
    10    04/02/2019    Sealed Document(s) (Complaint/Motion to permit use of
                        Pseudonym/Order) filed by The Superior Court of San
                        Diego.
    11    04/02/2019    Sealed Document(s) (Civil Case Cover Sheet) filed by The
                        Superior Court of San Diego.
    12    04/25/2019    [Another document for ROA# 12]
    12    04/25/2019    [Another document for ROA# 12]
    12    04/25/2019    [Another document for ROA# 12]
    12    04/25/2019    [Another document for ROA# 12]
    12    04/25/2019    [Another document for ROA# 12]
    12    04/25/2019    E-filing transaction partially accepted.
    13    04/29/2019    Original Summons filed by Doe, Jane.                           Doe, Jane (Plaintiff)


                                                  EXHIBIT ADate Printed: December 06, 2019      (10:42AM PST)   Page 1 of 3
       Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.12 Page 6 of 189
San Diego Superior Court   Case: 37-2019-00020094-CU-CR-CTL        Title: Doe   vs County of San Diego [IMAGED]

      14     06/10/2019    Proof of Service of 10-day Summons & Complaint -               Doe, Jane (Plaintiff)
                           Personal filed by Doe, Jane.
                           Refers to: Wilson, Timothy
      15     06/10/2019    Proof of Service of 10-day Summons & Complaint -               Doe, Jane (Plaintiff)
                           Personal filed by Doe, Jane.
                           Refers to: County of San Diego
      16     06/10/2019    Request for Entry of Default filed by Doe, Jane.               Doe, Jane (Plaintiff)
                           Refers to: Wilson, Timothy
      17     06/10/2019    The default filed by Doe, Jane was entered as to Wilson,
                           Timothy on Complaint . Override feature used.
      18     07/02/2019    Amended Complaint (First) filed by Doe, Jane.                  Doe, Jane (Plaintiff)
                           Refers to: Wilson, Timothy; County of San Diego
      19     08/01/2019    Stipulation - Other - Fee Due (to Allow the County of San      Doe, Jane (Plaintiff); County of
                           Diego Additional Time to Respond to Jane Doe's Complaint       San Diego (Defendant)
                           and Order) filed by Doe, Jane; County of San Diego.
      20     08/16/2019    Motion Hearing (Civil) scheduled for 11/08/2019 at 08:30:00
                           AM at Central in C-65 Ronald F. Frazier.
      21     08/16/2019    Motion for Leave to Amend filed by Doe, Jane.                  Doe, Jane (Plaintiff)
      22     08/16/2019    Declaration - Other (Declaration of Michael Licari) filed by   Doe, Jane (Plaintiff)
                           Doe, Jane.
      23     08/16/2019    Proposed Order submitted by Doe, Jane received but not         Doe, Jane (Plaintiff)
                           filed on 08/16/2019.
      24     09/19/2019    Notice of Jury Fee Deposit filed by County of San Diego.      County of San Diego
                                                                                         (Defendant)
      25     09/19/2019    Case Management Statement filed by County of San Diego. County of San Diego
                                                                                         (Defendant)
      26     09/19/2019    Proof of Service by Mail filed by County of San Diego.        County of San Diego
                                                                                         (Defendant)
      27     09/26/2019    Case Management Statement filed by Doe, Jane.                 Doe, Jane (Plaintiff)
      28     10/03/2019    Notice of Jury Fee Deposit filed by Doe, Jane.                Doe, Jane (Plaintiff)
      31     10/04/2019    Civil Case Management Conference continued pursuant to
                           party's motion to 11/08/2019 at 08:30AM before Judge
                           Ronald F. Frazier.
      32     10/04/2019    Minutes finalized for Civil Case Management Conference
                           heard 10/04/2019 11:00:00 AM.
      33     10/28/2019    Memorandum of Points and Authorities (in opposition to        County of San Diego
                           plaintiffs motion for leave to file second amended complaint) (Defendant)
                           filed by County of San Diego.
      34     10/28/2019    Proof of Service (of memorandum of points and authorities) County of San Diego
                           filed by County of San Diego.                                 (Defendant)
      35     11/01/2019    Reply to Opposition - Other filed by Doe, Jane.               Doe, Jane (Plaintiff)
      36     11/01/2019    Declaration - Other filed by Doe, Jane.                       Doe, Jane (Plaintiff)
      37     11/07/2019    Tentative Ruling for Motion Hearing (Civil) published.
      40     11/08/2019    Civil Case Management Conference continued pursuant to
                           Court's motion to 01/17/2020 at 10:30AM before Judge
                           Ronald F. Frazier.
      41     11/08/2019    Minutes finalized for Multiple Events heard 11/08/2019
                           08:30:00 AM.
      42     11/08/2019    Clerk's Certificate of Service By Mail (Minutes Only) SD
                           generated.
      43     11/08/2019    Appointment of Official Reporter Pro Tempore (SUZANNE
                           TATE #8120) filed by The Superior Court of San Diego.
      44     11/14/2019    Amended Complaint (Second) filed by Doe, Jane.                Doe, Jane (Plaintiff)
                           Refers to: Wilson, Timothy; County of San Diego
      45     11/19/2019    Application and Order Appointing Guardian Ad Litem (Order Doe, Jane (Plaintiff)
                           signed 11/19/2019) filed by Doe, Jane.
                           Refers to: Tanis, Jennifer
      46     11/15/2019    Declaration - Other (Of Jennifer Tanis) filed by Doe, Jane. Doe, Jane (Plaintiff)


                                                     EXHIBIT ADate Printed: December 06, 2019    (10:42AM PST)    Page 2 of 3
       Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.13 Page 7 of 189
San Diego Superior Court   Case: 37-2019-00020094-CU-CR-CTL        Title: Doe   vs County of San Diego [IMAGED]

      47     11/15/2019    Declaration - Other (of Lejon Jackson) filed by Doe, Jane.     Doe, Jane (Plaintiff)




                                                     EXHIBIT ADate Printed: December 06, 2019    (10:42AM PST)    Page 3 of 3
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              EXHIBIT “B”
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                    1    MICHAEL LICARI (SBN 265241)
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                    3    San Diego, CA 92102
                         Telephone: (858) 717-0013
                    4    Email: Mike@SL2Law.com
                    5    Attorneys for Jane Doe
                    6

                    7

                    8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    9                   FOR THE COUNTY OF SAN DIEGO – CENTRAL DISTRICT
                 10

                 11      JANE DOE, an Individual,                            Case No.:
                 12                     Plaintiff,                           COMPLAINT FOR:
                 13             v.                                           1)   INJUNCTIVE RELIEF
                 14                                                          2)   NEGLIGENCE
                         COUNTY OF SAN DIEGO, a California
                         Municipality; TIMOTHY WILSON, an                    3)   INVASION OF PRIVACY
                 15      individual; and ROES 1 through 10,                  4)   BATTERY
                         inclusive,
                 16
                                        Defendants.                              [Image File]
                 17                                                            Jury Trial Demanded
                 18

                 19            Plaintiff Jane Doe. alleges as follows:

                 20                                                 PARTIES

                 21     1. Plaintiff JANE DOE (“Jane Doe”) was a fourteen-year-old girl at the time that the events that

                 22        give rise to this complaint occurred and is resident of the County of San Diego and in the

                 23        State of California.

                 24     2. Sheriff’s Deputy Timothy Wilson (“Deputy Wilson”) was and is a resident of the County of

                 25        San Diego.

                 26     3. Jane Doe Deputy Wilson and the County of San Diego may be collectively referred to as the

                 27        “Parties.”

                 28     4. Plaintiff is unaware of the true names and capacities, whether individual, corporate, associate
S PRINKLE L LOYD &
    L ICARI , LLP                                                        1
 ATTORNEYS AT LAW
     SAN DIEGO                                          PLAINTIFF JANE DOE’S COMPLAINT

                                                           EXHIBIT B
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                    1      or otherwise, of those Defendants sued herein as Roes 1 through 10, inclusive, which Plaintiff

                    2      therefore sues by such fictitious names. Plaintiff is informed and believes, and thereon

                    3      alleges, that each of the fictitiously named Defendants is in some way responsible and/or

                    4      liable to Plaintiff as herein alleged and caused the damage to Plaintiff as herein alleged.

                    5      Plaintiff will amend this Complaint to allege the true names and capacities and the

                    6      responsibility and/or liability of such fictitiously named Defendants when their identities have

                    7      been ascertained.

                    8   5. Plaintiff is informed and believes, and on this basis alleges, that at all times herein mentioned,

                    9      Defendants sued herein as Roes 1 through 10, inclusive, and each of them, were acting as the

                 10        duly authorized agent, servant, representative, joint venturer, co-venturer, co-conspirator,

                 11        partner, employee, and/or alter ego of each of the remaining Defendants and with the

                 12        knowledge, permission, consent, ratification and/or for the benefit of each of said remaining

                 13        Defendants, and in doing the things herein mentioned, each of the Defendants named herein

                 14        was acting in the course and scope of such employment, agency, conspiracy and/or

                 15        representative capacity with the ratification and consent of the other Defendants , and acted in

                 16        concert with them.

                 17                                                   VENUE

                 18     6. Based on information and belief, venue is proper in the San Diego County Superior Court

                 19        because all acts that give rise to this Complaint occurred in the County of San Diego.

                 20                                         GENERAL ALLEGATIONS

                 21     7. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 22        contained above in paragraphs 1 through 5, inclusive, as though fully set forth herein.

                 23     8. On March 21, 2018 at a Panda Express in Vista, CA, Deputy Wilson approached Jane Doe

                 24        from behind, sexually assaulted her and quickly exited the Panda Express thereafter.

                 25     9. That same day, Jane Doe and her mother reported the incident to the San Diego County

                 26        Sherriff’s Department. The San Diego County Sheriff’s Department thereafter opened an

                 27        investigation into the matter.

                 28     10. The Sheriff’s Department arrested Deputy Wilson on May 18, 2018.
S PRINKLE L LOYD &
    L ICARI , LLP                                                         2
 ATTORNEYS AT LAW
     SAN DIEGO                                           PLAINTIFF JANE DOE’S COMPLAINT

                                                            EXHIBIT B
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                    1   11. Deputy Wilson pled guilty to one count of committing a lewd act on a minor and two counts

                    2      of unlawfully taking computer data on October 3, 2018. Judge Goldstein sentenced Deputy

                    3      Wilson to one year in jail, five years’ probation, and he must register as a sex offender.

                    4   12. Prior to his arrest, Deputy Wilson used his unique position as an employee of the San Diego

                    5      County Sherriff’s department to access Jane Doe’s investigative file forty-four times from

                    6      March 21, 2018 until his arrest on May 18, 2018. Deputy Wilson worked for San Diego

                    7      County as a Sheriff’s Deputy in the local Vista jail. Deputy Wilson was not part of the

                    8      investigative team for Jane Doe’s case nor does he conduct investigations of any kind and

                    9      certainly not sexual assaults investigations of minors.

                 10     13. Based on information and belief, the Sheriff’s Department has the capability to limit access to

                 11        investigative files, does limit access in rare circumstances, but did not limit access of any kind

                 12        to Jane Doe’s sexual assault investigative file.

                 13     14. In the course of accessing Jane Doe’s file, Deputy Wilson downloaded photographs of Jane

                 14        Doe and sent them to his personal email account. In one instance, Deputy Wilson titled at

                 15        least one photograph, “White Pants” to describe Jane Doe. Deputy Wilson was also able to

                 16        learn Jane Doe’s name, address and cell phone number by gaining access to Jane Doe’s file,

                 17        as well as where Jane Doe attended school.

                 18     15. Based on information and belief, at no time did anyone from the Sheriff’s Department realize

                 19        nor did anyone find it unusual that a corrections officer at the local jail had accessed the

                 20        investigative file of a minor sexual assault victim’s case file forty-four times prior to Deputy

                 21        Wilson’s arrest. Based on information and belief, Deputy Wilson’s access of Jane Doe’s file

                 22        had no bearing whatsoever on his arrest.

                 23     16. The San Diego County Sheriff’s Department arrested Deputy Wilson because a San Diego

                 24        County employee identified Deputy Wilson in a video feed from the Panda Express security

                 25        footage that the local news outlets broadcasted as part of their story.

                 26     17. Once Jane Doe discovered that her assailant accessed her personal file, downloaded

                 27        photographs of her and knew where she lived, Jane Doe became extremely fearful for her life

                 28        and safety. Thereafter, Jane Doe, at times became depressed, sick, confused, irritable, and
S PRINKLE L LOYD &
    L ICARI , LLP                                                        3
 ATTORNEYS AT LAW
     SAN DIEGO                                           PLAINTIFF JANE DOE’S COMPLAINT

                                                           EXHIBIT B
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                    1      experienced periods of isolation so much so, that she has sought medical treatment as a result

                    2      of knowing that her personal information was breached forty-four times by the individual who

                    3      sexually assaulted her and law enforcement never noticed. For example, Jane Doe has

                    4      preferred to isolate herself as opposed to socializing with friends and peers as she attempts to

                    5      process what has happened to her and why. Jane Doe lacks trust in adults now and becomes

                    6      quickly uncomfortable and nervous when an adult male makes eye contact with her in an

                    7      otherwise typical social interaction. Jane Doe’s ability to seek a relationship with the opposite

                    8      sex has also been impaired by the events in this case. Each of these unfortunate consequences

                    9      may have a long-lasting negative impact on Jane Doe’s long-term growth and social

                 10        development.

                 11     18. Jane Doe also changed schools because Deputy Wilson discovered where Jane Doe attended

                 12        school by accessing her case file.

                 13     19. Jane Doe submitted a claim with San Diego County as required by the California Govt. Code.

                 14        Section 900 et. seq. San Diego County rejected Jane Does’ claim and denied any

                 15        responsibility or liability on October 18, 2018.

                 16                                       FIRST CAUSE OF ACTION

                 17                            Injunctive Relief Against the County of San Diego

                 18     20. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 19        contained above in paragraphs 1 through 18, inclusive, as though fully set forth herein.

                 20     21. In 2008, the California legislature created the Victim’s Bill of Rights called Marsy’s Law and

                 21        enumerated those rights in the California Constitution under Article I, § 28, section (b).

                 22        Among those rights are the following:

                 23        a. To be treated with fairness and respect for the victim’s privacy and dignity and to be free

                 24        from intimidation, harassment, and abuse, throughout the criminal and juvenile justice

                 25        process;

                 26        b. To be reasonably protected from the defendant and persons acting on behalf of defendant;

                 27        and

                 28        c. To prevent the disclosure of confidential information or records to the defendant, the
S PRINKLE L LOYD &
    L ICARI , LLP                                                        4
 ATTORNEYS AT LAW
     SAN DIEGO                                           PLAINTIFF JANE DOE’S COMPLAINT

                                                           EXHIBIT B
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                    1      defendant’s attorney, or any other person acting on behalf of the defendant, which could be

                    2      used to locate or harass the victim or the victim’s family or which disclose confidential

                    3      communications made in the course of medical or counseling treatment, or which are

                    4      otherwise privileged or confidential by law.

                    5   22. Based on information and belief, the San Diego County Sheriff grants access to all criminal

                    6      investigative files to all San Diego County employees with few limited exceptions. The

                    7      County’s policy regarding access to investigative files is completely at odds with the

                    8      California Constitution’s requirements to protect the victim’s identity and personal and

                    9      confidential information private, and out of the hands of criminal defendants.

                 10     23. San Diego County Sheriff spokesperson Lt. Karen Stubkjaer revealed that the department has

                 11        “the ability to limit access to certain investigatory files when necessary” and “there was no

                 12        indication upon the reporting of this incident that there would be a necessity to limit access by

                 13        Department peace officers.”

                 14     24. At least nine members of law enforcement in San Diego, five from the San Diego Police

                 15        Department and four San Diego County Sherriff’s Department employees have been arrested

                 16        on charges of sexual misconduct since 2005 and likely had access to the victim’s investigative

                 17        file and personal information. The number could be higher but the City and County of San

                 18        Diego do not track sexual misconduct complaints. The California Legislature passed Senate

                 19        Bill 1421 in 2018 and the bill took effect on January 1, 2019, which requires law enforcement

                 20        agencies to release information when an officer committed sexual assault, lied when reporting

                 21        a crime or in an investigation, or used force that caused a person serious harm or death. To

                 22        date, the San Diego County Sheriff’s department has released two such files: Deputy Wilson

                 23        and Deputy Juan Andrade.

                 24     25. Here, Deputy Wilson is but one example where the County granted access to a minor victim’s

                 25        sexual assault file to a nonessential employee who then unlawfully accessed the file and the

                 26        victim’s confidential information forty-four times. Of course, no one from the department

                 27        noticed that the Deputy systematically and endlessly accessed Jane Doe’s file, nor did the

                 28        department take any steps to prevent Deputy Wilson’s continuous access of Jane Doe’s
S PRINKLE L LOYD &
    L ICARI , LLP                                                         5
 ATTORNEYS AT LAW
     SAN DIEGO                                           PLAINTIFF JANE DOE’S COMPLAINT

                                                           EXHIBIT B
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                    1      confidential file until his arrest.

                    2   26. Jane Doe seeks injunctive relief from this Court that forces the San Diego County Sherriff’s

                    3      Department to limit access to investigative files that involve victims to essential personnel

                    4      only so as to be in compliance with Marsy’s Law.

                    5                                     SECOND CAUSE OF ACTION

                    6                              Negligence Against the County of San Diego

                    7   27. Plaintiff realleges and incorporates herein by this reference each and every allegation

                    8      contained above in paragraphs 1 through 25, inclusive, as though fully set forth herein.

                    9   28. The California Constitution imposes certain duties on law enforcement when law enforcement

                 10        is investigating and prosecuting crimes that involve victims. Among them are a duty to protect

                 11        the privacy of an individual including but not limited to the victim’s confidential information

                 12        as described in paragraph twenty above.

                 13     29. Here, the San Diego County Sheriff’s Office breached its duties to Jane Doe by implementing

                 14        a system where nonessential employees including Deputy Wilson could access Jane Doe’s

                 15        underage sexual assault investigative files that contained confidential and private information

                 16        about Jane Doe forty-four times without preventing further access.

                 17     30. It was entirely foreseeable that Jane Doe’s offender could be one of 4,000 San Diego County

                 18        employees because law enforcement employees in the Sherriff’s Office and the San Diego

                 19        County Police Department have been arrested, charged and/or convicted of crimes including

                 20        sexual assault on at least nine occasions since 2005.

                 21     31. The Sheriff’s Department’s breach of its duties to Jane Doe have caused Jane Doe serious

                 22        emotional distress and therefore, Jane Doe is entitled to compensation for her injuries in an

                 23        amount to be awarded at trial.

                 24                                        THIRD CAUSE OF ACTION

                 25                                   Invasion of Privacy against All Parties

                 26     32. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 27        contained above in paragraphs 1 through 30, inclusive, as though fully set forth herein.

                 28     33. As the victim of sexual assault, the California Constitution provides all victims of crime a
S PRINKLE L LOYD &
    L ICARI , LLP                                                        6
 ATTORNEYS AT LAW
     SAN DIEGO                                            PLAINTIFF JANE DOE’S COMPLAINT

                                                             EXHIBIT B
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                    1      reasonable expectation of privacy regarding confidential information, identity, home address

                    2      and phone number.

                    3   34. Deputy Wilson intentionally intruded on Jane Doe’s privacy rights by using his position as a

                    4      Deputy with the San Diego County Sheriff’s Department and his access credentials given to

                    5      him by the San Diego County Sheriff’s Office to access Jane Doe’s private, confidential

                    6      information during normal business hours that the Department stored on its computer system

                    7      and server. Deputy Wilson then converted Jane Doe’s private, confidential information for his

                    8      own personal use including photographs of Jane Doe just weeks after Deputy Wilson sexually

                    9      assaulted Jane Doe. For these reasons, the San Diego County Sheriff’s Department is

                 10        vicariously liable for Deputy Wilson’s conduct.

                 11     35. Deputy Wilson’s conduct was within the scope of his employment when he committed his

                 12        tortious acts and thus, the County of San Diego is vicariously liable.

                 13     36. Deputy Wilson’s intrusion is not only highly offensive to a reasonable person, but also

                 14        violates California law.

                 15     37. As a consequence of Deputy Wilson’s intrusion, Jane Doe was harmed as particularly

                 16        described in paragraphs sixteen and seventeen of this Complaint.

                 17                                      FOURTH CAUSE OF ACTION

                 18                                   Sexual Battery against Timothy Wilson

                 19     38. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 20        contained above in paragraphs 1 through 36, inclusive, as though fully set forth herein.

                 21     39. On March 21, 2018 at a Panda Express in Vista, CA, Deputy Wilson approached Jane Doe

                 22        from behind, sexually assaulted and battered her by grabbing Jane Doe in intimate areas on

                 23        her body without her consent.

                 24     40. The offensive and wrongfully touching was intentional and caused Jane Doe injuries and

                 25        damages in an amount to be awarded at trial.

                 26     41. The acts of Timothy Wilson, as alleged herein were willful, wanton, and malicious and were

                 27        intended to oppress and cause injury to Jane Doe. In light of the willful, wanton, malicious

                 28        and intentional conduct engaged in by Deputy Wilson, Jane Doe is entitled to an award of
S PRINKLE L LOYD &
    L ICARI , LLP                                                        7
 ATTORNEYS AT LAW
     SAN DIEGO                                           PLAINTIFF JANE DOE’S COMPLAINT

                                                           EXHIBIT B
            Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.22 Page 16 of 189



                    1      punitive damages.

                    2                                        PRAYER FOR RELIEF

                    3      WHEREFORE, Jane Doe. prays for relief against the County of San Diego as follows:

                    4      For the First Causes of Action:

                    5         1. An order from the Court directing the County of San Diego to modify its policies

                    6             regarding access to criminal investigative files involving victims so that it complies

                    7             with Marsy’s Law and the California Constitution;

                    8      For Causes of Action Two and Three:

                    9         2. Compensatory damages in an amount to be awarded at trial;

                 10           3. Costs of the lawsuit;

                 11           4. Such other relief the Court deems appropriate;

                 12        For Cause of Action Four:

                 13           5. Compensatory damages in an amount to be awarded at trial;

                 14           6. Costs of the lawsuit;

                 15           7. Punitive Damages;

                 16           8. Such other relief the Court deems appropriate.

                 17
                        DATED: April 1, 2019                        SPRINKLE LLOYD & LICARI, LLP
                 18

                 19
                                                                    By:
                 20                                                         Michael Licari Attorney for Jane Doe

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S PRINKLE L LOYD &
    L ICARI , LLP                                                       8
 ATTORNEYS AT LAW
     SAN DIEGO                                           PLAINTIFF JANE DOE’S COMPLAINT

                                                           EXHIBIT B
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              EXHIBIT “C”
      Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.24 Page 18 of 189

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  Snrinklc Lloyd & Licari LLP
  280 I B. St. Ste. 55(1
  San Diego, CA 92102
                     TELEPHONE NO                           858-717-0013                   FA~ NO                                                            ELECTROtUCALL Y FILED
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 !SUPERIOR COURT OF CALIFORNIA, COUNTY OF                                        San Diego Count y                                                                County of San Diego
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            c      D                    Substantial amount of documentary evidence                             f    D    Substanllal postjudgment Judicial supervrsIon

3           Remedies sought (check. all that apply). a                               W     monetary        b   [2J      nonmonetary, declaratory or In1uncllve rel1e(                         c LJpun,11ve
4           Number of causes of acllon (specify)                                four
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  Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.25 Page 19 of 189


                                                                                                                            CM-010
                              INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example. a complain!) in a c1v1I case . you must
complete and file, along with your first paper. the Civil Case Cover Sheet contained on page 1 This information will be used lo wmpilE'!
statistics about the types and numbers of cases filed You must complete items 1 through 6 on the sheet In ,tern 1. you must check
one box for the case type that best describes the case If the case fits both a general and a more specific type or case listed 1n item 1
check the more speafic one If the case has multiple causes of action. check the box that best indicates the primary cause of act,on
To assist you m completing the sheet . examples of the cases that belong under each case type ,n item 1 are provided below A wver
sheet must be filed only with your 1n1l1al paper Failure to file a cover sheet with the first paper filed 1n a c1v1I case may subject a p;irty
its counsel, or both to sanctions under rules 2 30 and 3 220 of the Cahforn,a Rules of Court
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3 740 1s defined as an action for recovery of money
owed in a sum stated to be certain that 1s not more than $25.000 . exclusive of interest and attorney's fees arising from a transact ion ,n
which property. services. or money was acquired on credit A collections case does not include an action seeking the following f 1) ton
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attachment The 1dentif1calion of a case as a rule 3 740 collections case on this form means that 11 '11111 be exempt from the gener;:il
lime-for-service requirements and case management rules, unless a defendant files a responsive pleading A rule 3 740 coliecl1ons
case will be subiect to the requirements for service and obtaining a 1udgment in rule 3.740
To Parties in Complex Cases. In complex cases only, parties must also use the Clvtl Case Cover Sheet tn designate whether the
case 1s complex If a pla1nt1ff believes the case is complex under rule 3 400 of the California Rules of Court. this must be 1nd1cated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex . the cover sheet must be serJed ·,111th the
complaint on all parties to the action A defendant may file and serve no later than the time of ,ts f11st appearance a io1nder 1n trie
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                                                    CIVIL CASE COVER SHEET



                                                                 EXHIBIT C
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.26 Page 20 of 189




              EXHIBIT “D”
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                         SPRINKLE LLOYD & LICARI LLP
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                         2801 B. St. Ste. 556
                    3    San Diego, CA 92108
                         Telephone: (858) 717-0013
                    4
                         Attorney for Jane Doe
                    5

                    6                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    7                  FOR THE COUNTY OF SAN DIEGO – CENTRAL DISTRICT
                    8

                    9    JANE DOE,                                      Case No.: Unassigned
                10                      Plaintiff,
                                                                        JANE DOE’S MOTION TO PERMIT USE OF
                11              v.                                      PSEUDONYM
                12       COUNTY OF SAN DIEGO, a California
                         Municipality; TIMOTHY WILSON, an
                13       individual; and ROES 1-10, inclusive.
                14                      Defendants.
                15

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                19                                             I. INTRODUCTION

                20             Plaintiff Jane Doe was fourteen when Sheriff’s Deputy Timothy Wilson (“Deputy Wilson”)

                21      sexually assaulted her in 2018 at a Panda Express. Plaintiff is now fifteen and a victim of sexual

                22      assault. Plaintiff’s claims are against the County of San Diego however, for their failure to

                23      safeguard her private information by taking reasonable steps to limit who had access to the Jane

                24      Doe’s private and confidential information that was part of the investigative file.

                25             Deputy Wilson accessed Jane Doe’s file at least forty-four times before his arrest in May,

                26      2018. Deputy Wilson downloaded photographs of Jane Do, emailed them to his personal email

                27      account and procured personal information about her including where she lived and where she

                28      attended school. Deputy Wilson worked in the County jail and had no reason nor should he have
S PRINKLE LLOYD     &
   LICARI , LLP                                                          1
 ATTORNEYS AT LAW
    SAN DIEGO                                  JANE DOE’S MOTION/APPLICATION TO PERMIT USE OF PSEUDONYM

                                                           EXHIBIT D
            Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.28 Page 22 of 189



                    1   had the ability to access the criminal investigative file about a minor sexual assault victim. The case

                    2   garnered substantial local media attention. No doubt, Jane Doe is humiliated by the incident and

                    3   embarrassed and confused about the entire ordeal. Additionally, Jane Doe has severe medical issues

                    4   that were caused by the incident.

                    5          For these reasons, Jane Doe seeks leave of the Court to file her Complaint under the

                    6   pseudonym of Jane Doe to protect her medical privacy but also her identity as a minor victim of

                    7   sexual assault.

                    8                      II. MEMORANDUM OF POINTS AND AUTHORITIES

                    9          Our Court of Appeals rely on the federal courts to guide this request, “Federal courts ‘have

                 10     permitted plaintiffs to use pseudonyms in three situations: (1) when identification creates a risk of

                 11     retaliatory physical or mental harm; (2) when anonymity is necessary ‘to preserve privacy in a

                 12     matter of sensitive and highly personal nature; and (3) when the anonymous party is ‘compelled to

                 13     admit [his or her] intention to engage in illegal conduct, thereby risking criminal prosecution. Doe

                 14     v. Lincoln Unified School Dist., (2010) 188 Cal.App.4th 758, 767 [emphasis added]. The court went

                 15     on to hold that “a party may preserve his or her anonymity in judicial proceedings in special

                 16     circumstances when the party's need for anonymity outweighs prejudice to the opposing party and

                 17     the public's interest in knowing the party's identity.” Id.

                 18            California authorities have also approved the use of pseudonyms to protect a plaintiff's

                 19     privacy under similar circumstances. Doe v. Sup.Ct., (2011) 194 Cal.4th 750, 754. The Rutter

                 20     Guide lists several factors as illustrative that weigh in Jane Doe’s favor:

                 21            a. The reasonableness of Plaintiff’s fears;

                 22            b. The age of the person whose identity is sought to be protected;

                 23            c. The severity of the threatened harm;

                 24            d. Whether the Defendant would be prejudiced if the Plaintiff were allowed to proceed

                 25     anonymously. Rutter Guide, Civ. Pro. Before Trial ¶ 2:136.7.

                 26            Despite the media’s consistent coverage of Deputy Wilson’s criminal trial, Jane Doe’s

                 27     identity has remained unknown to the general public. To the extent that classmates were aware of

                 28     Jane Doe’s experience, Jane Doe has switched schools to get a fresh start. Revealing her identity to
S PRINKLE L LOYD &
    L ICARI LLP                                                            2
 ATTORNEYS AT LAW
     SAN DIEGO                                  JANE DOE’S MOTION/APPLICATION TO PERMIT USE OF PSEUDONYM

                                                            EXHIBIT D
            Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.29 Page 23 of 189



                    1   her peers could have extremely negative consequences for any fifteen-year-old girl and could

                    2   severely impair Jane Doe’s recovery from her mental health impairments caused by the traumatic

                    3   experience.

                    4            As for any concern that the County may be prejudiced, the County will have an opportunity

                    5   to argue any prejudice after being served the complaint if it feels it necessary to challenge Jane

                    6   Doe’s request to maintain her anonymity. As of drafting of this motion, Jane Doe has discovered

                    7   no prejudice to the County.

                    8            Jane Doe wishes to point out that juvenile offenders are nearly always granted anonymity

                    9   so as to avoid the stigma that comes with being convicted of a crime while a minor. Jane Doe, as a

                 10     fifteen-year-old victim of sexual assault is merely asking for these same protections. Forcing a

                 11     minor victim to use her real name in a civil suit could have a chilling effect on victim’s willingness

                 12     to exercise her rights in a civil action.

                 13              Lastly, the California Constitution provides certain confidential protections for victims of

                 14     crimes including the right to have their confidential information remain private, which is the crux

                 15     of the lawsuit against the County of San Diego. If the Court were to deny this motion, the outcome

                 16     would be at odds with the intent of Marsy’s law and would be contrary to the entire purpose behind

                 17     the lawsuit. 1

                 18                                                   III. CONCLUSION

                 19              For the reasons stated above, Jane Doe respectfully requests that the Court grant her motion

                 20     to file a Complaint pseudonymously.

                 21     DATED: April 2, 2019                                SPRINKLE LLOYD & LICARI, LLP

                 22

                 23                                                           By:
                                                                                       Michael Licari
                 24                                                                    Attorney for Jane Doe
                 25

                 26
                        1
                          One of several intents behind Marsy’s Law is “To prevent the disclosure of confidential information or records to
                 27     the defendant, the defendant’s attorney, or any other person acting on behalf of the defendant, which could be used to
                        locate or harass the victim or the victim’s family or which disclose confidential communications made in the course
                 28     of medical or counseling treatment, or which are otherwise privileged or confidential by law.” Cal. Const. Art. 28.
S PRINKLE L LOYD &
    L ICARI LLP                                                                   3
 ATTORNEYS AT LAW
     SAN DIEGO                                     JANE DOE’S MOTION/APPLICATION TO PERMIT USE OF PSEUDONYM

                                                                 EXHIBIT D
            Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.30 Page 24 of 189



                    1    MICHAEL A. LICARI (BAR NO. CA 265241)
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                    4
                         Attorney for Jane Doe
                    5

                    6                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    7                    FOR THE COUNTY OF SAN DIEGO – CENTRAL DISTRICT
                    8

                    9    JANE DOE,                                        Case No.: Unassigned
                10                         Plaintiff,
                                                                          DECLARATION OF JANE DOE IN SUPPORT
                11               v.                                       OF HER MOTION TO PERMIT USE OF A
                                                                          PSEUDONYM
                12       COUNTY OF SAN DIEGO, and ROES 1-
                         10, inclusive.
                13
                                           Defendants.
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                19      I, Jane Doe declare the following:

                20      1. I have personal knowledge of the forgoing and I believe the following to be true and would

                21      testify as to these matters if called upon to do so.

                22      2. I am currently fifteen years old. I was fourteen at the time of the incident. In March, 2018,

                23      Deputy Timothy Wilson grabbed me from behind and sexually assaulted me in a Panda Express

                24      in Vista, CA.

                25      3. I learned shortly after his arrest in 2018 that Deputy Wilson accessed my personal investigative

                26      file at the San Diego County Sheriff’s Department forty-four times. Deputy Wilson knows where

                27      I live, where I went to school and he downloaded photographs of me and emailed them to his

                28      personal computer.
S PRINKLE LLOYD     &
   LICARI , LLP                                                            1
 ATTORNEYS AT LAW
    SAN DIEGO                         DECLARATION OF JANE DOE IN SUPPORT OF HER MOTION TO PERMIT USE OF A PSEUDONYM

                                                             EXHIBIT D
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.31 Page 25 of 189




                                 EXHIBIT D
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.32 Page 26 of 189




               EXHIBIT “E”
          Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.33 Page 27 of 189



                 1      MICHAEL A. LICARI (BAR NO. CA 265241)
                        SPRINKLE LLOYD & LICARI LLP
                 2      Attorneys at Law
                        2801 B. St. Ste. 556
                 3      San Diego, CA 92108
                        Telephone: (858) 717-0013
                 4
                        Attorney for Jane Doe
                 5

                 6                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                 7                    FOR THE COUNTY OF SAN DIEGO - CENTRAL DISTRICT
                 8

                 9      JANE DOE,                                    Case No.: Unassigned

                10                      Plaintiff,
                                                                     [PROPOSED] ORDER GRANTING JANE
                11              V.                                   DOE'S MOTION TO PERMIT USE OF
                                                                     PSEUDONYM
                12      COUNTY OF SAN DIEGO, a California
                        Municipality; TIMOTHY WILSON, an
                13      individual; and ROES 1 through 10,
                        inclusive;
                14
                                        Defendants.
                 15

                 16

                 17

                 18
                        TO THE PARTIES AND THEIR ATTORNEYS OF RECORD:
                 19
                               Plaintiff Jane Doe filed this motion seeking permission to use a pseudonym in lieu of her
                 20
                        real name concurrently with her complaint against the County of San Diego. Having read the
                 21
                        motion, the Court rules as follows:
                 22
                               1. Jane Doe's motion to permit use of a pseudonym is GRANTED.
                 23
                        IT IS SO ORDERED
                 24

                 25
                        DATED: _ _ _ __
                 26
                                                                   Honorable Judge of the San Diego Superior Court
                 27

                 28
SPRINKLH LLOYD      &
   LICARI, LLP
 ATTORNEY~ AT LAW
    SAN DIEGO
                                      (PROPOSED] ORDER GRANTING JANE DOE'S MOTION TO PERMIT USE OF PSEUDONYM


                                                          EXHIBIT E
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.34 Page 28 of 189




               EXHIBIT “F”
  Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.35 Page 29 of 189


  SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
  STlU;E"T AClO'lESS    lJO We,,..,,..,
  \,U,lllNG ~    ES.S   JJOW 8rDlldo>ly
  CITV ANO Zl" CODE     San O,090 et. 92101 ·31!27
  B~NCHNl,ME            C.otral
  T!LlPHO"E NUUBER 16191 'SCl-7065

  P l AINTIFF(S) f PETITIONER(S I               Jane Doe

  DEFENDANT(SI / RESPONDENT(S) County of San Otego et al


   DOE VS COUNTY OF SAN DIEGO (IMAGED]
                                                                                             CASE NUMBER
   NOTICE OF CASE ASSIGNMENT
   and CASE MANAGEMENT CONFERENCE                                                             37-2019-00020094-CU-CR-CTL

 CASE ASSIGNMENT
  Judge         Ronald F. Frazier                                                      Department: C-65

 COMPLAINT/PETITION FILED: 04/02/2019

 TYPE OF HEARING SCHEDULED                                 DATE            TIME       DEPT             JUDGE
  C1v1I Case Management Conference                         10/04/2019      11 00 am   C-65             Ronald F Frazer


  A case management statement must be completed by counsel ror all parties or self-represented l1!1gants and l 1me1y filed with the court
  at least 15 days prior to the m1tIal case management conference (San Diego Local Rules Division fl, CRC Rule 3 7251

 All counsel of record or parties in pro per shall appear at the Case Management Conference , be familiar with the case and be fully
 precared to participate effectively m the hearing, including discussions of ADR· options




 IT IS THE DUTY OF EACH PLATN TIFF (AND CROSS-COMPLAINANT) TO SERVE A COPY OF THIS NOTICE WITH THE
 COMPLAINT (ANO CROSS-COMPLAINT), THE ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION FORM (SDSC
 FORM #C IV-730), A STIPULATION TO USE ALTERNATIVE DISPUTE RESOLUTION (AOR) (SDSC FORM #CIV-359) AND OTHER
 DOCUMENTS AS SET OUT IN SDSC LOCAL RULE 2 1.5

 ALL COUNSEL WILL BE EXPECTED TO BE FAMILIAR WITH SUPER tOR COURT RULES WHICH HAVE BEEN PUBLISHED AS
 D'V IS 'ON 11, ANO WILL BE STRICTLY ENFORCED .

 T rME STANDARDS The following t1meframes app y to general cwII cases and must be adhered to unless you have requested and
         been granted an extension of time General c1vd cases consist of all c1v1I cases except small claims proceedings,
         c,vd pet1tIons, unlawful detainer proceedings, probate. guardIansh p, conservatorshIp, IuvenIle, parking c,tallon
         appeals, and family law proceedings.

 COMPLA tNTS Complaints and all other documents hsted m SDSC Local Rule 2.1.5 must be served on all named defendants

 DEFENDANT'S APPEARANCE Defendant must generally appear wilhtn 30 days of service of the complaint (PJamt1ff ma y
       st pulate to no more than 15 day extension which must be In writing and filed with the Court) (SDSC Local Rule 2 1.6)

 JURY FEES In order to preserve !he right to a Jury trial , one party for each side demanding a Jury tnal shall pay an advance Jury !Pc r
        the amount of one hundred fihy dollars (S150) on or before the dale scheduled for the in1t1al case management conferen ;.;l' 1n
        the action



 COURT REPORTERS Court reporters are not provided by the Court m Civd cases See poltcy regarding normal ava1labI'4ty and
 unava1lab1!1ly of official court reporters at www sdcourt ca gov

·ALTERNATIVE DISPUTE RESOLU n ON (ADR} THE COURT ENCOURAGES YOU TO CONSIDER UTILIZJNG VARIOUS
ALTERNAT IVES TO TRIAL , INCLUDJNG MEDIATION AND ARB ITRATION , PR1OR TO THE CASE MANAGEMENT CONFEREN Cf
PARTIES MAY FJLE THE ATTACHED ST PULATlON TO USE ALTERNATIVE DISPUTE RESOLUTION (SDSC FOR M #CIV-359\




SDSC CIV-721 ! Re·, 01 17)
                                                           NOTICE OF CASE ASSIGNMENT



                                                                        EXHIBIT F
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.36 Page 30 of 189




              EXHIBIT “G”
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.37 Page 31 of 189


                                                                                                                                                                          SUM-100
                                                                  SUMMONS                                                                    FOR COURT USE OHL Y
                                                                                                                                         (SOLO P,t/lA USO(>£ LA COffTE)
                                                            (CITACION JUDICIAL)
                                                                                                                                 ELECTROtflCALL Y FILED
NOTICE TO DEFENDANT:                                                                                                                Superior Court of California .
(AVISO AL DEMANDADO):                                                                                                                  County of San Diego
COl.'NTY OF SAN DIEC,O. a California Munic1pahty : TIMOTHY                                                                          04/29/2019        at   05 .1B:00 PM
\\'ILSO'°. an 1ndi\'idual ; and ROES I through 10, inclu sive                                                                       Cle,1, of the Superior Court
                                                                                                                                   By Marc David.Deputy Cleo-
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
JANF DOF. an lnd1\'idual

 NOTICE! You have been sued The court may decide against you without your be,ng heard unless you respond 1111th1n 30 days Read the ,nformatiO"
 below
     You navl! 30 CALENDAR OAYS after th,~ summons a11d le at o;mers are serv don you 10 1le a wnlt                  r spons a th1r. court and nave a co
 seive:d on ne pla1nt1ff A le ler or phone call \Nill not protect you You1 wnl n r sponse roust b in prop r legal lortn 11 you v dt1 Ill tou to h • r ou•
 Ci'IS Tht're n      he a cou11 or    r1a1 ou c.;i,1 use lor your r sponse You can l1nd these cour1 lorms ancJ rn ore 1n!onnat,on ! h C Ii n n1 1a C. 0\1 s
    nllnr> Sel -H I Center tww.v ccu-1I lo ca govls /fhelp ) your county ta, library or the courthouse nearesl you If you cannot pay tne fili ng fee oi'->
  h court c.ler for a fee wa1 r ar r If ou do not r,1 your r ponsc r;n une. you may lose th cas
 n ay be taken withou1 furt er warnm lrom th r.ourl
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      There are 01t1er legal requ,rem n ls You ma want to call an atlom y II I awa II yoll do not ),;now an at orney , you ma wa I o · 11 ar• at orne
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                                                          ce~ W     site (111w111 /a,\helocaM0mra org) . 1n Cahforn,a Courts Ont,n Seit· Ip C. •n er
 ll~ww courtmlo ca go 1sel elp) or b conta ing your local courl or county ba r as ooallon NOTE: Th court ha a 1a1u10 lien for v a,                     fees ar d
                                                                                                                                                                                         I
 costs ori any settlement or arb11ra11on award of S10 .000 or more ,n a civil case The court's lien must be paid before the court will d1srr11 % the case
 ;AVISO! Lohan demandado Sr no responde dentro ae 30 dias la corte pueae decrd,r en su contra sm escuchar su version Lea la 1nformac16n a
 contmuac,or.
     T,ene 30 DiAS DE CALENDARIO despues de que le entreguen esta cl/ac,on y papetes legates pa,a p,esentar una ,espuesta por escnto n esta
 con y hacer aue se entregue una copra al demB11dante Una carta o una llamada telefontca r o lo proregen Su respuesra por escnto lie e que esrar
       ormato legal correcto s1 de sea que proceseo su caso en /a carte Es posible aue haya un formulano que us ed pueda usar para su res()uesta
 Puede e conr.ra eslos formultmos de ta corte y mas mformac1on en el Centro de Ayuda de las Cortes de Calrlornia (WWW sucort c:a.govl n la
 br /101 ca cie /eyes de su condado o en la corte que le quede mas cerca                            s,
                                                                                       no puede paga, la cuora de presentac,on. p1da al secrerano de la c;o•te
 oue I de un lormu/ano de exern:ion de pago de cuotas SI no p1esenta su respuesla a t,empo puede pe1<1er el caso por mcumplrm,en/a y la corte le
 podra quttar su sueldo. dinero y b1enes sm mils advertenciti
    Hay otros requ,s,tos legales Es recomendable que /lame a un abogado mmed1atamenre Sr no canoce a un abogado puede llamar a un seN1c10 de
 rem1so0n a aoogados S1no puede pagar a un 11bogado, es pos,ble que cumpla con los requrs1tos para obtener servrcros legates gratuttos de un
 programa de ser.1,c,os ~gales sm mes de 111cro Puede encontrar· estos grupos sm fines de lucro en el smo web de California Legal Ser.1,ces
 ( WI\ tav elpcah orma org). en el Centro de Ayuda de las Cortes de Caltfomra. (www.sucorte .ca gov/ o po111endose en contacto con la carte o el
 coleg,o de abogados locales AV/SO Por fey. la corte t,ene derecho a reclamar las cuatas y ros costos exentos por rmpaner un gravamen sotJre
 cualqwer recuperacion de $ I 0,000 o mas de valor rec1bida mediante un acuerdo o una conces,on de arMra1e en un caso de derecho er vii T1ene que
 pagar el gravamen de la corte antes de que la corte pueda desechar er caso

The name and address of the court 1s                                                                                      e,;.se ",NB,R
/El nombre y direcc,6n de la corte es)               San Diego Superior Court Central Dist.                               i/i,-,-,ero11e Ca~;   37,201Q,000200g4CU-CR·CTL

:no West                          Broadway San Diego, CA 92101

The name . address , and telephone number of plaintiffs attorney, or plaintiff without an attorney, 1s
(El nombre . la direcc16n y el numero de tefefono de/ abogado def demandante. ode/ demandante que no Ilene abogado es)
Michael Licari 2801 B. St. Ste. 556 San Diego. CA 92102 858-717-0013

DATE                       05,()1/2019                                                               Cieri< , by                'rj;                                      Deputy
(Fecha)                                                                                              (Secretario)                     M. David                            (Ad;unlo)
(For proof of service ofthis summons. use Proof of Service of Summons (form POS-010)}
(Para prueba de en/rega de esla c1lalion use el formulario Proof of Service of Summons, (POS-010))
                                 NOTICE TO THE PERSON SERVED: You are served
                                 1                                D
                                          as an md1v1dual defendant
                                 2                                D
                                          as the person sued under the f1ct1t1ous name of (specify)


                                                              3   D     on behalf of (specify)

                                                                  under   D      CCP 416 10 (corporation)
                                                                                                                           D          CCP 416 60 (minor)
                                                                          D     CCP 416 20 (defunct corporation)           D          CCP 416 70 (conservatee l
                                                                          D     CCP 416 40 (association or partnership)    D          CCP 416 90 (authorized person \

                                                                          D      other (specif-/)
                                                              4   c:J   by personal delivery on (dale)
                                                                                                                                                                            P,1   t '1 ot'
I 'I'll    :.,.,J~"       41.,    ,,fA•   -:1'1:f', U   ~
                                                                                             SUMMONS
    I":       I       /      -I    J• f    r•,,-r.i•
          ., • ..     ti~~                      ,,.,




                                                                                         EXHIBIT G
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.38 Page 32 of 189




              EXHIBIT “H”
           Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.39 Page 33 of 189
                                                                                                                                                                     P OS@10
    ATTGRNEYoR PARTYWITHGUTATTGRNEYIIYaam,slal ~ Baioomg« aedmegeul                                                                        FOR   Cover USE   ONE Y
     Michael Licari SBN 26524 I
     Sprinkle Lloyd (IL Licari, LLP
     2801 B Street, ff556
         SSRDicpo, ca 92 I 02
                    TELEPHONE No       858-717-0013                 FAX«0 rodgooeg
    E-MAILAOORESS Icdeoo«r
          ATTORNEYFORIN~T              Jane Doc, an Individual
    SUPERIOR COURT OF CAUFORNIA, COUNTY OF                              San Diego
               smEETAoo Ess             330 W Broadway
           MAILMG AOOR EBS

          CRY ANG ZIP COOS              San Diego, 92101
                    BRANCH NAME         Central
           F   IAINTIFFIFETmo~ER: Jane                  Doe, an Individual                                            CASE NUMBER


    DEFENDANT/REsPDNDENT;                         San Diego County, Timothy Wilson                                   37-2019-00020094-CU-CR-C TL
l

                                                                                                                     Rel. No   «Fae   No
                                            PROOF OF SERVICE OF SUMMONS
l
                                                           (Separale proof ol service is required for each party served)
    1.     At the time of service            I   was at least 18 years of age and not a party to this action.
    2.     I served copies of.
               a     Dv'ummons
               b     De'omplaint
               c.    Dv'ltematwe                 Dispute Resoluhon (ADR) package
               d.    Dv'ivilCase        Cover Sheet (servedin complex cases only)
               e.
               f.
                     D
                     Dl
                             cross-complaint
                             other (specify documents): See Attachment A for additional
                                                                                                           papers served
    3.     a. Party served (specify name                 of party as shown on documents served)r
                    Timothy Wilson <Black male adult, mid 40's, 5'6",                    145 lbs with dark hair and beard)

               b.   D      Person (other than the party in item 3a) served on behalf of an enbty or as an authorized agent (and not a person
                           under item Sb on whom substituted service was made) (specify name end relationship lo the part nemed in item 3a):


    4.         Address where the party was served:
               1173 Front Street, San Diego. ca 92101
    5.         Iserved the party (check proper hox)
                          by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                          receive service of process for the party (1) on (date): 5/8/19                  (2) at(time): )I:15 a.m.
               b.     D   by substituted service. On (dare):                      at (lime):          I left the documenls listed in item 2 with o,

                          in the presence of (name and elle or relationship lo person indicated ln rlem 3)i


                            (1)    D         (business) a person at least 18 years of age apparently in charge at the office or usual place ot business
                                             of the person to be served. I informed him or her of the general nature of the papers.

                            <2)    D         (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                             place of abode of the party. I informed him or her of the general nature of the papers.

                           <3)     D         (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                             address of the person to be served, other than a United States Postal Service post office box. I informed
                                             him or her of the general nature of the papers.
                           <4)     D         I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person lo be served
                                             at the place where the copies were left (Code Civ. Proc., 8 415~20 . I mailed the documents on
                                             (dale):               from (city):                            or    LJ a declaration of mailing is attached.
                           <5)     D         I attach a declaration of diligence stating actions taken first lo attempt personal service.
                                                                                                                                                                      Page   I
                                                                                                                                                                                 e'ade




    Form Adopied foi M«maloir Uae                                                                                                                       ol Cml Ptalele e
         A«mal canal     d caeoima                                  PROOF OF SERVICE OF SUMMONS
    POS Pig IRev Jeoo«Y          I. zggri
                                                                                EXHIBIT H
         Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.40 Page 34 of 189

~        PLAINTIFFIPETITIDNER. Jane                     Doc, an individual                                                  CASE NUMBER

                                                                                                                            37-2019-00020094-CU-CR-CTL
    DEFENDANTIREsPDNDENT: San                          Diego County, Timothy Wilson


                               by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, Io the
                               address shown in ilem 4, by first-dass mail, postage prepaid,


                               (3)      ~
                               (1) on (dale):                                                        (2) from (cily):
                                               with two copies of the Noiice and Acknowledgment of Receipt and a postage-paid return
                                                                                                                                        envelope addressed

                               (4)      ~      to me. (Alfach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., 415.30.)
                                                                                                                                      5
                                                to an address outside California with return receipt requested. (Code Civ. Proc., 415.40.)

                  ~
                                                                                                                                 8

         d,                    by other means (specify means of service and authorizing code section):




                               Additional page describing service is attached.

    6.    The Nobce to the Person SONed" (on the summons) was completed as follows:
           a. ~Y   as an individual defendant.
              b        M           as the person sued under the fictitious name of fspeofl):
                                   as occupanL
              d        C3       On behalf of (specify):
                                under the following Code of C'RNI Procedure section:
                                              C3   416.10   (corporation)                          C3    415.95   (business organization, form unknown)
                                              C]   416.20   (defunct corporation)                  C3    416.60   (minor)
                                              C3   416.30   (joint stock company/association)      C3    416.70   (ward or conservatee)
                                              C3   416.40   (association or partnership)           H     416.90   (authorized person)
                                              M 416.50 (public entity)                             C3    415.46   (occupant)
                                                                                                         other.
    7.      Person who served pa pere
            a.      Name: Greg                Long
            b. Address:P.O. Box 178474, San Diego, ca 92177
          c. Telephone number. 619-210-5800
          d. The fee for service was: $ 125.00
            e.          am:

                              ~
                   1




                       (1)
                       (2)    ~          not a registered California process server.
                                         exempt from registration under Business and Professions Code section 22350(b).
                       (3)    ~4
                                         (i) ~4      owner    ~
                                         a registered California process server.


                                         (ii) Registration Noz 3012
                                                                    employee       C]independent contractor.

                                         (iii) County. San I Jicgo

    6.   ~z              I   declare under penalty of perjury under the laws of the State ot Cabfornia that the foregoing is true and correcL


    9.   ~               I   am a California sheriff or marshal and          I   certify that the foregoing is true and correct,

    Date:         5/9/19

    Greg Long
                  (NAME OF PERSON WHO SERVEO PAPERSISHERIFF OR MARSHAM




    posoIB        IRH   Jelly      i.   Irt                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                                          PASO   S   oil


                                                                                    EXHIBIT H
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.41 Page 35 of 189




  ATTACHMENTA —ADDITIONALDOCUMENTS SERVED:

  Case ¹37-2019-00020094-CU-CR-CTL



  PETITIONER/PLAINTIFF: Jane Doe,         an Individual

   RESPONDENT/DEFENDANT: San Diego County,                l imothy Wilson
   NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT
   CONFERENCE

  NOTICE OF ELIGIBILITYTO EFILE AND ASSIGNMENT TO
  IMAGING DEPARTMENT

   STIPULATION TO USE ADR

   Declaration   of Jane   Doe in support her motion to permit use     of
   pseudonym

   Order granting Jane Doe motion to permit use of pseudonym




  (Initials)




                                 EXHIBIT H
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.42 Page 36 of 189




                EXHIBIT “I”
           Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.43 Page 37 of 189
     ARORNEY OR PARTY WITNOUT ATTORNEY/Meme
                                                                                                                                                           USEORLI'OS-010
                                                                        dier ~ Seroemee   omreddreul                                           FOR COURT
         Michael Licsri SBN 265241
         Sprinkle Lloyd 8: Licsri,              Ll.l'801




              B street, «556
         San Diego, ca 92102
               TELE PRUNE No 858-7 I 7-00                       I   3            FAA No loolmees

    E    MAR ADDRESS /OoooeoU                                       lad/vidual
          ATTDRNEY FDR         laaee/   Jane Doc, sm
     sUPERloR coURT oF cALIFoRNIA,coUNTY oF San                                               Diego
            STREETAODRESS               330 W Broadivay
           MAILINGADDRESS

          are
                 S~DN
                     AND zd

                              ~
                              CON       San Diego, 92101
                                        Central
          PLAINTIFF/PETITIONER: Jane                           Doe, an individual                                              CASE NUMBER


    DEFENDANT/RESPDNDENT:                                  San Diego County, Timothy WiLson
                                                                                                                               37-20)9-00020094-CU-CR-CTL
I

                                                                                                                               Rer No or filo Na




                                                          (Separate proo/ of servrceis reeuired for each pany served               I
    1.     At the lime of service           I   was at least la years of age andnot D panytothis aceon.
    2,     I served copies of.

           a          ~F       summons
           b.         ~X       complaint
           c.         ~F       Alternative Dispute Resoluuon (ADR) package


                      ~
           d.         ~Z       Cnril Case Cover Sheet (servedin complex cases on/y)
           e.                  cross-complaint
                               other (speci/ydocuments):                       See Attachment          A for additional papers served
    3.     a. Party sewed (spec/fy name                         of party as shown on documen/s served):
                     San Diego County

           b. M4              Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                              under item 5b on whom substituted service was made) (specify name and re/alions/lip fo the party named in item 3a)/
                              Board Assistant Crystal Rodriguez accepted papers
    4.      Address where the party was served:
               1600 Pacific Highway, I)402, San Diego, ca 92101
     5.     I served the party (check proper trox)
                                by personal service.   I personally delivered the documents listed in item 2 to the party or person authorized to
                                receive seniice of process for the party (I) on (da/e)/ 5/8/19                   (2) at (rime)/ 12:10 p.m.
                b.     M         by substituted service. On (dare):                    at (/ime)             I left the documents ksted in item 2 with or
                                 in the presence of (name and /i//e or re/akonship lo pe/son indrce/ed in I/em 3)/


                                (I)     ~        (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                                 of the person to be served. I informed him or her of the general nature of the papers.
                                                    (home) a competent member of the household (al leasl 18 years of age) at the dwelling house or usual
                                                    place of abode of the party, I informed him or her of the general nature of the papers,

                                (3)     D            (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailino
                                                     address of the person to be served, other than a United States Postal Service post office box. I informed
                                                     him or her of the general nature of Ihe papers.
                                (4)     C]            I thereafter mailed (by first-class, postage prepaid) copies of Ihe documents to Ihe person to be served

                                                      at the place where the copies were left (Code Civ. proc., 8 415~20 . I mailed the documents on
                                                      (da/e):               from (cily):                            or      Lj a dedaration of maikng is attached.
                                (5)     Cl            I attach  a declaration  of diligence  stabng actions taken first to attempt personal service,
                                                                                                                                                                              Pedo     e

          form Adoorod ra Maeaeef UM                                               PROOF OF SERVICE OF SUMMONS
                                                                                                                                                           code ol ora Proeeaee   Ie
           /odd el Carru ol Coaome
          POSDID IR»   /aeraf 1. Tddrl
                                                                                                  EXHIBIT I
      Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.44 Page 38 of 189
      PIAINTIFF/PETITlot/ER.                    )ane Doe, an individual                                             CASE NOMBEll

                                                                                                                      37-2019-00020094-CU-CR-CTL
oEFENDANTfitfispoNDENT: San                         Diego County, Timothy Wilson


5.    c.                       by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to
                                                                                                                            the party, to the
                               address shown in item 4, by first<ass mail, postage prepaid,

                               (I) on (dale):                                               (2) from (ci/y):
                               (3)   C3   vnlh two copies of the Notice and Acknow/edgmenf of
                                                                                                   Receipt and a postage-paid return envelope addressed
                                          to me. (At/ach completed Notice and Acknowledgement of
                                                                                                         Receipt.) (Code Civ. Proc., g 415.30.)
                               (4)   C3    to an address outside California with return receipt requested.

      d,    ~                  by other means (speci/y means of service and au/hon'zing code
                                                                                             sec//on):
                                                                                                             (Code Civ. Proc., 5 415.40.)




                               Additional page describing service is attached.

 6.
        a.       ~
       The "Notice to the Person Served" (on the summons) was
                  as an individual defendant.
                                                              completed as follows:

                                as the person sued under the fictsious name of
                                                                                                          4
                                                                               fspew/y):
                 C3             as occupant.
                 C~        I   on behalf ot (speci/y)/ San Diego County
                                under the following Code of Civil Procedure section:
                                              416.10 (corporabon)
                                                                                            W 415.95 (business
                                          M   416.20 (defunct corporation)
                                                                                             H 416.60 (minor)
                                                                                                                      organization, form unknown)


                                          M
                                              416,30 (joint stock company/association)       H 416.70 (ward or conservatee)
                                              416.40 (association or partnership)            M 416.90 (authorized person)
                                              416.50 (public entity)                         C3   415.46 (occupant)
7.    Person who served papers                                                               C)   other.
      a. Name: Greg Long
      b. Address: P.O. Box                       178474, San Diego, ca 92177
      c. Telephone number 619-210-5800
      d. The fee for service was: $ )25.00
       e.        am:

                           ~
             I


                 (1)
                 (2)
                 (3)
                           ~
                           ~z
                                     not a registered California process server.
                                     exempt from registration under Business and Professions Code sedion 22350(b),
                                     a registered California process server.
                                     Or,  IX      ovmer  C)
                                     (ii) Registration No.: 3012
                                                                employee     C]  independent contractor.

                                     (si) County: San DtegO

 6.    ~i              I   declare under penalty of perjury under Ihe laws of the State of Cakfornia that the foregoing is
                                                                                                                           true and correct,


 g.    ~              or
                      I    am a California sheriff or marshal and      I   certify that the foregoing is true and correct

Date:       5/9/19

 Greg Long
            (NAME Of PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)
                                                                                                                            I 5 ICNAT
                                                                                                                                    Ulg




POSOIO IRoo JAHVNV i, ZSS/I                                                                                                                         Poso   S   of 1
                                                               PROOF OF SERVICE OF SUMMONS

                                                                              EXHIBIT I
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.45 Page 39 of 189




  ATTACHMENTA —ADDITIONALDOCUiVIENTS SERVED:

  Case 4~7-2019-00020094-CU-CR-CTL



  PETI'I'IONER/PLAINTIFF: Jane Doe, an Individual

  RESPONDENT/DEFENDANT: San Diego County, Timothy Wilson

  NOTICE OF CASE ASSIGNMEN1 AND CASE MANAGER,1ENT
  CONFERENCE

  NOTICE OF ELIGIBILITYTO EFILE AND ASSIGNMENT 10
  IMAGING DEPARTMENT

  STIPULATION TO USE ADR

  Declaration   of Jane   Doe in support her motion to permit use      of
  pseudonym

   Order granting Jane Doe motion to permit use of pseudonym




   (Initials)




                                 EXHIBIT I
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               EXHIBIT “J”
         Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.47 Page 41 of 189
                                                                                                                                                          CIV-100
ATTORNEY OR PARTY WITHOUT ATTORNEY:                     STATE BAR NO:   265241                                              FOR COURT USE ONLY
NAME:  Michael Licari
FIRM NAME: Sprinkle Lloyd & Licari LLP
STREET ADDRESS: 2801 B. St. Ste. 556
CITY: San Diego                                              STATE:    CA      ZIP CODE:   92102
TELEPHONE NO.: 858-717-0013                                 FAX NO.:

E-MAIL ADDRESS: Mike@SL2Law.com

ATTORNEY FOR (name): Jane Doe, an individual

SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego
 STREET ADDRESS:      330 West Broadway
 MAILING ADDRESS:
CITY AND ZIP CODE:     San Diego, CA 92101
     BRANCH NAME:     Central
     Plaintiff/Petitioner: Jane Doe, an Individual
Defendant/Respondent: County of San Diego, Timothy Wilson
                                                                                                             CASE NUMBER:
  REQUEST FOR                            Entry of Default                   Clerk's Judgment                 37-2019-00020094-CU-CR-CTL
    (Application)                        Court Judgment
        Not for use in actions under the Fair Debt Buying Practices Act (Civ. Code, § 1788.50 et seq.) (see CIV-105)

1. TO THE CLERK: On the complaint or cross-complaint filed
   a. on (date): Apr 2, 2019
   b. by (name): JANE DOE, an indvidual
   c.       Enter default of defendant (names):
                 TIMOTHY WILSON, an individual
    d.            I request a court judgment under Code of Civil Procedure sections 585(b), 585(c), 989, etc., against defendant
                  (names):

            (Testimony required. Apply to the clerk for a hearing date, unless the court will enter a judgment on an affidavit under
            Code Civ. Proc., § 585(d).)
   e.        Enter clerk’s judgment
       (1)        for restitution of the premises only and issue a writ of execution on the judgment. Code of Civil Procedure section
                  1174(c) does not apply. (Code Civ. Proc., § 1169.)
                        Include in the judgment all tenants, subtenants, named claimants, and other occupants of the premises. The
                        Prejudgment Claim of Right to Possession was served in compliance with Code of Civil Procedure section
                        415.46.
       (2)        under Code of Civil Procedure section 585(a). (Complete the declaration under Code Civ. Proc., § 585.5 on the
                  reverse (item 5).)
       (3)        for default previously entered on (date):
2. Judgment to be entered.                                       Amount           Credits acknowledged                  Balance
   a. Demand of complaint . . . . . . . . . . . . . $                          $                              $
   b. Statement of damages*
       (1) Special . . . . . . . . . . . . . . . . . . . . $                   $                              $
       (2) General . . . . . . . . . . . . . . . . . . . . $                   $                              $
   c. Interest . . . . . . . . . . . . . . . . . . . . . . . . $               $                              $
   d. Costs (see reverse) . . . . . . . . . . . . . . $                        $                              $
   e. Attorney fees . . . . . . . . . . . . . . . . . . . $                    $                              $
   f . TOTALS . . . . . . . . . . . . . . . . . . . . . . $                    $                              $
   g. Daily damages were demanded in complaint at the rate of: $                       per day beginning (date):
   (* Personal injury or wrongful death actions; Code Civ. Proc., § 425.11.)
3.       (Check if filed in an unlawful detainer case.) Legal document assistant or unlawful detainer assistant information is on the
         reverse (complete item 4).
   Date: Jun 10, 2019
                          Michael A. Licari
                                 (TYPE OR PRINT NAME)                                              (SIGNATURE OF PLAINTIFF OR ATTORNEY FOR PLAINTIFF)


 FOR COURT                (1)           Default entered as requested on (date):
 USE ONLY                 (2)           Default NOT entered as requested (state reason):
                                                                   Clerk, by                                                          , Deputy              Page 1 of 2

Form Adopted for Mandatory Use                                                                                                Code of Civil Procedure, §§ 585–587, 1169
Judicial Council of California                          REQUEST FOR ENTRY OF DEFAULT                                                                   www.courts.ca.gov
CIV-100 [Rev. January 1, 2018]                               (Application to Enter Default)

                                                                        EXHIBIT J
          Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.48 Page 42 of 189
                                                                                                                                          CIV-100
                                                                                                            CASE NUMBER:
          Plaintiff/Petitioner:                                                  Jane Doe, an Individual
                                                                                                            37-2019-00020094-CU-CR-CTL
 Defendant/Respondent:                                                      Timothy Wilson, an Individual


4. Legal document assistant or unlawful detainer assistant (Bus. & Prof. Code, § 6400 et seq.). A legal document assistant or
   unlawful detainer assistant                            for compensation give advice or assistance with this form. If declarant has
   received any help or advice for pay from a legal document assistant or unlawful detainer assistant, state:
     a. Assistant's name:                                                                            c. Telephone no.:
     b. Street address, city, and zip code:                                                          d. County of registration:
                                                                                                     e. Registration no.:
                                                                                                     f. Expires on (date):

5.            Declaration under Code Civ. Proc., § 585.5 (for entry of default under Code Civ. Proc., § 585(a)). This action

     a.            is            is not on a contract or installment sale for goods or services subject to Civ. Code, § 1801 et seq. (Unruh Act).
     b.            is            is not on a conditional sales contract subject to Civ. Code, § 2981 et seq. (Rees-Levering Motor Vehicle Sales
                                        and Finance Act).
     c.            is            is not on an obligation for goods, services, loans, or extensions of credit subject to Code Civ. Proc., § 395(b).

6. Declaration of mailing (Code Civ. Proc., § 587). A copy of this Request for Entry of Default was
   a.       not mailed to the following defendants, whose addresses are unknown to plaintiff or plaintiff's attorney (names):

     b.            mailed first-class, postage prepaid, in a sealed envelope addressed to each defendant's attorney of record or, if none,
                   to each defendant's last known address as follows:
           (1)     Mailed on (date): June 10, 2019                                  (2) To (specify names and addresses shown on the envelopes):
                                                                                        Timothy Wilson
                                                                                        1173 Front St.
                                                                                        San Diego, CA 92101

I declare under penalty of perjury under the laws of the State of California that the foregoing items 4, 5, and 6 are true and correct.
Date: June 10 , 2019
                                 Michael A. Licari
                                 (TYPE OR PRINT NAME)                                                         (SIGNATURE OF DECLARANT)

7. Memorandum of costs (required if money judgment requested). Costs and disbursements are as follows (Code Civ. Proc.,
    § 1033.5):
   a. Clerk's filing fees . . . . . . . . . . . . . . . . . . . . $
   b. Process server's fees . . . . . . . . . . . . . . . . . $
   c. Other (specify):                                            $
     d.                                                                 $
     e. TOTAL . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $
     f.            Costs and disbursements are waived.
     g. I am the attorney, agent, or party who claims these costs. To the best of my knowledge and belief this memorandum of costs is
        correct and these costs were necessarily incurred in this case.
I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
Date:

                                 (TYPE OR PRINT NAME)                                                         (SIGNATURE OF DECLARANT)

8. Declaration of nonmilitary status (required for a judgment). No defendant named in item 1c of the application is in the military
   service as that term is defined by either the Servicemembers Civil Relief Act, 50 U.S.C. App. § 3911(2), or California Military and
   Veterans Code section 400(b).

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
Date: June 10, 2019
                                 Michael A. Licari
                                 (TYPE OR PRINT NAME)                                                         (SIGNATURE OF DECLARANT)
                                                                                                                                           Page 2 of 2
CIV-100 [Rev. January 1, 2018]                              REQUEST FOR ENTRY OF DEFAULT
                                                                    (Application to Enter Default)


                                                                            EXHIBIT J
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.49 Page 43 of 189



 Re: Doe v. County of San Diego
 Case No. 37-2019-00020094-CU-CR-CTL


                                     PROOF OF SERVICE
                             Code of Civil Procedure §§ 1013a, 210.5

 I am a resident of the State of California and over the age of eighteen years, and not a party to the
 within action. My business address is 2801 B Street, Unit 556, San Diego, CA 92102. On June 10,
 2019, I served the following document(s):

 Notice of Entry of Default

 ___x____By placing the document(s) listed above in a sealed envelope, addressed as set forth
 below, and placing the envelop for collection and mailing it overnight.

 _______By transmitting via fax the document(s) listed above to the fax numbers set forth below
 on this date before 5:00 pm.

 _______By transmitting via One Legal the document(s) listed above to the person(s) listed below

 _______By E-mailing the document(s) listed above to the address set forth below on this date
 before 5:00pm.

 _______By Causing a true and correct copy thereof to be personally delivered to the person(s) at
 the addresses set forth below.

         I am readily familiar with the firm’s practice of collection and processing correspondence
 for mailing with the United States Postal Service. Under the practice, it would be deposited with
 the U.S. Postal Service on the same day with the postage thereon fully prepaid in the ordinary
 course of business. I am aware that on motion of the party served, service is presumed invalid if
 postal cancellation date or postage meter date is more than one day after the date of deposit for
 mailing in affidavit.

 I declare under penalty of perjury under the laws of the State of California that the above is true
 and correct.

 Executed on June 10, 2019 at San Diego, California.



                                       ___________________________________
                                       Michael A. Licari




                                            EXHIBIT J
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.50 Page 44 of 189



 Service List:

 Timothy Wilson
 1173 Front St.
 San Diego, CA 92101

 Fernando Kish
 Office of County Counsel
 1600 Pacific Highway, Room 355
 San Diego, California 92101




                                  EXHIBIT J
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               EXHIBIT “K”
             Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.52 Page 46 of 189



                      1    MICHAEL LICARI (SBN 265241)
                           SPRINKLE LLOYD & LICARI LLP
                      2    Attorneys at Law
                           2801 B. St., Ste. 556
                      3    San Diego, CA 92102
                           Telephone: (858) 717-0013
                      4    Email: Mike@SL2Law.com
                      5    Attorneys for Jane Doe
                      6

                      7

                      8                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      9                   FOR THE COUNTY OF SAN DIEGO – CENTRAL DISTRICT
                 10

                 11        JANE DOE, an Individual,                            Case No.: 37-2019-00020094-CU-CR-CTL
                 12                       Plaintiff,                           FIRST AMENDED COMPLAINT FOR:
                 13               v.                                           1)   INJUNCTIVE RELIEF
                 14                                                            2)   NEGLIGENCE
                           COUNTY OF SAN DIEGO, a California
                           Municipality; TIMOTHY WILSON, an                    3)   INVASION OF PRIVACY
                 15        individual; and ROES 1 through 10,                  4)   BATTERY
                           inclusive,                                          5)   NEGLIGENT SUPERVISION
                 16
                                          Defendants.                               AND/OR TRANING
                 17

                 18                                                                [Image File]
                                                                                 Jury Trial Demanded
                 19
                                 Plaintiff Jane Doe. alleges as follows:
                 20
                                                                      PARTIES
                 21
                          1. Plaintiff JANE DOE (“Jane Doe”) was a fourteen-year-old girl at the time that the events that
                 22
                             give rise to this complaint occurred and is resident of the County of San Diego and in the
                 23
                             State of California.
                 24
                          2. Sheriff’s Deputy Timothy Wilson (“Deputy Wilson”) was and is a resident of the County of
                 25
                             San Diego.
                 26
                          3. Jane Doe Deputy Wilson and the County of San Diego may be collectively referred to as the
                 27
                             “Parties.”
                 28
S PRINKLE L LOYD &
    L ICARI , LLP                                                          1
 ATTO RNEY S AT LAW
     SAN DIEGO                                      PLAINTIFF JANE DOE’S FIRST AMENDED COMPLAINT

                                                             EXHIBIT K
             Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.53 Page 47 of 189



                      1   4. Plaintiff is unaware of the true names and capacities, whether individual, corporate, associate

                      2      or otherwise, of those Defendants sued herein as Roes 1 through 10, inclusive, which Plaintiff

                      3      therefore sues by such fictitious names. Plaintiff is informed and believes, and thereon

                      4      alleges, that each of the fictitiously named Defendants is in some way responsible and/or

                      5      liable to Plaintiff as herein alleged and caused the damage to Plaintiff as herein alleged.

                      6      Plaintiff will amend this Complaint to allege the true names and capacities and the

                      7      responsibility and/or liability of such fictitiously named Defendants when their identities have

                      8      been ascertained.

                      9   5. Plaintiff is informed and believes, and on this basis alleges, that at all times herein mentioned,

                 10          Defendants sued herein as Roes 1 through 10, inclusive, and each of them, were acting as the

                 11          duly authorized agent, servant, representative, joint venturer, co-venturer, co-conspirator,

                 12          partner, employee, and/or alter ego of each of the remaining Defendants and with the

                 13          knowledge, permission, consent, ratification and/or for the benefit of each of said remaining

                 14          Defendants, and in doing the things herein mentioned, each of the Defendants named herein

                 15          was acting in the course and scope of such employment, agency, conspiracy and/or

                 16          representative capacity with the ratification and consent of the other Defendants , and acted in

                 17          concert with them.

                 18                                                     VENUE

                 19       6. Based on information and belief, venue is proper in the San Diego County Superior Court

                 20          because all acts that give rise to this Complaint occurred in the County of San Diego.

                 21                                           GENERAL ALLEGATIONS

                 22       7. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 23          contained above in paragraphs 1 through 5, inclusive, as though fully set forth herein.

                 24       8. On March 21, 2018 at a Panda Express in Vista, CA, Deputy Wilson approached Jane Doe

                 25          from behind, sexually assaulted her and quickly exited the Panda Express thereafter.

                 26       9. That same day, Jane Doe and her mother reported the incident to the San Diego County

                 27          Sherriff’s Department. The San Diego County Sheriff’s Department thereafter opened an

                 28          investigation into the matter.
S PRINKLE L LOYD &
    L ICARI , LLP                                                           2
 ATTO RNEY S AT LAW
     SAN DIEGO                                    PLAINTIFF JANE DOE’S FIRST AMENDED COMPLAINT

                                                              EXHIBIT K
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                      1   10. The Sheriff’s Department arrested Deputy Wilson on May 18, 2018.

                      2   11. Deputy Wilson pled guilty to one count of committing a lewd act on a minor and two counts

                      3      of unlawfully taking computer data on October 3, 2018. Judge Goldstein sentenced Deputy

                      4      Wilson to one year in jail, five years’ probation, and he must register as a sex offender.

                      5   12. Prior to his arrest, Deputy Wilson used his unique position as an employee of the San Diego

                      6      County Sherriff’s department to access Jane Doe’s investigative file forty-four times from

                      7      March 21, 2018 until his arrest on May 18, 2018. Deputy Wilson worked for San Diego

                      8      County as a Sheriff’s Deputy in the local Vista jail. Deputy Wilson was not part of the

                      9      investigative team for Jane Doe’s case nor does he conduct investigations of any kind and

                 10          certainly not sexual assaults investigations of minors.

                 11       13. Based on information and belief, the Sheriff’s Department has the capability to limit access to

                 12          investigative files, does limit access in rare circumstances, but did not limit access of any kind

                 13          to Jane Doe’s sexual assault investigative file.

                 14       14. In the course of accessing Jane Doe’s file, Deputy Wilson downloaded photographs of Jane

                 15          Doe and sent them to his personal email account. In one instance, Deputy Wilson titled at

                 16          least one photograph, “White Pants” to describe Jane Doe. Deputy Wilson was also able to

                 17          learn Jane Doe’s name, address and cell phone number by gaining access to Jane Doe’s file,

                 18          as well as where Jane Doe attended school.

                 19       15. Based on information and belief, at no time did anyone from the Sheriff’s Department realize

                 20          nor did anyone find it unusual that a corrections officer at the local jail had accessed the

                 21          investigative file of a minor sexual assault victim’s case file forty-four times prior to Deputy

                 22          Wilson’s arrest. Based on information and belief, Deputy Wilson’s access of Jane Doe’s file

                 23          had no bearing whatsoever on his arrest.

                 24       16. The San Diego County Sheriff’s Department arrested Deputy Wilson because a San Diego

                 25          County employee identified Deputy Wilson in a video feed from the Panda Express security

                 26          footage that the local news outlets broadcasted as part of their story.

                 27       17. Once Jane Doe discovered that her assailant accessed her personal file, downloaded

                 28          photographs of her and knew where she lived, Jane Doe became extremely fearful for her life
S PRINKLE L LOYD &
    L ICARI , LLP                                                          3
 ATTO RNEY S AT LAW
     SAN DIEGO                                    PLAINTIFF JANE DOE’S FIRST AMENDED COMPLAINT

                                                             EXHIBIT K
             Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.55 Page 49 of 189



                      1      and safety. Thereafter, Jane Doe, at times became depressed, sick, confused, irritable, and

                      2      experienced periods of isolation so much so, that she has sought medical treatment as a result

                      3      of knowing that her personal information was breached forty-four times by the individual who

                      4      sexually assaulted her and law enforcement never noticed. For example, Jane Doe has

                      5      preferred to isolate herself as opposed to socializing with friends and peers as she attempts to

                      6      process what has happened to her and why. Jane Doe lacks trust in adults now and becomes

                      7      quickly uncomfortable and nervous when an adult male makes eye contact with her in an

                      8      otherwise typical social interaction. Jane Doe’s ability to seek a relationship with the opposite

                      9      sex has also been impaired by the events in this case. Each of these unfortunate consequences

                 10          may have a long-lasting negative impact on Jane Doe’s long-term growth and social

                 11          development.

                 12       18. Jane Doe also changed schools because Deputy Wilson discovered where Jane Doe attended

                 13          school by accessing her case file.

                 14       19. Jane Doe submitted a claim with San Diego County as required by the California Govt. Code.

                 15          Section 900 et. seq. San Diego County rejected Jane Does’ claim and denied any

                 16          responsibility or liability on October 18, 2018.

                 17                                         FIRST CAUSE OF ACTION

                 18                              Injunctive Relief against the County of San Diego

                 19       20. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 20          contained above in paragraphs 1 through 18, inclusive, as though fully set forth herein.

                 21       21. In 2008, the California legislature created the Victim’s Bill of Rights called Marsy’s Law and

                 22          enumerated those rights in the California Constitution under Article I, § 28, section (b).

                 23          Among those rights are the following:

                 24          a. To be treated with fairness and respect for the victim’s privacy and dignity and to be free

                 25          from intimidation, harassment, and abuse, throughout the criminal and juvenile justice

                 26          process;

                 27          b. To be reasonably protected from the defendant and persons acting on behalf of defendant;

                 28          and
S PRINKLE L LOYD &
    L ICARI , LLP                                                          4
 ATTO RNEY S AT LAW
     SAN DIEGO                                    PLAINTIFF JANE DOE’S FIRST AMENDED COMPLAINT

                                                             EXHIBIT K
             Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.56 Page 50 of 189



                      1      c. To prevent the disclosure of confidential information or records to the defendant, the

                      2      defendant’s attorney, or any other person acting on behalf of the defendant, which could be

                      3      used to locate or harass the victim or the victim’s family or which disclose confidential

                      4      communications made in the course of medical or counseling treatment, or which are

                      5      otherwise privileged or confidential by law.

                      6   22. Based on information and belief, the San Diego County Sheriff grants access to all criminal

                      7      investigative files including cases involving minor sexual assault victims to all San Diego

                      8      County employees with few limited exceptions. The County’s policy regarding access to

                      9      investigative files is completely at odds with the California Constitution’s requirements to

                 10          protect the victim’s identity and personal and confidential information private, and out of the

                 11          hands of criminal defendants.

                 12       23. San Diego County Sheriff spokesperson Lt. Karen Stubkjaer revealed that the department has

                 13          “the ability to limit access to certain investigatory files when necessary” and “there was no

                 14          indication upon the reporting of this incident that there would be a necessity to limit access by

                 15          Department peace officers.”

                 16       24. At least nine members of law enforcement in San Diego, five from the San Diego Police

                 17          Department and four San Diego County Sherriff’s Department employees have been arrested

                 18          on charges of sexual misconduct since 2005 and likely had access to the victim’s investigative

                 19          file and personal information. The number could be higher but the City and County of San

                 20          Diego do not track sexual misconduct complaints. The California Legislature passed Senate

                 21          Bill 1421 in 2018 and the bill took effect on January 1, 2019, which requires law enforcement

                 22          agencies to release information when an officer committed sexual assault, lied when reporting

                 23          a crime or in an investigation, or used force that caused a person serious harm or death. To

                 24          date, the San Diego County Sheriff’s department has released two such files: Deputy Wilson

                 25          and Deputy Juan Andrade.

                 26       25. Here, Deputy Wilson is but one example where the County granted access to a minor victim’s

                 27          sexual assault file to a nonessential employee who then unlawfully accessed the file and the

                 28          victim’s confidential information forty-four times. Of course, no one from the department
S PRINKLE L LOYD &
    L ICARI , LLP                                                           5
 ATTO RNEY S AT LAW
     SAN DIEGO                                   PLAINTIFF JANE DOE’S FIRST AMENDED COMPLAINT

                                                             EXHIBIT K
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                      1      noticed that Deputy Wilson systematically and endlessly accessed Jane Doe’s file and emailed

                      2      the file to his personal email account, nor did the department take any steps to prevent Deputy

                      3      Wilson’s continuous access of Jane Doe’s confidential file until his arrest.

                      4   26. Jane Doe seeks injunctive relief from this Court that forces the San Diego County Sherriff’s

                      5      Department to limit access to investigative files that involve victims to essential personnel

                      6      only so as to be in compliance with Marsy’s Law. In seeking the injunction, Jane Doe seeks to

                      7      ensure that no one other than essential personnel can view, use and appropriate Jane Doe’s

                      8      and other similar minor victims’ confidential and private information as required by the

                      9      California Constitution

                 10                                       SECOND CAUSE OF ACTION

                 11                                 Negligence against the County of San Diego

                 12       27. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 13          contained above in paragraphs 1 through 26, inclusive, as though fully set forth herein.

                 14       28. The California Constitution imposes certain duties on law enforcement when law enforcement

                 15          is investigating and prosecuting crimes that involve victims. Among them are a duty to protect

                 16          the privacy of an individual including but not limited to the victim’s confidential information

                 17          as described in paragraph twenty above.

                 18       29. Here, the San Diego County Sheriff’s Office breached its duties to Jane Doe by implementing

                 19          a system where nonessential employees including Deputy Wilson could access Jane Doe’s

                 20          underage sexual assault investigative files stored on computer software that contained

                 21          confidential and private information about Jane Doe forty-four times without preventing

                 22          further access.

                 23       30. It was entirely foreseeable that Jane Doe’s offender could be one of 4,000 San Diego County

                 24          employees because law enforcement employees in the Sherriff’s Office and the San Diego

                 25          County Police Department have been arrested, charged and/or convicted of crimes including

                 26          sexual assault on at least nine occasions since 2005.

                 27       31. The Sheriff’s Department’s breach of its duties to Jane Doe have caused Jane Doe serious

                 28          emotional distress and therefore, Jane Doe is entitled to compensation for her injuries in an
S PRINKLE L LOYD &
    L ICARI , LLP                                                          6
 ATTO RNEY S AT LAW
     SAN DIEGO                                    PLAINTIFF JANE DOE’S FIRST AMENDED COMPLAINT

                                                             EXHIBIT K
             Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.58 Page 52 of 189



                      1      amount to be awarded at trial.

                      2                                    THIRD CAUSE OF ACTION

                      3                                Invasion of Privacy against All Parties

                      4   32. Plaintiff realleges and incorporates herein by this reference each and every allegation

                      5      contained above in paragraphs 1 through 31, inclusive, as though fully set forth herein.

                      6   33. As the victim of sexual assault, the California Constitution provides all victims of crime a

                      7      reasonable expectation of privacy regarding confidential information, identity, home address

                      8      and phone number.

                      9   34. Deputy Wilson intentionally intruded on Jane Doe’s privacy rights by using his position as a

                 10          Deputy with the San Diego County Sheriff’s Department and his access credentials given to

                 11          him by the San Diego County Sheriff’s Office to access Jane Doe’s private, confidential

                 12          information during normal business hours that the Department stored on its computer system

                 13          and server. Deputy Wilson then converted Jane Doe’s private, confidential information for his

                 14          own personal use including photographs of Jane Doe just weeks after Deputy Wilson sexually

                 15          assaulted Jane Doe. For these reasons, the San Diego County Sheriff’s Department is

                 16          vicariously liable for Deputy Wilson’s conduct.

                 17       35. Deputy Wilson’s conduct was within the scope of his employment when he committed his

                 18          tortious acts and thus, the County of San Diego is vicariously liable.

                 19       36. Deputy Wilson’s intrusion is not only highly offensive to a reasonable person, but also

                 20          violates California law under Civil Code section 1798, the California Constitution and

                 21          California common law.

                 22       37. As a consequence of Deputy Wilson’s intrusion, Jane Doe was harmed as particularly

                 23          described in paragraphs sixteen and seventeen of this Complaint.

                 24                                       FOURTH CAUSE OF ACTION

                 25                                   Sexual Battery against Timothy Wilson

                 26       38. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 27          contained above in paragraphs 1 through 37, inclusive, as though fully set forth herein.

                 28       39. On March 21, 2018 at a Panda Express in Vista, CA, Deputy Wilson approached Jane Doe
S PRINKLE L LOYD &
    L ICARI , LLP                                                          7
 ATTO RNEY S AT LAW
     SAN DIEGO                                    PLAINTIFF JANE DOE’S FIRST AMENDED COMPLAINT

                                                              EXHIBIT K
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                      1      from behind, sexually assaulted and battered her by grabbing Jane Doe in intimate areas on

                      2      her body without her consent.

                      3   40. The offensive and wrongfully touching was intentional and caused Jane Doe injuries and

                      4      damages in an amount to be awarded at trial.

                      5   41. The acts of Timothy Wilson, as alleged herein were willful, wanton, and malicious and were

                      6      intended to oppress and cause injury to Jane Doe. In light of the willful, wanton, malicious

                      7      and intentional conduct engaged in by Deputy Wilson, Jane Doe is entitled to an award of

                      8      punitive damages.

                      9                                     FIFTH CAUSE OF ACTION

                 10                           Negligent Supervision against the County of San Diego

                 11       42. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 12          contained above in paragraphs 1 through 41, inclusive, as though fully set forth herein.

                 13       43. Plaintiff is informed and believes and based therefore alleges that the supervisors of Deputy

                 14          Wilson had, and did exercise, supervisory authority over Deputy Wilson, while engaged in,

                 15          and required by, the course and scope of their employment during regular business hours.

                 16       44. Plaintiff is informed and believes and based therefore alleges that Deputy Wilson’s

                 17          unauthorized use of the government databases was done during regular business hours, on an

                 18          ongoing basis throughout his tenure at the Sheriff’s Department and ostensibly while Deputy

                 19          Wilson was engaged in the course and scope of his employment and performing his required

                 20          official duties as a County Sheriff’s Deputy.

                 21       45. Plaintiff is informed and believes and based therefore alleges that the San Diego County

                 22          Sheriff’s Department and Deputy Wilson’s supervisors had actual and/or constructive

                 23          knowledge that Deputy Wilson was using the time and resources of the County, and to gather

                 24          information for the personal use of himself on a routine basis, and while acting as a county

                 25          deputy when logging in to these government databases.

                 26       46. Deputy Wilson’s continuous use of the government database for personal reasons made

                 27          Deputy Wilson unfit for his position as a Deputy Sheriff with the San Diego County Sheriff’s

                 28          Department.
S PRINKLE L LOYD &
    L ICARI , LLP                                                            8
 ATTO RNEY S AT LAW
     SAN DIEGO                                    PLAINTIFF JANE DOE’S FIRST AMENDED COMPLAINT

                                                             EXHIBIT K
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                      1   47. Notwithstanding such knowledge, Deputy Wilson’s supervisors, and thus the County

                      2      negligently, carelessly and failed to properly supervise, train and control Wilson as a Sheriff’s

                      3      Deputy. These failures enabled and allowed Deputy Wilson to access Jane Doe’s investigative

                      4      file forty-four times and download the file and email it to his personal email address all in

                      5      violation of Jane Doe’s rights as a victim and in violation of her right to privacy.

                      6   48. The supervisors’ failure to properly supervise, train and control Deputy Wilson were a

                      7      substantial cause of Jane Doe’s damages.

                      8                                         PRAYER FOR RELIEF

                      9      WHEREFORE, Jane Doe. prays for relief against the County of San Diego as follows:

                 10          For the First Causes of Action:

                 11              1. An order from the Court directing the County of San Diego to modify its internal

                 12                  policies regarding access to criminal investigative files involving victims so that it

                 13                  complies with Marsy’s Law and the California Constitution;

                 14          For Causes of Action Two, Three and Five:

                 15              2. Compensatory damages in an amount to be awarded at trial;

                 16              3. Costs of the lawsuit;

                 17              4. Such other relief the Court deems appropriate;

                 18          For Cause of Action Four:

                 19              5. Compensatory damages in an amount to be awarded at trial;

                 20              6. Costs of the lawsuit;

                 21              7. Punitive Damages;

                 22              8. Such other relief the Court deems appropriate.

                 23
                          DATED: July 2, 2019                         SPRINKLE LLOYD & LICARI, LLP
                 24

                 25
                                                                        By:
                 26                                                             Michael Licari Attorney for Jane Doe

                 27

                 28
S PRINKLE L LOYD &
    L ICARI , LLP                                                          9
 ATTO RNEY S AT LAW
     SAN DIEGO                                    PLAINTIFF JANE DOE’S FIRST AMENDED COMPLAINT

                                                             EXHIBIT K
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 Re: Luajan et al. v. VVCS et al.
 Case No. 2018-00026174


                                     PROOF OF SERVICE
                             Code of Civil Procedure §§ 1013a, 210.5

 I am a resident of the State of California and over the age of eighteen years, and not a party to the
 within action. My business address is 2801 B Street, Unit 556, San Diego, CA 92102. On July 2,
 2019, I served the following document(s):

 Jane Doe’s First Amended Complaint

 ___x____By placing the document(s) listed above in a sealed envelope, addressed as set forth
 below, and placing the envelop for collection and mailing it overnight.

 _______By transmitting via fax the document(s) listed above to the fax numbers set forth below
 on this date before 5:00 pm.

 _______By transmitting via One Legal the document(s) listed above to the person(s) listed below

 _______By E-mailing the document(s) listed above to the address set forth below on this date
 before 5:00pm.

 _______By Causing a true and correct copy thereof to be personally delivered to the person(s) at
 the addresses set forth below.

         I am readily familiar with the firm’s practice of collection and processing correspondence
 for mailing with the United States Postal Service. Under the practice, it would be deposited with
 the U.S. Postal Service on the same day with the postage thereon fully prepaid in the ordinary
 course of business. I am aware that on motion of the party served, service is presumed invalid if
 postal cancellation date or postage meter date is more than one day after the date of deposit for
 mailing in affidavit.

 I declare under penalty of perjury under the laws of the State of California that the above is true
 and correct.

 Executed on July 2, 2019 at San Diego, California.



                                       ___________________________________
                                       Michael A. Licari




                                           EXHIBIT K
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.62 Page 56 of 189



 Service List:

 Fernando Kish
 Office of County Counsel
 1600 Pacific Highway, Ste. 355
 San Diego, CA 92101

 Timothy Wilson
 1173 Front Street
 San Diego, CA 92101




                                  EXHIBIT K
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               EXHIBIT “L”
           Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.64 Page 58 of 189



                     1   MICHAEL A. LICARI (BAR NO. CA 265241)
                         SPRINKLE LLOYD & LICARI LLP
                     2   Attorneys at Law
                         2801 B. St. Ste. 556
                     3   San Diego, CA 92108
                         Telephone: (858) 717-0013
                     4
                         Attorney for Jane Doe
                     5
                     6                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
                     7                  FOR THE COUNTY OF SAN DIEGO - CENTRAL DISTRICT
                     8

                     9   JANE DOE,                                       Case No.: 37-2019-000-20094-CU-CR-CTL
                 10                     Plaintiff,
                                                                         STIPULATION TO ALLOW THE COUNTY
                 11             v.                                       OF SAN DIEGO ADDITIONAL TIME TO
                                                                         RESPOND TO JANE DOE'S COMPLAINT
                 12      COUNTY OF SAN DIEGO, a California               AND [PROPOSED ORDERJ
                         Municipality; TIMOTHY WILSON, an
                 13      individual; and ROES 1-10, inclusive.
                 14                     Defendants.
                 15

                 16

                 17

                 18

                 19             IT IS HEREBY REQUESTED, pursuant to Cal. Civ. Proc. §412.20(a)(3) and Cal. Rules
                         of Court § 3. I 10(e), by and between Jane Doe and the County of San Diego through their
                20
                         respective counsel of record, that County of San Diego be permitted an extension of time to file a
                21

                22       response to Jane Doe's First Amended Complaint until ten days after the Court denies plaintiff's

                         Motion for Leave to File a Second Amended Complaint or 30 days after plaintiff serves the
                23
                         County with the Second Amended Complaint after obtaining leave of court.
                24

                25              Jane Doe previously served the First Amended Complaint on the County of San Diego on

                         July 2, 2019 and a response was due August 1, 2019. The County of San Diego intended to file a
                26
                         demurrer and met and conferred with plaintiff as required. Plaintiff is now currently drafting an
                27
                         Second Amended Complaint and will be submittion a motion for leave to file that complaint by
                28
                                                                          I
SrRINKLE LLOYD   &
   LICARI, LLP                    JOINT STIPULATION TO GRANT MORE TIME FOR THE COUNTY OF SAN DIEGO TO FILE A RESPONSIVE
 ATtO~HU!oi AT LAW
    SAN Dn:co                                                       PLEADING/ORDER

                                                             EXHIBIT L
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                       1   no later than August 15, 2019. The parties have met and conferred on the First Amended
                       2   Complaint and determined that judicial economy would best be served if the County refrained
                       3   from filing a demurrer to the First Amended Complaint while Plaintiffs Motion for Leave to File
                       4   a Second Amended Complaint is pending.
                       5          As such, the parties stipulate and jointly request the Court grant an extension of time such
                       6   that the County's deadline to file a responsive pleading is not due until either:

                       7          1.      If the Court denies Plaintiffs Motion for Leave to File a Second Amended
                       8   Complaint, ten days after the Court issues its ruling on that motion; or
                       9          2.      If Plaintiff is granted leave to file a Second Amended Complaint, thirty days after
                   IO      plaintiff serves the County with the Second Amended Complaint after obtaing leave of Court.
                   11      DATED: August I, 2019                          SPRINKLE LLOYD & LICARI, LLP

                   12
                   13                                                     By:
                                                                                  Michael Licari
                   14                                                             Attorney for Jane Doe
                   15      DATED: August l, 2019                          OFFICE OF COUNTY COUNSEL
                                                                                           ,.,
                   16

                   17                                                     By:
                   18

                   19                                                    ORDER

                   20      IT IS SO ORDERED:
                   21
                           The County of San Diego's deadline to file a responsive pleading is not due until either:
                   22
                                   L      If the Court denies Plaintiffs Motion for Leave to File a Second Amended
                   23
                           Complaint, ten days after the Court issues its ruling on that motion; or
                   24
                                  2.      If Plaintiff is granted leave to file a Second Amended Complaint, thirty days after
                   25
                           plaintiff serves the County with the Second Amended Complaint after obtaing leave of Court
                   26
                   27
                           Date                                                   Judge San Diego Superior Court
                   28
SPRINKLE LLOYD         &                                                    2
   LICARI LLP                       JOINT STIPULATION TO GRANT MORE TIME FOR THE COUNTY OF SAN DIEGO TO FILE A RESPONSIVE
 ATTC>RNt't!i AT LAW
     S-..N on·co                                                      PLEADING/ORDER

                                                              EXHIBIT L
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             EXHIBIT “M”
             Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.67 Page 61 of 189



                      1    MICHAEL A. LICARI (BAR NO. CA 265241)
                           SPRINKLE LLOYD & LICARI LLP
                      2    Attorneys at Law
                           2801 B. St. Ste. 556
                      3    San Diego, CA 92108
                           Telephone: (858) 717-0013
                      4
                           Attorney for Jane Doe
                      5

                      6                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      7                  FOR THE COUNTY OF SAN DIEGO – CENTRAL DISTRICT
                      8

                      9    JANE DOE, an Individual,                      Case No.: 37-2019-00020094-CU-CR-CTL
                 10                       Plaintiff,                     JANE DOE’S NOTICE OF MOTION;
                                                                         MOTION SEEKING LEAVE TO FILE A
                 11               v.                                     SECOND AMENDED COMPLAINT;
                                                                         SUPPORTING DECLARATIONS
                 12        COUNTY OF SAN DIEGO, a California
                           Municipality; TIMOTHY WILSON, an              Judge: Hon. Ronald Frazier
                 13        individual; and ROES 1 through 10,            Dept: C-65
                           inclusive,
                 14                                                      [IMAGE FILE]
                 15                        Defendants.
                 16

                 17

                 18

                 19
                                 PLEASE TAKE NOTICE that on November 8, 2019 or as soon thereafter as counsel
                 20
                          may be heard in Department C-65 of the above-entitled Court located at 330 West Broadway, San
                 21
                          Diego, CA 92101.
                 22
                                 Plaintiff, Jane Doe, will move the court for an order granting leave to amend the First
                 23
                          Amended Complaint, filed on July 2, 2019, on the grounds that said Complaint failed to state a
                 24
                          particular cause of action and to correct certain deficiencies revealed in a meet and confer process
                 25
                          with counsel for the County of San Diego.
                 26
                                 This motion will be made pursuant to, as applicable; Code Civ. Proc. § 473(a)(1) which
                 27
                          permits amendments, in furtherance of justice, to correct a mistake in any respect; Code Civ. Proc.
                 28
S PRINKLE LLOYD       &
   LICARI , LLP                                                           1
 ATTO RNEY S AT LAW
     SAN DIEGO                                                 JANE DOE’S NOTICE OF MOTION AND MOTION TO AMEND THE COMPLAINT

                                                             EXHIBIT M
             Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.68 Page 62 of 189



                      1   § 576, which grants the court authority to amend a pleading at any time before or after

                      2   commencement of trial; and/or Code Civ. Proc. § 426.50, which permits amendment of a pleading

                      3   to assert a cause of action which was omitted from the original pleading through oversight,

                      4   inadvertence, mistake, neglect, or other cause.

                      5          This motion is further based upon Cal. Rules of Court, rule 3.1324, this notice, the attached

                      6   Memorandum of Points and Authorities, the Declaration of Michael Licari filed herewith; upon the

                      7   records and files in this action; and upon such further evidence and argument as may be presented

                      8   prior to or at the time of hearing on the motion.

                      9   DATED: August 16, 2019                            SPRINKLE LLOYD & LICARI, LLP

                 10

                 11                                                     By:
                                                                                  Michael Licari
                 12                                                               Attorney for Jane Doe
                 13

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                 28
S PRINKLE L LOYD &
    L ICARI LLP                                                               2
 ATTO RNEY S AT LAW
     SAN DIEGO                                                     JANE DOE’S NOTICE OF MOTION AND MOTION TO AMEND COMPLAINT

                                                             EXHIBIT M
             Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.69 Page 63 of 189



                      1                       MEMORANDUM OF POINTS AND AUTHORITIES

                      2                              I.   STATEMENT OF RELEVANT FACTS

                      3          Jane Doe is a minor sexual assault victim. Timothy Wilson pled guilty to one count of

                      4   committing a lewd act on a minor and one count of unlawfully taking computer data on October

                      5   3, 2019. Wilson was working for the San Diego County Sheriff’s Department as a Deputy Sheriff.

                      6   Wilson was off-duty at the time of the sexual assault. Wilson, however was acting in the course

                      7   and scope of his employment when he illegally accessed Jane Doe’s criminal investigative file

                      8   including her confidential information forty-four times and emailed the file to his personal email

                      9   address. Wilson’s access of Jane Doe’s private, confidential information violated Jane Doe’s

                 10       constitutional right to privacy. Additionally, the County of San Diego’s haphazard policy of

                 11       allowing any and all deputies access to every single criminal investigation including those that

                 12       involve minors also violated Jane Doe’s constitutional right to privacy.

                 13              Jane Doe filed her complaint against Wilson and the County on April 2, 2019. Wilson

                 14       defaulted, but the County reached out to discuss the contents of the complaint on June 3, 2019.

                 15       After a meet and confer with County Counsel on June 7th, Jane Doe filed a First Amended

                 16       Complaint on July 2, 2019. The parties met and conferred regarding the First Amended

                 17       Complaint on 17, 2019 and Jane Doe determined that further amendments were needed. Counsel

                 18       for Jane Doe reached out to experienced counsel in San Diego about a strategy to amend the

                 19       pleadings to properly hold the County responsible for Jane Doe’s injuries. Experienced counsel

                 20       recommended adding section 1983 claims under the U.S.C.

                 21              Jane Doe asked for the County to stipulate to another amendment but the County refused.

                 22       Jane Doe now seeks leave of the Court to remove certain items from the First Amended

                 23       Complaint that are described below and add section 1983 claims under federal law in relationship

                 24       to a breach of her privacy rights.

                 25                                              II.    ARGUMENT

                 26       A. THE COURT MAY GRANT LEAVE TO AMEND A COMPLAINT WHERE

                 27       PLAINTIFF’S INADVERTENT MISTAKE IN NAMING PARTIES OR IN ASSERTING

                 28       FACTS OR ALLEGATIONS NECESSITATES THE AMENDMENT
S PRINKLE L LOYD &
    L ICARI LLP                                                            3
 ATTO RNEY S AT LAW
     SAN DIEGO                                                     JANE DOE’S NOTICE OF MOTION AND MOTION TO AMEND COMPLAINT

                                                               EXHIBIT M
             Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.70 Page 64 of 189



                      1          Any judge, at any time before or after commencement of trial, in the furtherance of

                      2   justice, and upon such terms as may be proper, may allow amendment of any pleading or pretrial

                      3   conference order. Cal. Code Civ. Proc. § 576. The court may, in furtherance of justice, and on any

                      4   terms as may be proper, allow a party to amend any pleading or proceeding by adding or striking

                      5   out the name of any party, or by correcting a mistake in the name of a party, or a mistake in any

                      6   other respect. Cal. Code Civ. Proc. § 473(a)(1).

                      7          A party who fails to plead a cause of action subject to the requirements of this article,

                      8   whether through oversight, inadvertence, mistake, neglect, or other cause, may apply to the court

                      9   for leave to amend his pleading to assert such cause at any time during the course of the

                 10       action….This subdivision shall be liberally construed to avoid forfeiture of causes of action. Cal.

                 11       Code Civ. Proc. § 426.50.

                 12              Under this state’s liberal rules of pleading, the right of a party to amend to correct

                 13       inadvertent misstatements of facts or erroneous allegations of terms cannot be denied. Berman v.

                 14       Bromberg, (1997) 56 Cal. App. 4th 936, 945. The power to permit amendments is interpreted

                 15       very liberally as long as the plaintiff does not attempt to state facts which give rise to a wholly

                 16       distinct and different legal obligation against the defendant. Herrera v. Superior Court, (1984)

                 17       158 Cal. App. 3d 255, 259, 204.

                 18       B. PLAINTIFF HAS COMPLIED WITH THE PROCEDURAL REQUIREMENTS

                 19       RELATING TO THIS MOTION

                 20              a. The Changes to the First Amended Complaint are Specified herein and a Copy of the

                 21       Proposed Second Amended Complaint is Attached Hereto.

                 22              A motion to amend a pleading before trial must:

                 23       (1) Include a copy of the proposed amendment or amended pleading, which must be serially

                 24       numbered to differentiate it from previous pleadings or amendments;

                 25       (2) State what allegations in the previous pleading are proposed to be deleted, if any, and where,

                 26       by page, paragraph, and line number, the deleted allegations are located; and

                 27

                 28
S PRINKLE L LOYD &
    L ICARI LLP                                                              4
 ATTO RNEY S AT LAW
     SAN DIEGO                                                      JANE DOE’S NOTICE OF MOTION AND MOTION TO AMEND COMPLAINT

                                                              EXHIBIT M
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                      1   (3) State what allegations are proposed to be added to the previous pleading, if any, and where, by

                      2   page, paragraph, and line number, the additional allegations are located. Cal. Rules of Court, rule

                      3   3.1324(a).

                      4          A true and accurate copy of the Second Amended Complaint is attached as Exhibit A to

                      5   the Declaration of Michael Licari, filed herewith. The specific allegations deleted from the

                      6   previous complaint are as follows:

                      7          •     “In 2008, the California legislature created the Victim’s Bill of Rights called Marsy’s

                      8                Law and enumerated those rights in the California Constitution under Article I, § 28,

                      9                section (b). Among those rights are the following:

                 10                    a. To be treated with fairness and respect for the victim’s privacy and dignity and to be

                 11                    free from intimidation, harassment, and abuse, throughout the criminal and juvenile

                 12                    justice process;

                 13                    b. To be reasonably protected from the defendant and persons acting on behalf of

                 14                    defendant; and

                 15                    c. To prevent the disclosure of confidential information or records to the defendant, the

                 16                    defendant’s attorney, or any other person acting on behalf of the defendant, which

                 17                    could be used to locate or harass the victim or the victim’s family or which disclose

                 18                    confidential communications made in the course of medical or counseling treatment, or

                 19                    which are otherwise privileged or confidential by law.” p. 4 ln. 21-28, p. 5 ln. 1-5

                 20              •     “Marsy’s Law” p. 6 ln. 6

                 21              •     “California Constitution” p. 6 ln. 9

                 22              •     “and California common law” p. 7 ln. 20-21

                 23       The allegations proposed to be added the SAC are as follows:

                 24              •     The Fourth and Fourteenth Amendments not only create a reasonable expectation of

                 25                    privacy for all United States Citizens, but the Fourteenth Amendment also requires

                 26                    municipalities such as the County of San Diego to ensure that the actions of its

                 27                    employees do not endanger U.S. citizens. The San Diego County Sheriff’s

                 28                    Department’s current policy regarding who may access a criminal investigative file
S PRINKLE L LOYD &
    L ICARI LLP                                                               5
 ATTO RNEY S AT LAW
     SAN DIEGO                                                       JANE DOE’S NOTICE OF MOTION AND MOTION TO AMEND COMPLAINT

                                                               EXHIBIT M
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                      1       involving victims of crimes [including but not limited to Jane Doe] violates the United

                      2       States Constitution and specifically the Fourth and Fourteenth Amendments. p. 4 ln.

                      3       21-27.

                      4   •   the United States Constitution p. 5 ln. 28

                      5   •   “as to comply with the Fourth and Fourteenth Amendments to the U.S. Constitution.

                      6       P. 6 ln. 3

                      7   •   “A special relationship exists between law enforcement and criminal sexual assault

                      8       victims that creates a duty owned by law enforcement to keep victim’s information

                      9       confidential and private.” p. 8 ln. 26-28.

                 10                                    SIXTH CAUSE OF ACTION

                 11            Invasion of Privacy Under 42 U.S.C. § 1983 against Timothy Wilson

                 12       •   “Plaintiff realleges and incorporates herein by this reference each and every allegation

                 13           contained above in paragraphs 1 through 48, inclusive, as though fully set forth

                 14           herein.” p. 9 ln. 5-6.

                 15       •   “The Fourth and Fourteenth Amendments of the United States Constitution guarantee

                 16           that every United States citizen enjoys a right to privacy.” p. 9 ln. 7-8.

                 17       •   “Deputy Wilson, acting under the color of state law while working as a sheriff’s

                 18           deputy, deprived Jane Doe of her reasonable expectation of privacy by accessing Jane

                 19           Doe’s private, confidential information by using the San Diego Sheriff’s Department’s

                 20           computer system for personal reasons. Wilson’s decision to access, review and take

                 21           Jane Doe’s private, confidential information maintained and stored on the County of

                 22           San Diego’s website is a violation of Jane Doe’s constitutional right to privacy.” p. 9

                 23           ln. 9-14.

                 24       •   “As a direct result of Wilson’s unlawful conduct, Jane Doe has been damaged

                 25           including emotional suffering, mental anguish, humiliation and embarrassment.” p. 9

                 26           ln. 15-16.

                 27                                      SEVENTH CAUSE OF ACTION

                 28                    Monell Claim Under 42 U.S.C. § 1983 against County of San Diego
S PRINKLE L LOYD &
    L ICARI LLP                                                      6
 ATTO RNEY S AT LAW
     SAN DIEGO                                              JANE DOE’S NOTICE OF MOTION AND MOTION TO AMEND COMPLAINT

                                                       EXHIBIT M
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                      1   •   “Plaintiff realleges and incorporates herein by this reference each and every allegation

                      2       contained above in paragraphs 1 through 51, inclusive, as though fully set forth

                      3       herein.” p. 9 ln. 19-20.

                      4   •   “San Diego County Sheriff spokesperson Lt. Karen Stubkjaer stated to the San Diego

                      5       Union Tribune that the San Diego County Sheriff’s Department has the ability to limit

                      6       access to its online investigative files but only exercises these limitations in rare

                      7       circumstances. Lt. Stubkjaer indicated that Jane Doe’s status as a minor sexual assault

                      8       victim does not qualify as an investigation that would warrant certain limitations or

                      9       restrictions regarding access. Thus, San Diego County implements a department wide

                 10           policy that allows anyone employed by the San County Sheriff to access the criminal

                 11           investigative files, even in circumstances where a minor sexual assault victim such as

                 12           Jane Doe is the subject of the investigation.” p. 9 ln. 21-28.

                 13       •   “San Diego County’s policy provides access to more than 4,000 individuals who can

                 14           and do in fact access personal, private, intimate, embarrassing and confidential

                 15           information of crime victims. Oftentimes, the individual County employee accessing

                 16           this information plays no role whatsoever in the investigation. Additionally, much of

                 17           this information is protected by a reasonable expectation of privacy guaranteed by the

                 18           Fourth and Fourteenth Amendments of the United States Constitution. Therefore, the

                 19           Department wide policy creates the opportunity for county employees to consistently

                 20           and systematically violate the rights of American citizens by accessing the information

                 21           of crime victims for personal use rather than for legitimate purposes.” p. 10 ln. 1-9.

                 22       •   “Based on information and belief, the practice by County employees of accessing

                 23           investigative files for non-legitimate purposes and thus gaining access to the private

                 24           and confidential information of innocent victims of crime is widespread, systematic

                 25           and ongoing.” p. 10 ln. 10-12.

                 26       •   “Deputy Wilson’s ability to access Jane Doe’s file despite being a mere jailer in the

                 27           local jail was made possible only because of the County’s unconstitutional policy.” p.

                 28           10 ln. 13-14.
S PRINKLE L LOYD &
    L ICARI LLP                                                      7
 ATTO RNEY S AT LAW
     SAN DIEGO                                              JANE DOE’S NOTICE OF MOTION AND MOTION TO AMEND COMPLAINT

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                      1         •   “The County of San Diego’s policy was implemented with a deliberate indifference to

                      2             crime victim’s constitutional rights under the Fourth and Fourteenth Amendments of

                      3             the United States Constitution.” p. 10 ln. 15-17

                      4         •   “Liability against the County of San Diego further exists where a municipality fails to

                      5             properly train, supervise, and discipline its employees amounting in a deliberate

                      6             indifference to one’s constitutional rights. See City of Canton, Ohio v. Harris, 489

                      7             U.S. 378 (1989); Patzner v.Burkett, 779 F.2d 1363, 1367 (8th Cir. 1985); Wellington

                      8             v. Daniels, 717 F.2d 932, 936 (4th Cir. 1983). Deputy Wilson’s actions, among that of

                      9             others within the Sheriff’s Department demonstrates that the County has failed to

                 10                 properly train, supervise and/or discipline employees who have abused the County’s

                 11                 online records system.” p. 10 ln. 18-24.

                 12             •   “The Sheriff’s Department indifference to the Constitution by condoning, ratifying

                 13                 and/or perpetuating abuse of the database has directly contributed to systematic

                 14                 misconduct, and the failure to end this policy, pattern of practice, or custom was a

                 15                 proximate cause to the injuries suffered by Jane Doe.” p. 10 ln. 25-28.

                 16             •   “Wherefore, as a direct and proximate cause of the actions of the County, Plaintiff has

                 17                 suffered damages in an amount to be awarded at trial.” p. 11 ln. 1-2.

                 18                                       EIGHTH CAUSE OF ACTION

                 19       State Created Danger Doctrine Claim Under 42 U.S.C. § 1983 against County of San Diego

                 20             •   “Plaintiff realleges and incorporates herein by this reference each and every allegation

                 21                 contained above in paragraphs 1 through 61, inclusive, as though fully set forth

                 22                 herein.” p. 11 ln. 5-6.

                 23             •   “By creating and executing a policy that allow for any San Diego County employee to

                 24                 access any criminal file with limited exceptions, the County affirmatively placed Jane

                 25                 Doe in danger by providing access to Jane Doe’s private and confidential information

                 26                 to Deputy Wilson who played no role in the actual investigation and where Deputy

                 27                 Wilson was the individual who committed the sexual assault.” P. 11 ln. 7-11.

                 28             •   “By executing this department wide policy of allowing access to investigative files to
S PRINKLE L LOYD &
    L ICARI LLP                                                          8
 ATTO RNEY S AT LAW
     SAN DIEGO                                                   JANE DOE’S NOTICE OF MOTION AND MOTION TO AMEND COMPLAINT

                                                              EXHIBIT M
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                      1                nearly everyone at the Sheriff’s Department, the County demonstrates a deliberate

                      2                indifference to a known or obvious danger. The danger is known or obvious because it

                      3                is entirely foreseeable that one of four thousand San Diego County Sheriff’s

                      4                Department employees committed an offense against a victim. In this case, Deputy

                      5                Wilson was that offender and Jane Doe was that victim.” p. 11 ln. 12-17.

                      6          •     “The aforementioned policy is reckless, and demonstrates a conscientious disregard

                      7                for protecting the constitutional rights of crime victims to a level that shocks the

                      8                conscience.” p. 11 ln. 18-19.

                      9          •     “The County’s policy is a direct and proximate cause of Jane Doe’s damages.” p. 11

                 10                    ln. 20.

                 11              •     “For Causes of action Six, Seven and Eight

                 12              1. Compensatory damages in an amount to be awarded at trial;

                 13              2. Costs of the lawsuit;

                 14              3. Attorney’s Fees;

                 15              4. Such other relief the Court deems appropriate.” p. 12 ln. 8-12.

                 16       C. The Declaration(s) Filed Herewith Show(s) The Effect And Necessity Of the Amendment;

                 17       When The Facts Necessitating The Amendment Became Known; And The Reasons Why

                 18       The Request For Amendment Was Not Made Earlier.

                 19       A separate declaration must accompany the motion and must specify:

                 20       (1) The effect of the amendment;

                 21       (2) Why the amendment is necessary and proper;

                 22       (3) When the facts giving rise to the amended allegations were discovered; and

                 23       (4) The reasons why the request for amendment was not made earlier. Cal. Rules of Court, rule

                 24       3.1324(b).

                 25              As stated in the Declaration of Michael Licari filed herewith, the effect of the proposed

                 26       amendment is as follows:

                 27              •     Remove any reference to the County’s liability under California common law

                 28
S PRINKLE L LOYD &
    L ICARI LLP                                                               9
 ATTO RNEY S AT LAW
     SAN DIEGO                                                         JANE DOE’S NOTICE OF MOTION AND MOTION TO AMEND COMPLAINT

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                      1          •      Add causes of action under 42 U.S.C. § 1983 for invasion of privacy, a Monell claim

                      2                 and a cause of action under the State Created Danger Doctrine

                      3          •      Alter the injunctive relief cause of action so that the injunction is based on the

                      4                 County’s failure to protect Jane Doe’s privacy under section 1983 rather than Marsy’s

                      5                 Law and the California Constitution.

                      6   Said Declaration also sets forth facts showing why the amendment is necessary and proper, and

                      7   when those facts were discovered, as follows:

                      8          •      Jane Doe has a bona fide claim under section 1983 for an invasion of privacy that may

                      9                 not be actionable under California state law

                 10              •      Section 1983 provides for attorney’s fees, whereas no cause of action in the First

                 11                     Amended Complaint provides Jane Doe with attorney’s fees

                 12              •      After meeting and conferring with county counsel, it was determined by counsel for

                 13                     Jane Doe that the injunctive relief may not be brought against the County for violation

                 14                     of certain penal code sections. By adding the section 1983 claim, the injunction cause

                 15                     of action can move forward.

                 16              •      After meeting and conferring, Jane Doe’s counsel determined that it was prudent to

                 17                     remove any reference to the County’s violations of California common law and that

                 18                     any such language would be susceptible to a motion to strike and/or demurrer

                 19              •      Counsel for the County and Jane Doe’s counsel met and conferred on June 7, 2019

                 20                     and July 18, 2019 in emails.

                 21              •      Counsel for Jane Doe also spoke with an experienced attorney in San Diego County

                 22                     who directed counsel to the section 1983 claim and how the section 1983 claim would

                 23                     be suitable for injunctive relief. Conversations with the experienced attorney occurred

                 24                     on July 26, 2019,

                 25       Said Declaration also sets forth the reasons why the request for amendment was not made earlier,

                 26       as follows:

                 27              •      As stated above, the meet and confer process between counsel led to Jane Doe’s

                 28                     intention to file a Second Amended Complaint to remove portions described above.
S PRINKLE L LOYD &
    L ICARI LLP                                                               10
 ATTO RNEY S AT LAW
     SAN DIEGO                                                         JANE DOE’S NOTICE OF MOTION AND MOTION TO AMEND COMPLAINT

                                                                EXHIBIT M
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                      1           •   After the two rounds of meet and confers with County Counsel, Jane Doe’s counsel

                      2               solicited the advice of a more experienced San Diego Attorney who recommended that

                      3               Jane Doe add a section 1983 claim. Jane Doe’s counsel had researched section 1983

                      4               claims prior to filing the original complaint, but felt that the state claims were suitable

                      5               to both prosecuting her claims and also keeping the case in Superior Court. After

                      6               consulting with the experienced attorney, Jane Doe’s counsel determined that any

                      7               possibility of the case being removed to federal court was outweighed by the potential

                      8               to obtain attorney’s fees and also to support the injunctive relief cause of action.

                      9   D. THE PROPOSED AMENDMENT IS TIMELY AND WILL NOT PREJUDICE THE

                 10       DEFENDANT

                 11               Generally, leave to amend a pleading is liberally granted provided there is no prejudice to

                 12       the opposing party such as a delay in trial, loss of critical evidence, or added costs of preparation.

                 13       Kolani v. Gluska, (1998) 64 Cal. App. 4th 402, 412 (rejected by Bonifield v. County of Nevada,

                 14       (2001) 94 Cal. App. 4th 298; Hirsa v. Superior Court, (1981) 118 Cal. App. 3d 486, 490.

                 15               Here, the County will suffer no prejudice by reason of the proposed amendment because

                 16       the case has yet to be set for trial and the case is not at issue yet. No discovery has occurred in this

                 17       case. The County will have ample time to investigate the claims and prepare its defenses before

                 18       the trial begins.

                 19                                               III. CONCLUSION

                 20               In view of the foregoing authorities and facts, Jane Doe respectfully requests that the

                 21       Court enter an order granting leave to file the proposed Second Amended Complaint, and deem

                 22       said amended pleading filed as of the date and time of the granting of this motion and in

                 23       accordance with Code Civ. Proc. § 471.5(a).

                 24       DATED: August 16, 2019                           SPRINKLE LLOYD & LICARI LLP

                 25

                 26                                                      By:
                                                                                 Michael Licari
                 27                                                              Attorney for Jane Doe
                 28
S PRINKLE L LOYD &
    L ICARI LLP                                                             11
 ATTO RNEY S AT LAW
     SAN DIEGO                                                      JANE DOE’S NOTICE OF MOTION AND MOTION TO AMEND COMPLAINT

                                                              EXHIBIT M
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                      1   MICHAEL A. LICARI (BAR NO. CA 265241)
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                          2801 B. St. Ste. 556
                      3   San Diego, CA 92108
                          Telephone: (858) 717-0013
                      4
                          Attorney for Jane Doe
                      5

                      6                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      7                FOR THE COUNTY OF SAN DIEGO – CENTRAL DISTRICT
                      8

                      9   JANE DOE, an Individual,                         Case No.: 37-2019-00020094-CU-CR-CTL
                 10                     Plaintiff,                         DECLARATION OF MICHAEL A. LICARI IN
                                                                           SUPPORT OF JANE DOE’S MOTION TO
                 11              v.                                        AMEND THE COMPLAINT
                 12       COUNTY OF SAN DIEGO, a California                Judge: Hon. Ronald Frazier
                          Municipality; TIMOTHY WILSON, an                 Dept: C-65
                 13       individual; and ROES 1 through 10,
                          inclusive,                                       [IMAGE FILE]
                 14

                 15                      Defendants.
                 16

                 17

                 18

                 19
                                I, Michael Licari declare the following:
                 20
                            1. I am a California licensed attorney and in good standing with the California State Bar
                 21
                                Association. I am Jane Doe’s attorney of record and have personal knowledge of the
                 22
                                forgoing and could testify to the contents of this declaration if called upon to do so. This
                 23
                                declaration is given in support of Jane Doe’s motion to amend her complaint.
                 24
                            2. Exhibit A is a true and accurate copy of the Second Amended Complaint, to be filed with
                 25
                                the Court if the Court should grant Jane Doe’s motion.
                 26
                            3. I originally filed the complaint on behalf of Jane Doe on April 2, 2019 and a First
                 27
                                Amended Complaint in early July. The first amendments to the original complaint
                 28
S PRINKLE LLOYD       &
   LICARI , LLP                                                            1
 ATTO RNEY S AT LAW
     SAN DIEGO                                                                                DECLARATION OF MICHAEL LICARI

                                                            EXHIBIT M
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                      1      occurred after speaking with Fernando Kish, County Counsel for the County of San Diego

                      2      through a series of emails on or around June 7, 2019. After speaking with Mr. Kish, I

                      3      believed that the original complaint contained certain deficiencies that might be

                      4      vulnerable to a demurrer. For this reason, Jane Doe amended the complaint.

                      5   4. The First Amended Complaint was filed in early July. Fernando Kish sent an email meet

                      6      and confer on or around July 18, 2019 stating that the County would file a demurrer

                      7      against the First Amended Complaint. While some of Mr. Kish’s concerns were worthy of

                      8      court interpretation, I believed that further scrutiny on my part was necessary and I

                      9      continued to research potential causes of action against the County.

                 10       5. After returning from vacation on July 23, 2019, I solicited the help of an attorney in San

                 11          Diego with more experience litigating against municipalities than I to help me research

                 12          and craft sustainable causes of action against the County.

                 13       6. We collectively determined that a Monell claim would be viable after discovering that the

                 14          abuse of the criminal database was widespread and systematic. The discovery occurred at

                 15          the end of July, 2019 and supported the notion that claims under section 1983 were viable.

                 16          Because the abuse was widespread and systematic, it also seemed tenable to bring a claim

                 17          under the State Created Danger Doctrine.

                 18       7. The following changes were made to the Second Amended Complaint: 1) removed any

                 19          reference to the County being liable under California common law; 2) modified the

                 20          injunctive relief cause of action so that the allegation is based on the Sheriff’s

                 21          Department’s policy breaches the U.S. Constitution rather than the California

                 22          Constitution; 3) added three causes of action based on violations of 42 U.S.C. § 1983; and

                 23          4) added attorney’s fees as part of the prayer for relief.

                 24       8. The County will not be prejudiced by these amendments because the case is not yet at

                 25          issue, the case management conference has yet to occur and the trial date is not set.

                 26          Additionally, no discovery including depositions have taken place. The County will have

                 27          ample time to prepare a defense against the new causes of action and will have ample time

                 28          to file dispositive motions if they should choose.
S PRINKLE L LOYD &
    L ICARI LLP                                                         2
 ATTO RNEY S AT LAW
     SAN DIEGO                                                                              DECLARATION OF MICHAEL LICARI

                                                         EXHIBIT M
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                      1   I declare under penalty of perjury under the laws of the State of California that the forgoing is

                      2   true and correct.

                      3

                      4   DATED: August 16, 2019                          _____________________________________
                                                                          Michael A. Licari
                      5

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                 28
S PRINKLE L LOYD &
    L ICARI LLP                                                            3
 ATTO RNEY S AT LAW
     SAN DIEGO                                                                                  DECLARATION OF MICHAEL LICARI

                                                             EXHIBIT M
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                               Exhibit A



                                 EXHIBIT M
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                      1    MICHAEL LICARI (SBN 265241)
                           SPRINKLE LLOYD & LICARI LLP
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                           2801 B. St., Ste. 556
                      3    San Diego, CA 92102
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                      5    Attorneys for Jane Doe
                      6

                      7

                      8                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      9                 FOR THE COUNTY OF SAN DIEGO – CENTRAL DISTRICT
                 10

                 11        JANE DOE, an Individual,                             Case No.: 37-2019-00020094-CU-CR-CTL
                 12                      Plaintiff,                        SECOND AMENDED COMPLAINT FOR:
                 13               v.                                       1)     INJUNCTIVE RELIEF
                 14                                                        2)     NEGLIGENCE
                           COUNTY OF SAN DIEGO, a California
                           Municipality; TIMOTHY WILSON, an                3)     INVASION OF PRIVACY
                 15        individual; and ROES 1 through 10,              4)     BATTERY
                           inclusive,                                      5)     NEGLIGENT SUPERVISION
                 16
                                         Defendants.                              AND/OR TRAINING
                 17                                                        6)     42 U.S.C. §1983 [Breach of Privacy]
                 18                                                        7)     42 U.S.C. §1983 [Monell]
                                                                           8)     42 U.S.C. §1983 [State Created Danger]
                 19                                                                 [Image File]
                 20                                                               Jury Trial Demanded

                 21              Plaintiff Jane Doe. alleges as follows:

                 22                                                   PARTIES

                 23       1. Plaintiff JANE DOE (“Jane Doe”) was a fourteen-year-old girl at the time that the events that

                 24          give rise to this Second Amended Complaint occurred and is resident of the County of San

                 25          Diego and in the State of California.

                 26       2. Sheriff’s Deputy Timothy Wilson (“Deputy Wilson”) was and is a resident of San Diego

                 27          County.

                 28       3. Jane Doe, Deputy Wilson and the County of San Diego may be collectively referred to as the
S PRINKLE L LOYD &
    L ICARI , LLP                                                          1
 ATTO RNEY S AT LAW
     SAN DIEGO                                  PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

                                                            EXHIBIT M
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                      1      “Parties.”

                      2   4. Plaintiff is unaware of the true names and capacities, whether individual, corporate, associate

                      3      or otherwise, of those Defendants sued herein as Roes 1 through 10, inclusive, which Plaintiff

                      4      therefore sues by such fictitious names. Plaintiff is informed and believes that each of the

                      5      fictitiously named Defendants is in some way responsible and/or liable to Plaintiff as herein

                      6      alleged and caused the damage to Plaintiff as herein alleged. Plaintiff will amend this

                      7      Complaint to allege the true names and capacities and the responsibility and/or liability of

                      8      such fictitiously named Defendants when their identities have been ascertained.

                      9   5. Plaintiff is informed and believes, and on this basis alleges, that at all times herein mentioned,

                 10          Defendants sued herein as Roes 1 through 10, inclusive, and each of them, were acting as the

                 11          duly authorized agent, servant, representative, joint venturer, co-venturer, co-conspirator,

                 12          partner, employee, and/or alter ego of each of the remaining Defendants and with the

                 13          knowledge, permission, consent, ratification and/or for the benefit of each of said remaining

                 14          Defendants, and in doing the things herein mentioned, each of the Defendants named herein

                 15          was acting in the course and scope of such employment, agency, conspiracy and/or

                 16          representative capacity with the ratification and consent of the other Defendants , and acted in

                 17          concert with them.

                 18                                                     VENUE

                 19       6. Based on information and belief, venue is proper in the San Diego County Superior Court

                 20          because all acts that give rise to this Complaint occurred in the County of San Diego.

                 21                                           GENERAL ALLEGATIONS

                 22       7. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 23          contained above in paragraphs 1 through 6, inclusive, as though fully set forth herein.

                 24       8. On March 21, 2018 at a Panda Express in Vista, CA, Deputy Wilson approached Jane Doe

                 25          from behind, sexually assaulted her and quickly exited the Panda Express thereafter.

                 26       9. That same day, Jane Doe and her mother reported the incident to the San Diego County

                 27          Sherriff’s Department. The San Diego County Sheriff’s Department thereafter opened an

                 28          investigation into the matter.
S PRINKLE L LOYD &
    L ICARI , LLP                                                           2
 ATTO RNEY S AT LAW
     SAN DIEGO                                    PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

                                                              EXHIBIT M
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                      1   10. The Sheriff’s Department arrested Deputy Wilson on May 18, 2018.

                      2   11. Deputy Wilson pled guilty to one count of committing a lewd act on a minor and two counts

                      3      of unlawfully taking computer data on October 3, 2018. Judge Goldstein sentenced Deputy

                      4      Wilson to one year in jail, five years’ probation, and he must register as a sex offender.

                      5   12. Prior to his arrest, Deputy Wilson used his unique position as an employee of the San Diego

                      6      County Sherriff’s department to access Jane Doe’s investigative file forty-four times from

                      7      March 21, 2018 until his arrest on May 18, 2018. Deputy Wilson worked for San Diego

                      8      County as a Sheriff’s Deputy in the local Vista jail. Deputy Wilson was not part of the

                      9      investigative team for Jane Doe’s case nor does he conduct investigations of any kind and

                 10          certainly not sexual assaults investigations of minors.

                 11       13. Based on information and belief, the Sheriff’s Department has the capability to limit access to

                 12          investigative files, does limit access in rare circumstances, but did not limit access of any kind

                 13          to Jane Doe’s sexual assault investigative file.

                 14       14. In the course of accessing Jane Doe’s file, Deputy Wilson downloaded photographs of Jane

                 15          Doe and sent them to his personal email account. In one instance, Deputy Wilson titled at

                 16          least one photograph, “White Pants” to describe Jane Doe. Deputy Wilson was also able to

                 17          learn Jane Doe’s name, address and cell phone number by gaining access to Jane Doe’s file,

                 18          as well as where Jane Doe attended school.

                 19       15. Based on information and belief, at no time did anyone from the Sheriff’s Department realize

                 20          nor did anyone find it unusual that a corrections officer at the local jail had accessed the

                 21          investigative file of a minor sexual assault victim’s case file forty-four times prior to Deputy

                 22          Wilson’s arrest. Based on information and belief, Deputy Wilson’s access of Jane Doe’s file

                 23          had no bearing whatsoever on his arrest.

                 24       16. The San Diego County Sheriff’s Department arrested Deputy Wilson because a San Diego

                 25          County employee identified Deputy Wilson in a video feed from the Panda Express security

                 26          footage that the local news outlets broadcasted as part of their story.

                 27       17. Once Jane Doe discovered that her assailant accessed her personal file, downloaded

                 28          photographs of her and knew where she lived, Jane Doe became extremely fearful for her life
S PRINKLE L LOYD &
    L ICARI , LLP                                                          3
 ATTO RNEY S AT LAW
     SAN DIEGO                                  PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

                                                             EXHIBIT M
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                      1      and safety. Thereafter, Jane Doe, at times became depressed, sick, confused, irritable, and

                      2      experienced periods of isolation so much so, that she has sought medical treatment as a result

                      3      of knowing that her personal information was breached forty-four times by the individual who

                      4      sexually assaulted her and law enforcement never noticed. For example, Jane Doe has

                      5      preferred to isolate herself as opposed to socializing with friends and peers as she attempts to

                      6      process what has happened to her and why. Jane Doe lacks trust in adults now and becomes

                      7      quickly uncomfortable and nervous when an adult male makes eye contact with her in an

                      8      otherwise typical social interaction. Jane Doe’s ability to seek a relationship with the opposite

                      9      sex has also been impaired by the events in this case. Each of these unfortunate consequences

                 10          may have a long-lasting negative impact on Jane Doe’s long-term growth and social

                 11          development.

                 12       18. Jane Doe also changed schools because Deputy Wilson discovered where Jane Doe attended

                 13          school by accessing her case file.

                 14       19. Jane Doe submitted a claim with San Diego County as required by the California Govt. Code.

                 15          Section 900 et. seq. San Diego County rejected Jane Does’ claim and denied any

                 16          responsibility or liability on October 18, 2018.

                 17                                         FIRST CAUSE OF ACTION

                 18                              Injunctive Relief against the County of San Diego

                 19       20. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 20          contained above in paragraphs 1 through 19, inclusive, as though fully set forth herein.

                 21       21. The Fourth and Fourteenth Amendments not only create a reasonable expectation of privacy

                 22          for all United States Citizens, but the Fourteenth Amendment also requires municipalities

                 23          such as the County of San Diego to ensure that the actions of its employees do not endanger

                 24          U.S. citizens. The San Diego County Sheriff’s Department’s current policy regarding who

                 25          may access a criminal investigative file involving victims of crimes [including but not limited

                 26          to Jane Doe] violates the United States Constitution and specifically the Fourth and

                 27          Fourteenth Amendments.

                 28       22. Based on information and belief, the San Diego County Sheriff grants access to all criminal
S PRINKLE L LOYD &
    L ICARI , LLP                                                          4
 ATTO RNEY S AT LAW
     SAN DIEGO                                   PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

                                                             EXHIBIT M
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                      1      investigative files including cases involving minor sexual assault victims to all San Diego

                      2      County employees with few limited exceptions. The County’s policy regarding access to

                      3      investigative files is completely at odds with the United States Constitution’s requirements to

                      4      protect the victim reasonable expectation of privacy by ensuring that any private or

                      5      confidential information stay out of the hands of people such as the victim’s assailant.

                      6   23. San Diego County Sheriff spokesperson Lt. Karen Stubkjaer revealed that the department has

                      7      “the ability to limit access to certain investigatory files when necessary” and “there was no

                      8      indication upon the reporting of this incident that there would be a necessity to limit access by

                      9      Department peace officers.”

                 10       24. At least nine members of law enforcement in San Diego, five from the San Diego Police

                 11          Department and four San Diego County Sherriff’s Department employees have been arrested

                 12          on charges of sexual misconduct since 2005 and likely had access to the victim’s investigative

                 13          file and personal information. The number could be higher but the City and County of San

                 14          Diego do not track sexual misconduct complaints. The California Legislature passed Senate

                 15          Bill 1421 in 2018 and the bill took effect on January 1, 2019, which requires law enforcement

                 16          agencies to release information when an officer committed sexual assault, lied when reporting

                 17          a crime or in an investigation, or used force that caused a person serious harm or death. To

                 18          date, the San Diego County Sheriff’s department has released two such files: Deputy Wilson

                 19          and Deputy Juan Andrade.

                 20       25. Here, Deputy Wilson is but one example where the County granted access to a minor victim’s

                 21          sexual assault file to a nonessential employee who then unlawfully accessed the file and the

                 22          victim’s confidential information forty-four times. Of course, no one from the department

                 23          noticed that Deputy Wilson systematically and endlessly accessed Jane Doe’s file and emailed

                 24          the file to his personal email account, nor did the department take any steps to prevent Deputy

                 25          Wilson’s continuous access of Jane Doe’s confidential file until his arrest.

                 26       26. Jane Doe seeks injunctive relief from this Court that forces the San Diego County Sherriff’s

                 27          Department to limit access to investigative files that involve victims to essential personnel

                 28          only so as to be in compliance with the United States Constitution. In seeking the injunction,
S PRINKLE L LOYD &
    L ICARI , LLP                                                          5
 ATTO RNEY S AT LAW
     SAN DIEGO                                  PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

                                                            EXHIBIT M
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                      1      Jane Doe seeks to ensure that no one other than essential personnel can view, use and

                      2      appropriate Jane Doe’s and other similar minor victims’ confidential and private information

                      3      so as to comply with the Fourth and Fourteenth Amendments to the U.S. Constitution.

                      4                                   SECOND CAUSE OF ACTION

                      5                             Negligence against the County of San Diego

                      6   27. Plaintiff realleges and incorporates herein by this reference each and every allegation

                      7      contained above in paragraphs 1 through 26, inclusive, as though fully set forth herein.

                      8   28. The California Constitution imposes certain duties on law enforcement when law enforcement

                      9      is investigating and prosecuting crimes that involve victims. Among them are a duty to protect

                 10          the privacy of an individual including but not limited to the victim’s confidential information

                 11          as described in paragraph twenty above.

                 12       29. Here, the San Diego County Sheriff’s Office breached its duties to Jane Doe by implementing

                 13          a system where nonessential employees including Deputy Wilson could access Jane Doe’s

                 14          underage sexual assault investigative files stored on computer software that contained

                 15          confidential and private information about Jane Doe forty-four times without preventing

                 16          further access.

                 17       30. It was entirely foreseeable that Jane Doe’s offender could be one of 4,000 San Diego County

                 18          employees because law enforcement employees in the Sherriff’s Office and the San Diego

                 19          County Police Department have been arrested, charged and/or convicted of crimes including

                 20          sexual assault on at least nine occasions since 2005.

                 21       31. The Sheriff’s Department’s breach of its duties to Jane Doe have caused Jane Doe serious

                 22          emotional distress and therefore, Jane Doe is entitled to compensation for her injuries in an

                 23          amount to be awarded at trial.

                 24                                        THIRD CAUSE OF ACTION

                 25                                    Invasion of Privacy against All Parties

                 26       32. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 27          contained above in paragraphs 1 through 31, inclusive, as though fully set forth herein.

                 28       33. As the victim of sexual assault, the California Constitution provides all victims of crime a
S PRINKLE L LOYD &
    L ICARI , LLP                                                          6
 ATTO RNEY S AT LAW
     SAN DIEGO                                   PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

                                                              EXHIBIT M
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                      1      reasonable expectation of privacy regarding confidential information, identity, home address

                      2      and phone number.

                      3   34. Deputy Wilson intentionally intruded on Jane Doe’s privacy rights by using his position as a

                      4      Deputy with the San Diego County Sheriff’s Department and his access credentials given to

                      5      him by the San Diego County Sheriff’s Office to access Jane Doe’s private, confidential

                      6      information during normal business hours that the Department stored on its computer system

                      7      and server. Deputy Wilson then converted Jane Doe’s private, confidential information for his

                      8      own personal use including photographs of Jane Doe just weeks after Deputy Wilson sexually

                      9      assaulted Jane Doe. For these reasons, the San Diego County Sheriff’s Department is

                 10          vicariously liable for Deputy Wilson’s conduct.

                 11       35. Deputy Wilson’s conduct was within the scope of his employment when he committed his

                 12          tortious acts and thus, the County of San Diego is vicariously liable.

                 13       36. Deputy Wilson’s intrusion is not only highly offensive to a reasonable person, but also

                 14          violates California law under Civil Code section 1798, the California Constitution.

                 15       37. As a consequence of Deputy Wilson’s intrusion, Jane Doe was harmed as particularly

                 16          described in paragraphs sixteen and seventeen of this Complaint.

                 17                                       FOURTH CAUSE OF ACTION

                 18                                   Sexual Battery against Timothy Wilson

                 19       38. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 20          contained above in paragraphs 1 through 37, inclusive, as though fully set forth herein.

                 21       39. On March 21, 2018 at a Panda Express in Vista, CA, Deputy Wilson approached Jane Doe

                 22          from behind, sexually assaulted and battered her by grabbing Jane Doe in intimate areas on

                 23          her body without her consent.

                 24       40. The offensive and wrongfully touching was intentional and caused Jane Doe injuries and

                 25          damages in an amount to be awarded at trial.

                 26       41. The acts of Timothy Wilson, as alleged herein were willful, wanton, and malicious and were

                 27          intended to oppress and cause injury to Jane Doe. In light of the willful, wanton, malicious

                 28          and intentional conduct engaged in by Deputy Wilson, Jane Doe is entitled to an award of
S PRINKLE L LOYD &
    L ICARI , LLP                                                           7
 ATTO RNEY S AT LAW
     SAN DIEGO                                   PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

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                      1      punitive damages.

                      2                                     FIFTH CAUSE OF ACTION

                      3              Negligent Supervision and/or Training against the County of San Diego

                      4   42. Plaintiff realleges and incorporates herein by this reference each and every allegation

                      5      contained above in paragraphs 1 through 41, inclusive, as though fully set forth herein.

                      6   43. Plaintiff is informed and believes and based therefore alleges that the supervisors of Deputy

                      7      Wilson had, and did exercise, supervisory authority over Deputy Wilson, while engaged in,

                      8      and required by, the course and scope of their employment during regular business hours.

                      9   44. Plaintiff is informed and believes and based therefore alleges that Deputy Wilson’s

                 10          unauthorized use of the government databases was done during regular business hours, on an

                 11          ongoing basis throughout his tenure at the Sheriff’s Department and ostensibly while Deputy

                 12          Wilson was engaged in the course and scope of his employment and performing his required

                 13          official duties as a County Sheriff’s Deputy.

                 14       45. Plaintiff is informed and believes and based therefore alleges that the San Diego County

                 15          Sheriff’s Department and Deputy Wilson’s supervisors had actual and/or constructive

                 16          knowledge that Deputy Wilson was using the time and resources of the County, and to gather

                 17          information for the personal use of himself on a routine basis, and while acting as a county

                 18          deputy when logging in to these government databases.

                 19       46. Deputy Wilson’s continuous use of the government database for personal reasons made

                 20          Deputy Wilson unfit for his position as a Deputy Sheriff with the San Diego County Sheriff’s

                 21          Department.

                 22       47. Notwithstanding such knowledge, Deputy Wilson’s supervisors, and thus the County was

                 23          negligent, careless and failed to properly supervise, train and control Wilson as a Sheriff’s

                 24          Deputy. These failures enabled and allowed Deputy Wilson to access Jane Doe’s investigative

                 25          file forty-four times and download the file and email it to his personal email address all in

                 26          violation of Jane Doe’s rights as a victim and in violation of her right to privacy. A special

                 27          relationship exists between law enforcement and criminal sexual assault victims that creates a

                 28          duty owned by law enforcement to keep victim’s information confidential and private.
S PRINKLE L LOYD &
    L ICARI , LLP                                                            8
 ATTO RNEY S AT LAW
     SAN DIEGO                                   PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

                                                             EXHIBIT M
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                      1   48. The supervisors’ failure to properly supervise, train and control Deputy Wilson were a

                      2      substantial cause of Jane Doe’s damages.

                      3                                     SIXTH CAUSE OF ACTION

                      4                Invasion of Privacy Under 42 U.S.C. § 1983 against Timothy Wilson

                      5   49. Plaintiff realleges and incorporates herein by this reference each and every allegation

                      6      contained above in paragraphs 1 through 48, inclusive, as though fully set forth herein.

                      7   50. The Fourth and Fourteenth Amendments of the United States Constitution guarantee that

                      8      every United States citizen enjoys a right to privacy.

                      9   51. Deputy Wilson, acting under the color of state law while working as a sheriff’s deputy,

                 10          deprived Jane Doe of her reasonable expectation of privacy by accessing Jane Doe’s private,

                 11          confidential information by using the San Diego Sheriff’s Department’s computer system for

                 12          personal reasons. Wilson’s decision to access, review and take Jane Doe’s private,

                 13          confidential information maintained and stored on the County of San Diego’s website is a

                 14          violation of Jane Doe’s constitutional right to privacy.

                 15       52. As a direct result of Wilson’s unlawful conduct, Jane Doe has been damaged including

                 16          emotional suffering, mental anguish, humiliation and embarrassment.

                 17                                      SEVENTH CAUSE OF ACTION

                 18                    Monell Claim Under 42 U.S.C. § 1983 against County of San Diego

                 19       53. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 20          contained above in paragraphs 1 through 52, inclusive, as though fully set forth herein.

                 21       54. San Diego County Sheriff spokesperson Lt. Karen Stubkjaer stated to the San Diego Union

                 22          Tribune that the San Diego County Sheriff’s Department has the ability to limit access to its

                 23          online investigative files but only exercises these limitations in rare circumstances. Lt.

                 24          Stubkjaer indicated that Jane Doe’s status as a minor sexual assault victim does not qualify as

                 25          an investigation that would warrant certain limitations or restrictions regarding access. Thus,

                 26          San Diego County implements a department wide policy that allows anyone employed by the

                 27          San County Sheriff to access the criminal investigative files, even in circumstances where a

                 28          minor sexual assault victim such as Jane Doe is the subject of the investigation.
S PRINKLE L LOYD &
    L ICARI , LLP                                                          9
 ATTO RNEY S AT LAW
     SAN DIEGO                                   PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

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                      1   55. San Diego County’s policy provides access to more than 4,000 individuals who can and do in

                      2      fact access personal, private, intimate, embarrassing and confidential information of crime

                      3      victims. Oftentimes, the individual County employee accessing this information plays no role

                      4      whatsoever in the investigation. Additionally, much of this information is protected by a

                      5      reasonable expectation of privacy guaranteed by the Fourth and Fourteenth Amendments of

                      6      the United States Constitution. Therefore, the Department wide policy creates the opportunity

                      7      for county employees to consistently and systematically violate the rights of American

                      8      citizens by accessing the information of crime victims for personal use rather than for

                      9      legitimate purposes.

                 10       56. Based on information and belief, the practice by County employees of accessing investigative

                 11          files for non-legitimate purposes and thus gaining access to the private and confidential

                 12          information of innocent victims of crime is widespread, systematic and ongoing.

                 13       57. Deputy Wilson’s ability to access Jane Doe’s file despite being a mere jailer in the local jail

                 14          was made possible only because of the County’s unconstitutional policy.

                 15       58. The County of San Diego’s policy was implemented with a deliberate indifference to crime

                 16          victims’ constitutional rights under the Fourth and Fourteenth Amendments of the United

                 17          States Constitution.

                 18       59. Liability against the County of San Diego further exists where a municipality fails to properly

                 19          train, supervise, and discipline its employees amounting in a deliberate indifference to one’s

                 20          constitutional rights. See City of Canton, Ohio v. Harris, 489 U.S. 378 (1989); Patzner v.

                 21          Burkett, 779 F.2d 1363, 1367 (8th Cir. 1985); Wellington v. Daniels, 717 F.2d 932, 936

                 22          (4th Cir. 1983). Deputy Wilson’s actions, among that of others within the Sheriff’s

                 23          Department demonstrates that the County has failed to properly train, supervise and/or

                 24          discipline employees who have abused the County’s online records system.

                 25       60. The Sheriff’s Department’s indifference to the Constitution by condoning, ratifying and/or

                 26          perpetuating abuse of the database has directly contributed to systematic misconduct, and the

                 27          failure to end this policy, pattern of practice, or custom was a proximate cause to the injuries

                 28          suffered by Jane Doe.
S PRINKLE L LOYD &
    L ICARI , LLP                                                          10
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     SAN DIEGO                                   PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

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                      1   61. Wherefore, as a direct and proximate cause of the actions of the County, Plaintiff has suffered

                      2      damages in an amount to be awarded at trial.

                      3                                     EIGHTH CAUSE OF ACTION

                      4   State Created Danger Doctrine Claim Under 42 U.S.C. § 1983 against County of San Diego

                      5   62. Plaintiff realleges and incorporates herein by this reference each and every allegation

                      6      contained above in paragraphs 1 through 61, inclusive, as though fully set forth herein.

                      7   63. By creating and executing a policy that allow for any San Diego County employee to access

                      8      any criminal file with limited exceptions, the County affirmatively placed Jane Doe in danger

                      9      by providing access to Jane Doe’s private and confidential information to Deputy Wilson who

                 10          played no role in the actual investigation and where Deputy Wilson was the individual who

                 11          committed the sexual assault.

                 12       64. By executing this department wide policy of allowing access to investigative files to nearly

                 13          everyone at the Sheriff’s Department, the County demonstrates a deliberate indifference to a

                 14          known or obvious danger. The danger is known or obvious because it is entirely foreseeable

                 15          that one of four thousand San Diego County Sheriff’s Department employees committed an

                 16          offense against a victim. In this case, Deputy Wilson was that offender and Jane Doe was that

                 17          victim.

                 18       65. The aforementioned policy is reckless, and demonstrates a conscientious disregard for

                 19          protecting the constitutional rights of crime victims to a level that shocks the conscience.

                 20       66. The County’s policy is a direct and proximate cause of Jane Doe’s damages.

                 21                                               PRAYER FOR RELIEF

                 22          WHEREFORE, Jane Doe. prays for relief against the County of San Diego as follows:

                 23          For the First Causes of Action:

                 24              1. An order from the Court directing the County of San Diego to modify its internal

                 25                    policies regarding access to criminal investigative files involving victims so that it

                 26                    does not violate the Constitutional Rights of crime victims;

                 27          For Causes of Action Two, Three and Five:

                 28              2. Compensatory damages in an amount to be awarded at trial;
S PRINKLE L LOYD &
    L ICARI , LLP                                                            11
 ATTO RNEY S AT LAW
     SAN DIEGO                                    PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

                                                               EXHIBIT M
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                      1         3. Costs of the lawsuit;

                      2         4. Such other relief the Court deems appropriate;

                      3      For Cause of Action Four:

                      4         5. Compensatory damages in an amount to be awarded at trial;

                      5         6. Costs of the lawsuit;

                      6         7. Punitive Damages;

                      7         8. Such other relief the Court deems appropriate.

                      8
                             For Causes of action Six, Seven and Eight
                      9
                                9. Compensatory damages in an amount to be awarded at trial;
                 10
                                10. Costs of the lawsuit;
                 11
                                11. Attorney’s Fees;
                 12
                                12. Such other relief the Court deems appropriate.
                 13

                 14       DATED: August 15, 2019                        SPRINKLE LLOYD & LICARI, LLP

                 15

                 16                                                  By:
                                                                             Michael Licari Attorney for Jane Doe
                 17

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S PRINKLE L LOYD &
    L ICARI , LLP                                                       12
 ATTO RNEY S AT LAW
     SAN DIEGO                                 PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

                                                            EXHIBIT M
        Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.94 Page 88 of 189
   .,



                            MICHAEL A. LICARI (BAR NO. CA 265241)
                            SPRINKLE LLOYD & LICARI LLP
                    2       Attorneys at Law
                            2801 B. St. Ste. 556
                    3       San Diego, CA 92108
                            Telephone: (858) 717-0013
                    4
                            Attorney for Jane Doe
                    5

                    6                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

                    7                      FOR THE COUNTY OF SAN DIEGO - CENTRAL DISTRICT

                    8

                    9       JANE DOE, an Individual,                      Case No.: 37-2019-00020094-CU-CR-CTL
                    10                       Plaintiff,                   [PROPOSEDI ORDER GRANTING JANE
                                                                          DOE'S MOTION TO AMEND THE
                    I1               v.                                   COMPLAINT

                    12      COUNTY OF SAN DIEGO, a California             Judge: Hon. Ronald Frazier
                            Municipality; TIMOTHY WILSON, an              Dept: C-65
                    13      individual; and ROES 1 through I 0,
                            inclusive,                                    [IMAGE FILEI
                    14
                    15                       Defendants.
                    16
                    17
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                    19
                    20
                                     This matter came on regularly before the Court for hearing on November 8, 2019. Michael
                    21
                            Licari appeared for Plaintiff, Jane Doe. Fernando Kish appeared for Defendant, County of San
                    22
                            Diego.
                    23
                                     The Court, having reviewed the moving and opposing papers on Plaintiffs Motion To
                    24
                            Amend Complaint on the ground that the First Amended Complaint failed to include a particular
                    25
                            cause of action; and oral argument of counsel having been received by the Court.
                    26
                            Ill
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                            Ill
                    28
SrRINKLE LLOYD          &
   LICARI,   LLP
 A ThlliNtl'" A T LAW
                                                                                                           (PROPOSED] ORDER
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                                                             EXHIBIT M
       Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.95 Page 89 of 189




                            The Court finds, adjudges and orders as follows:

                    2       1. That Jane Doe's motion is GRANTED;

                    3       2. That the proposed SECOND AMENDED COMPLAINT is deemed filed this date.

                    4       3. IT IS FURTHER ORDERED that defendant County of San Diego file a response within thirty

                    5       days of this order.

                        6   IT IS SO ORDERED.

                        7   DATED: _ _ _ __
                                                                          Judge San Diego Superior Court
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SPRINKLE LLOYD          &
   LICARI LLP                                                                  2
 Al'TOMNt'r .. At L4W
                                                                                                           [PROl'OSEDI ORDER



                                                             EXHIBIT M
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.96 Page 90 of 189



 Re: Jane Doe v. County of San Diego
 Case No. 2019-200094


                                     PROOF OF SERVICE
                             Code of Civil Procedure §§ 1013a, 210.5

 I am a resident of the State of California and over the age of eighteen years, and not a party to the
 within action. My business address is 2801 B Street, Unit 556, San Diego, CA 92102. On August
 16, 2019, I served the following document(s):

 Jane Doe’s Notice of Motion, Motion to Amend the Complaint, Declaration of Michael
 Licari, Second Amended Complaint, Proposed Order

 ___x____By placing the document(s) listed above in a sealed envelope, addressed as set forth
 below, and placing the envelop for collection and mailing it overnight.

 _______By transmitting via fax the document(s) listed above to the fax numbers set forth below
 on this date before 5:00 pm.

 _______By transmitting via One Legal the document(s) listed above to the person(s) listed below

 _______By E-mailing the document(s) listed above to the address set forth below on this date
 before 5:00pm.

 _______By Causing a true and correct copy thereof to be personally delivered to the person(s) at
 the addresses set forth below.

         I am readily familiar with the firm’s practice of collection and processing correspondence
 for mailing with the United States Postal Service. Under the practice, it would be deposited with
 the U.S. Postal Service on the same day with the postage thereon fully prepaid in the ordinary
 course of business. I am aware that on motion of the party served, service is presumed invalid if
 postal cancellation date or postage meter date is more than one day after the date of deposit for
 mailing in affidavit.

 I declare under penalty of perjury under the laws of the State of California that the above is true
 and correct.

 Executed on August 16, 2019 at San Diego, California.



                                       ___________________________________
                                       Michael A. Licari




                                           EXHIBIT M
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.97 Page 91 of 189




 Service List:

 Fernando Kish
 Office of County Counsel
 1600 Pacific Highway, Ste. 355
 San Diego, CA 92101

 Timothy Wilson
 1002 N. Mollison Ave.
 El Cajon, CA 92020




                                  EXHIBIT M
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.98 Page 92 of 189




              EXHIBIT “N”
      Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.99 Page 93 of 189


ATTORNEY OR PARTY WITHOUT ATTORNEY (Name Stale Bar number. and address)                                         FOR COURT USE ONLY
Fernando Kish, Senior Deputy (SBN 234961)
Office of County Counsel
1600 Pacific Highway, Room 355, San Diego, CA 92101
       TELEPHONE NO 619-531-4860            FAX NO (Opl10nal)

E-MAIL ADDRESS (Op1,ona1>   fern ando. kis h@sdcou nty. ca. gov
     ATTORNEY FOR (Name)    Defendant County of San Diego
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 (81 CENTRAL DIVISION, HALL OF JUSTICE, 330 W. BROADWAY, SAN DIEGO, CA 92101
 0    EAST COUNTY DIVISION, 250 E. MAIN ST., EL CAJON, CA 92020
 0    NORTH COUNTY DIVISION, 325 S. MELROSE DR., SUITE 1000, VISTA, CA 92081
 0    SOUTH COUNTY DIVISION. 500 3RD AVE., CHULA VISTA, CA 91910
PLAINTIFF(S)                                                                                        JUDGE

Jane Doe                                                                                            Hon. Ronald Frazier
DEFENDANT(S)                                                                                        DEPT

Countv of San Dieao; Timothv Wilson                                                                 C-65
                                                                                                    CASE NUMBER
                      NOTICE OF PAYMENT OF ADVANCE JURY FEE                                         37-2019-00020094-CU-CR-CTL

                                                                          NOTICE

TO:     The above court, the clerk thereof, and all concerned parties:
        The statutory advance jury fee is tendered herewith on behalf of the
         D Plaintiff 181 Defendant _C_o_u_n....,ty_o_f_S_a_n_D_ie""'g,._o_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                      (Full Name)

         Parcel No.(s) (if appropriate) _    _ __ _ _ _ _ _ _ _ __ __ _,,___ _ _ __,__ _ _ __ _ __




Date: 09/19/2019
                                                                                                                                       Signature


                                                     DECLARATION OF SERVICE BY MAIL
I declare that I am over the age of 18 years and not a party to this case; I am employed in, or am a resident of the County
where the mailing took place; and my residence or business address fs:
1600 Pacific Highway, Room 355, San Diego, CA 92101



I served the NOTICE OF PAYMENT OF ADVANCE JURY FEE by placing a true copy in separate envelopes addressed
to each addressee, respectively, as follows:
Michael A. Licari, Esq.
SPRINKLE LLOYD & LICARI LLP
7801 Mission Court, # 240
San Diego, CA 92108

I then sealed each envelope and, with postage thereon fully prepaid, placed each for deposit in the United States Postal
Service, on the date shown below at (City and State) =S=a.:..:.n..=D:.:.;ie~gz.;:o;.i..,- = C ; . : . . A ' - - - - - - - - - - - - - - - - - - - -

1 declare    under penalty of perjury, under the laws of the State of California, that the foregoing is true and correct.

Date: 09/19/2019

YVONNE LOPEZ
Type or Print Name                                                                                                                     Signature

sosc CIV-105 (Rev   9/12)                     NOTICE OF PAYMENT OF ADVANCE


                                                                          Save This Form
                                                                     EXHIBIT N
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.100 Page 94 of 189




               EXHIBIT “O”
             Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.101 Page 95 of 189
                                                                                                                                                  CM-110
     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and /ldd,eu}:                                         FOR COURT USE ONLY
  THOMAS E. MONTGOMERY, County Counsel
  County of San Diego
  By:FERNANDO KISH, Sr. Deputy (SBN 236961)
  1600 Pacific Hwy., Room 355
  San Diego, CA 92101
           TELEPHONE NO.: ( 619 ) 531-4713    FAX NO, (Optione/J; (619)                  531-6005
   E-MAILADDREss (Op/lon/1/J. fernando. kish@sdcounty.ca. gov
     ATTORNEYFORtNamet. Defendant COUNTY OF SAN DrEr.:o
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
    STREETADDREss: 330 West Broadway
     MAILING ADDRESS:
                   San Diego, CA 92101
     CITY AND zIP coDE.
                   Central
         BRANCH NAME!
        PLAINTIFF/PETITIONER:JANE DOE

 OEFENDANT/RESPONDENT:COUNTY OF SAN DIEGO, et al.

                                                                                                        CASE NUMBER:
                                   CASE MANAGEMENT STATEMENT
 (Check one):             [X] UNLIMITED CASE                     D      LIMITED CASE                     37-2019-00020094-CU-CR-CTL
                                   (Amount demanded                     (Amount demanded Is $25,000
                                   exceeds $25,000)                     or less)
 A CASE MANAGEMENT CONFERENCE is scheduled as follows:
 Date: October 4, 2019                    Time: 11: 00 a • m • . Dept.: 6 5                           Div.:                   Room:
 Address of court (if different from the address above):


     D       Notice of Intent to Appear by Telephone, by (name):
                INSTRUCTIONS: All applicable boxes must be checked, and the specified lnfom,atlon must be provided.
1.      Party or parties (answer one):
        a.   [J[] This statement Is submitted by party (name):Defendant COUNTY OF SAN DIEGO
        b.   D        This statement Is submitted Jointly by parties (names):


2.      Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
        a. The complaint was filed on (date):
        b.   D   The cross-complaint, if any, was filed on (date):

3.      Service (to be answered by plaintiffs and cross-complainants only)
        a.   D        All parties named In the complaint and cross-complaint have been served, have appeared, or have been dismissed.
        b.   D        The following parties named In the complaint or cross-complatnt
                      (1)      D  have not been served (specify names and explain why not):

                      (2)      D      have been served but have not appeared and have not been dismissed (specify names):

                      (3)      D      have had a default entered against them (specify names):

        c.   D        The following additional parties may be added (specify names, nature of involvement in case, and date by which
                      they may be served):



4.      Description of case
        a. Type of case in           [][I   complafnt          D       cross-complaint     (Describe, including causes of action):
             Plaintiff brings injunctive relief, negligence and invasion of privacy causes of
             action against Defendant County for damages she allegedly sustained following a
             sexual assault and accessing of her investigation file.
                                                                                                                                                   Pa a1of5
Form Adopted for MandalOIY Use                                                                                                              Cal. Rules of Coun,
  Judicial Council of California                           CASE MANAGEMENT STATEMENT                                                         rules 3.720-3.730
  CM·110(Rav. July 1. 20111                                                                                     So~s-
                                                                                                                   '~p"{~
                                                                            EXHIBIT O
          Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.102 Page 96 of 189
                                                                                                                                         CM-110
      PLAINTIFF/PETITIONER: JANE DOE                                                                    CASE NUMBER;

....OEFENOANT/RESPONOENT:COUNTY                     OF SAN DIEGO, et al.
                                                                                                        37-2019-00020094-CU-CR-CTL


4. b. Provide a brief statement of the case, Including any damages. (If personal injury damages are sought, specify the injury and
      damages claimed, Including medical expenses to date [indicate source and amount], estimated future medical expenses, last
      earnings to date, and estimated future lost earnings. If equitable relief is sought, describe the nature of the relief.)
           Plaintiff seeks injunctive relief and compensatory damages


     D           (If more space is needed, check this box and attach a page designated as Attachment 4b.)
5. Jury or nonjury trial
     The party or parties request          [][] a jury trial   D    a nonJury trial.    (If more than one party, provide the name of each party
     requesting a jury trial):


6. Trial date
   a.       D The trial has been set for (date):
   b. [X] No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
              not, explain}:

     c.         Dates on which parties or attorneys will not be avallable for trial (specify dates and explain reasons for unavailability):



7. Estimated length of trial
     The party or parties estimate that the trial will take (check one}:
     a. W days (specify number): 4
     b. D      hours (short causes) (specify}:

a.   Trial representation (to be answered for each party)
     The party or parties will be represented at trial         00
                                                             by the attorney or party listed In the caption            D   by the following:
     a. Attorney:
     b. Firm:
     c. Address:
     d. Telephone number:                                                       f. Fax number:
     e. E-mail address:                                                         g. Party represented:
     D      Additional representation is described in Attachment 8.
9. Preference
     D  This case Is entitled to preference (specify code section):

10. Alternative dispute resolution (ADR)
    a. ADR Information package. Please note that different ADR processes are available in different courts and communities; read
         the ADR information package provided by the court under rule 3.221 for Information about the processes available through the
         court and community programs in this case.
      (1) For parties represented by counsel: Counsel D          has D          has not provided the ADR lnformation package Identified
           in rule 3.221 to the client and reviewed ADR options with the client.
     (2) For self-represented parties: Party D        has D has not reviewed the ADR information package identified in rule 3.221.
     b. Referral to Judlclal arbitration or civil action mediation (if available).
      (1) D This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                  mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                  statutory limit.
          (2)     D      Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified In Code of
                         Civil Procedure section 1141.11.
          (3)     D      This case is exempt from Judicial arbitration under rule 3.811 of the California Rules of Court or from clvi1 action
                         mediation under Code of Civil Procedure section 1775 et seq. (specify exemption}:

                                                                                                                                              Page Zof 5
CM-110(Rev Ju'.y 1 ~l 1J                            CASE MANAGEMENT STATEMENT

                                                                      EXHIBIT O
           Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.103 Page 97 of 189


                                                                                                                                    CM-110
       PLAINTIFF/PETITIONER: JANE DOE                                                              CASE NUMBER:

 DEFENDANT/RESPONDENT: COUNTY OF SAN DIEGO, et al.                                                  37-2019-00020094-CU-CR-CTL


 10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
        have already participated In (check all that apply and provide the specified information):

                              The party or parties completing   If the party or parties completing this form in the case have agreed to
                              this form are wllllng to          participate In or have already completed an ADR process or processes,
                              participate In the following AOR indicate the status of the processes (attach a copy of the parties' ADR
                              processes (check all that apply): stipulation):


                                                                    D     Mediation session not yet scheduled
                                                                    D     Medlation session scheduled for (date):
   (1) Mediation                           D
                                                                    D     Agreed to complete mediation by (date):
                                                                    D     Mediation completed on (date):


                                                                   00     Settlement conference not yet scheduled
   (2) Settlement                                                  D      Settlement conference scheduled for (date):
       conference                          00
                                                                   D      Agreed to complete settlement conference by (date):
                                                                   D      Settlement conference completed on (date):


                                                                    D     Neutral evaluation not yet scheduled
                                                                   D      Neutral evaluation scheduled for (date):
   (3) Neutral evaluation                  D                       D      Agreed to complete neutral evaluation by (date):
                                                                   D      Neutral evaluation completed on (date):


                                                                   D      Judicial arbitration not yet scheduled

   (4) Nonbinding judicial                                         D      Judicial arbitration scheduled for (dale):
                                          D
       arbitration                                                 D      Agreed to complete judicial arbitration by (date):
                                                                   D      Judlclal arbitration completed on (date):


                                                                   D      Private arbitration not yet scheduled

   (5) Binding private
                                                                   D      Private arbitration scheduled for (date):
       arbitration                        D                        D     Agreed to complete private arbitration by (date):
                                                                   D      Private arbitration completed on (date):


                                                                   D     ADR session not yet scheduled
                                                                   D     ADR session scheduled for (date):
   (6) Other (specify):                   D                        D     Agreed to complete ADR session by (date):
                                                                   D     ADR completed on (date):


CM,110 [Rev July 1, 20111
                                               CASE MANAGEMENT STATEMENT



                                                                EXHIBIT O
          Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.104 Page 98 of 189
                                                                                                                                  CM-110
       PLAINTIFF/PETITIONER: JANE DOE                                                             CASE NUMBER:


-DEFENDANT/RESPONDENT:            COUNTY OF SAN DIEGO, et al.                                     37-2019-00020094-CU-CR-

11. Insurance
    a. D     Insurance carrier, if any, for party filing this statement (name):
    b. Reservation of rights:      D Yes D No
    c. D      Coverage issues will significantly affect resolution of this case (explain):




12. Jurisdiction
    Indicate any matters that may affect the court's Jurisdiction or processing of this case and describe the status.
     D Bankruptcy D Other (specify):
    Status:

13. Related cases, consolidation, and coordination
    a.    D  There are companion, underlying, or related cases.
             (1) Name of case:
             (2) Name of court:
             (3) Case number:
             (4) Status:
       D Additional cases are described in Attachment 13a.
    b. D     A motion to   D consolidate D coordinate                          will be filed by (name party):

14. Bifurcation
    D The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
         action (specify moving party, type of motion, and reasons):




15. Other motions
    [][] The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):
            Demurrer and Motion for Summary Judgment


16. Discovery
    a. D The party or parties have completed all discovery.
    b. [K] The following discovery will be completed by the date specified (describe all anticipated discovery):
            ~                                       Description                                                  Date
      Defendant County of San Diego Written Discovery                                                                 January 2020

      Defendant County of San Diego Party                            &   Witness Depositions                          April 2020

      Defendant County of San Diego Expert Depositions                                                                July 2010

     c.    D      The following discovery issues, including issues regarding the discovery of electronically stored information, are
                  anticipated (specify):




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                                                                EXHIBIT O
          Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.105 Page 99 of 189

                                                                                                                                 CM-110
      PLAINTIFF/PETITIONER: JANE DOE                                                           CASE NUMBER:


DEFENDANT/RESPONDENT: COUNTY OF SAN DIEGO,                        et   al.                     37-2019-00020094-CU-CR-CTL



17. Economic litigation
    a.    D
          This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures in Code
          of Civil Procedure sections 90-98 will apply to this case.
    b.    D
          This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
          discovery will be filed (if checked, explain specifically why economic litigation procedures relating to discovery or trial
                should not apply to this case):




18. Other lssues
     D   The party or parties request that the following additional matters be considered or determined at the case management
         conference (specify):




19. Meet and confer
    a. QO The party or parties have met and conferred with all parties on all subjects required by rule 3. 724 of the California Rules
           of Court (if not, explain}:



     b.    After meeting and conferring as required by rule 3.724 of the California Rules of Court, the parties agree on the following
           (specify):




20. Total number of pages attached (if any):        - 0-

I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of
the case management conference, including the written authority of the party where required.
Date: September 19, 2019


Fernando Kish
                           (TYPE OR PRINT NAME)




                           (TYPE OR PRINT NAME)                                              (SIGNATURE OF PARTY OR ATTORNEYI

                                                                              D      Additional signatures are attached.




                                                                                                                                   Page 5 ol 5
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                                                               EXHIBIT O
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.106 Page 100 of 189

  Jane Doe v. County ofSan Diego, et al.
  San Diego Superior Court No.37-2019-00020094-CU-CR-CTL



                                   Proof of Service by Mail
                                 (C.C.P. 1013a and 2015.5(b))
         I, Yvonne Lopez, declare:

         I am over the age of eighteen years and not a party to the case; I am employed in,
  or am a resident of, the County of San Diego, California where the mailing occurs; and
  my business address is: 1600 Pacific Highway, Room 355, San Diego, California.
          I further declare that I am readily familiar with the business practice for collection
  and processing of correspondence for mailing with the United States Postal Service; and
  that the correspondence shall be deposited with the United States Postal Service this same
  day in the ordinary course of business.
         On September 19, 2019, I caused to be served the following document(s):
  CASE MANAGEMENT STATEMENT, by placing a true copy of each document in a
  separate envelope addressed to each addressee, respectively, as follows:

          Michael Licari, Esq.
          SPRINKLE LLOYD & LICARI
          780 I Mission Court, Ste. 240
          San Diego, CA 92 l 08
          (Attorneys for Plainti./J)


         I then sealed each envelope and, with the postage thereon fully prepaid, I placed
  each for deposit in the United States Postal Service, this same day, at my business
  address shown above, following ordinary business practices.
         I declare under penalty of perjury under the laws of the State of California that the
  foregoing is true and correct.
         Executed on September 19, 2019, at San Diego, California.



                                                  1fad.z


                                          EXHIBIT O
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.107 Page 101 of 189




               EXHIBIT “P”
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.108 Page 102 of 189


                                                                                                                                            CM-110
ATTORNEY OR PARTY W THotJTATTORNEY rN1me, State Bar number   and address)                                           FOR COURT USE ONLY


Michael Licari (265241)                                                                          a
2801 B. St. Ste. 556
San Diego, CA 92102
          TELEPHONENO. 858-717-0013                    FAX NO. (Optional)
 E-MAIL ADDREss 1op1ionar1: mike@SL2Law.com
    ATTORNEYFOR(Name/: Jane Doe
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF                 San Diego
  STREET AOOREss: 330 West Broadway
  MAILING ADDRESS:
 cIrv ANoziP cooE: San Diego, CA 92102
     BRANCH NAME: Central
     PLAINTIFF/PETITIONER: Jane Doe
DEFENDANT/RESPONDENT: Count of San Diego, Timothy Wilson

                                  CASE MANAGEMENT STATEMENT                                           CASE NUMBER

(Check one):           [ZJ        UNLIMITED CASE             D       LIMITED CASE                      2019-00020094-CU-CR-CTL
                                  (Amount demanded                   (Amount demanded is $25,000
                                  exceeds $25,000)                   or less)

A CASE MANAGEMENT CONFERENCE is scheduled as follows:
Date: October 4, 2019                          Time: 11 :00 am              Dept. : 65             Div.: Civ                 Room:
Address of court (if different from the address above):

 D         Notice of Intent to Appear by Telephone, by (name):

                INSTRUCTIONS: All applicable boxes must be checked, and the specified lnfonnation must be provided.
1.   Party or parties (answer one):
     a.     W        This statement is submitted by party (name): Jane Doe
     b.     D        This statement is submitted jointly by parties (names):


2.   Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
     a. The complaint was filed on (date): April 2, 2019
     b.     D  The cross-complaint, if any, was filed on (date):

3.   Service (to be answered by plaintiffs and cross-complainants only)
      a.    W         All parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
      b.    D        The following parties named in the complaint or cross-complaint
                     (1)     D    have not been served (specify names and explain why not);

                      (2)    D       have been served but have not appeared and have not been dismissed (specify names):

                      (3)    D       have had a default entered against them (specify names):

      c.    D        The following additional parties may be added (specify names, nature of involvement in case, and date by which
                      they may be served):



4.    Description of case
      a.    Type of case in         m     complaint      D           cross-complaint     (Describe, including causes of action):
              Former Deputy Timothy Wilson sexually assaulted Jane Doe in a Panda Express while off duty. Thereafter and
              before Timothy Wilson was arrested, the County took no measures whatsoever to protect the identity or the
                                                                                                                                                Pa e1or5
Form Adopted tor Mandalay use                                                                                                            Cal. Rules of Court
  Jud,c:ial Coi.nal 01 ca•tomia
                                                      CASE MANAGEMENT STATEMENT                                                           rules 3.721>-3.730
   CM-110(Rev July 1, 2011)                                                                                                               www.courts.ca gov




                                                                      EXHIBIT P
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                                                                                                                                               CM-110
            PLAINTIFF/PETITIONER: Jane Doe                                                                  CASE NUMBER.
 I--
                                                                                                             2019-00020094-CU-CR-CTL
   DEFENDANT/RESPONDENT: Count of San Diego, Timothy Wilson

 4. b.        Provide a brief statement of the case, including any damages. (ff personal injury damages are sought, specify the injury and
              damages claimed, including medical expenses to dale [indicate source and amount], estimated future medical expenses, lost
              earnings to date, and estimated future lost earnings. If equitable relief is sought, describe the nature of the relief.)
                  confidential information of Jane Doe. Timothy Wilson accessed Jane Doe's private information and used it for
                  personal gain more than 40 times by using his access to the Sheriffs Dept data base, all in violation of her
                  Constitutional Right to Privacy and in violation of the Sheriff's Dept duties to victims of crimes. Jane Doe seeks
                  comp. damages for major emotional distress among other injuries.
       D            (If more space is needed, check this box and attach      a page designated as Attachment 4b.)
  5.   Jury or nonjury trial
       The party or parties request           m a jury trial     D       a nonjury trial.   (If more than one party, provide the name of each patty
       requesting a jury trial):


 6.    Trial date
       a.     D  The trial has been set for (date): None
       b.     D       No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
                      not, explain):


       c.     Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):


 7. Estimated length of trial
       The party or partfes estimate that the trial will take (check one):
       a.     l2J      days (specify number): 5
       b.     D        hours (short causes) (specify):


 B. Trial representation (to be answered for each party)
    The party or parties will be represented at trial [ZJ by the attorney or party listed in the caption                   D   by the following :
    a. Attorney;
    b. Firm:
    c. Address:
    d. Telephone number:                                                     f. Fax number:
    e. E-mail address:
                                                                             g. Party represented:
    D Additional representation is described in Attachment 8.
9. Preference
       D           This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
       a.     ADR Information package. Please note that different ADR processes are available in different courts and communities; read
              the ADR information package provided by the court under rule 3.221 for information about the processes available through the
              court and community programs in this case.
            (1) For parties represented by counsel: Counsel          D
                                                                     has           Dhas not         provided the ADR information package identified
                in rule 3.221 to the client and reviewed ADR options with the client.

            (2) For self-represented parties: Party      D     has   D       has not reviewed the ADR information package identified in rule 3.221.
       b. Referral to judicial arbitration or civil action mediation (if available).
         (1)      D This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                    mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                    statutory limit.

            (2)   CJ       Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                           Civil Procedure section 1141.11.
            ( 3 ) 0 This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                     mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):


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                                                      CASE MANAGEMENT STATEMENT                                                                Page Zol5




                                                                         EXHIBIT P
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                                                                                                                                   CM-110

-    PLAINTIFF/PETITIONER: Jane Doe
DEFENDANT/RESPONDENT: Count of San Diego, Timothy Wilson
                                                                                                 CASE NUMBER

                                                                                                 2019-00020094-CU-CR-CTL


10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
       have already participated in (check all that apply and provide the specified information)"


                             The party or parties completing   If the party or parties completing this form in the case have agreed to
                             thfs form are willing to          participate in or have already completed an ADR process or processes,
                             participate in the following ADR  indicate the status of the processes (attach a copy of the parties' ADR
                             processes (check all that apply): stipulation):


                                                                 CJ     Mediation session not yet scheduled


    (1) Mediation                        m                       CJ     Mediation session scheduled for (date):

                                                                 CJ      Agreed to complete mediation by (date):

                                                                 CJ      Mediation completed on (date):


                                                                 CJ      Settlement conference not yet scheduled

  (2) Settlement
      conference
                                         m                       CJ      Settlement conference scheduled for (date);

                                                                 CJ      Agreed to complete settlement conference by (date):

                                                                 CJ      Settlement conference completed on (date):


                                                                 CJ      Neutral evaluation not yet scheduled

                                         CJ                      CJ      Neutral evaluation scheduled for (date):
    (3) Neutral evaluation
                                                                 CJ      Agreed to complete neutral evaluation by (date):

                                                                 CJ      Neutral evaluation completed on (date):


                                                                 CJ      Judicial arbitration not yet scheduled

  (4) Nonbinding judicial                 CJ                     CJ      Judicial arbitration scheduled for (date).·
      arbitration
                                                                 CJ      Agreed to complete judicial arbitration by (date) ·

                                                                 CJ      Judicial arbitration completed on (date):


                                                                 CJ      Private arbitration not yet scheduled

  (5) Binding private                     CJ                     CJ      Private arbitration scheduled for (date) ;
      arbitration
                                                                 CJ      Agreed to complete private arbitration by (date):

                                                                 CJ      Private arbitration completed on (date)


                                                                 CJ      ADR session not yet scheduled


                                          CJ                     CJ      ADR session scheduled for (date):
    (6) Other (specify):
                                                                 CJ      Agreed to complete ADR session by (date):

                                                                 CJ      ADR completed on (date):


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                                             CASE MANAGEMENT STATEMENT



                                                            EXHIBIT P
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                                                                                                                                        ru.11n
                                                                                                     CASE NUMBER
,__        PLAINTIFF/PETITIONER:     Jane Doe
                                                                                                     2019-00020094-CU-CR-CTL
  DEFENDANT/RESPONDENT:              Count of San Diego, Timothy Wilson

11. Insurance
    a.       D
             Insurance carrier. if any, for party filing this statement (name):
    b. Reservation of rights:           DYes          D No
    c.       D
             Coverage issues will significantly affect resolution of this case (explain) :




12. Jurisdiction
    Indicate any matters th at may affect the court's jurisdiction or processing of this case and describe the status.
       D         Bankruptcy   D    Other (specify):
      Status·

13. Related cases, consolidation, and coordination
      a.     D     There are companion, underlying, or related cases.
                   (1) Name of case:
                   (2) Name of court:
                   (3) Case number:
                   (4) Status:
             D     Additional cases are described in Attachment 13a.
      b.     D     A motion to     D        consolldate   D      coordinate       will be filed by (name party):

14. Bifurcation
      D  The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
         action (specify moving party, type of motion, and reasons):



15. Other motions
      D       The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):
                Motion to Amend Complaint to be heard on Nov. 8


 16. Discovery
        a.   D     The party or parties have completed all drscovery.
        b.   [ZJ The following discovery will be completed by the date specified (describe all anticipated discovery);
                   ~                                          Description                                                 Date
           County of San Diego                                Admissions/SI/Depositions/Doc Request                       4/1/2020




        c.   D     The following discovery issues, including issues regarding the discovery of electronically stored information, are
                   anticipated (specify) ·
                    None




CM·110 (Rav July , 20111                           CASE MANAGEMENT STATEMENT


                                                                 EXHIBIT P
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                                                                                                                                  CM-110
                                                                                                 CASE NUMBER
     PLAINTIFF/PETITIONER:        Jane Doe
                                                                                                2019-00020094-CU-CR-CTL
DEFENDANT/RESPONDENT:             Count of San Diego, Timothy Wilson


17. Economic litigation
     a.   D    This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures in Code
               of Civil Procedure sections 90-98 will apply to this case.
    b.    D    This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
               discovery will be filed (if checked, explain specifica/fy why economic litigation procedures relating to discovery or trial
               should not apply to this case):




18. Other Issues
    D   The party or parties request that the following additional matters be considered or determined at the case management
        conference (specify):




19. Meet and confer
    a. [Z] The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules
           of Court (if not, explain):




     b.   After meeting and conferring as required by rule 3. 724 of the California Rules of Court, the parties agree on the following
          (specify):




20. Total number of pages attached (if any):
                                                    ----
1am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
as well as other issues raised by this statement. and will possess the authority to enter into stipulations on these issues at the lime of
the case management conference, including the written authority of the party where required.

Date: 9/26/2019


 Michael A. Licari
                          (lYP'S OR Pl'IINT NAME]                                             (SIGNATURE OF PARTY OR AlTORNEYl




                          (TYPE OR PRINT NAME)                                                 (SIGNATURE OF PARTY OR AlTORNEYI

                                                                             D     Additional signatures are attached.




CM·110(Rev July 1 20111
                                                                                                                                     P1ge5 ol 5
                                                    CASE MANAGEMENT STATEMENT


                                                             EXHIBIT P
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.113 Page 107 of 189




    Re: Jane Doe v. Counly ofSan Diego
    Case No. 2019-200094


                                         PROOF OF SERVICE
                                 Code of Civil Procedure§§ 1013a, 210.5

    I am a resident of the State of California and over the age of eighteen years, and not a party to the
    within action. My business address is 280 I B Street, Unit 556, San Diego, CA 92102. On
    September 26, 2019, I served the following document(s):
    Jane Doe's CMC statement

    _   x__By placing the document(s) listed above in a sealed envelope, addressed as set forth
    below, and placing the envelop for collection and mailing it overnight.
    _ _ _ By transmitting via fax the document(s) listed above to the fax numbers set forth below
    on this date before 5:00 pm.
    _ _ _ By transmitting via One Legal the document(s) listed above to the person(s) listed below
    .,.......,,,..-...,,..BY E-mailing the document(s) listed above to the address set forth below on this date
    before 5:00pm .
    ..,...__,_By Causing a true and correct copy thereof to be personally delivered to the person(s) at
    the addresses set forth below.
            I am readily familiar with the firm's practice of collection and processing correspondence
    for mailing with the United States Postal Service. Under the practice, it would be deposited with
    the U.S. Postal Service on the same day with the postage thereon fully prepaid in the ordinary
    course of business. I am aware that on motion of the party served, service is presumed invalid if
    postal cancellation date or postage meter date is more than one day after the date of deposit for
    mailing in affidavit.
    I declare under penalty of perjury under the laws of the State of California that the above is true
    and correct.
    Executed on September, 26 2019 at San Diego, California.



                                             Michael A:'Licari




                                                 EXHIBIT P
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.114 Page 108 of 189




    Service List:

    Fernando Kish
    Office of County Counsel
    1600 Pacific Highway, Ste. 355
    San Diego, CA 92101




                                     EXHIBIT P
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.115 Page 109 of 189




               EXHIBIT “Q”
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.116 Page 110 of 189



 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                               FOR COURT USE ONLY
 Michael Licari (265241)
 2801 B. St. Ste. 556
 San Diego, CA 92102
       TELEPHONE NO.: 858-717-0013                                FAX NO (Optional):

                       mike@SL2Law.com
 E-MAIL ADDRESS (Optional)

  ATTORNEY FOR (Name): Jane Doe

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 [g] CENTRAL DIVISION, HALL OF JUSTICE, 330 W. BROADWAY, SAN DIEGO, CA 92101
 0   EAST COUNTY DIVISION, 250 E. MAIN ST .. EL CAJON, CA 92020
 0   NORTH COUNTY DIVISION, 325 S. MELROSE DR. , SUITE 1000. VISTA. CA 92081
 0  SOUTH COUNTY DIVISION , 500 3RD AVE ., CHULA VISTA. CA 91910
P'LAINTIFF(S)                                                                                 JUDGE
Jane Doe                                                                                      Honorable Judae Ronald Frazier
DEFENDANT(S)                                                                                  DEPT

Countv of San Dieao Timothv Wilson                                                            65
                                                                                              CASE NUMBER
                     NOTICE OF PAYMENT OF ADVANCE JURY FEE
                                                                                              2019-00020094-CU-OR-CTL

                                                                              NOTICE

TO:     The above court, the clerk thereof, and all concerned parties:
        The statutory advance jury fee is tendered herewith on behalf of the
         ~ Plaintiff      D Defendant -
                                      Jane Doe
                                        - -- - - - - - -- - -- (Fu-II Name)
                                                                      -- -- -- - -- - - -- - -- -
        Parcel No.(s) (if appropriate) -       -   - - - - - --                - - -- -- - - --      - -- --    - -- - --          --



Date: October 3, 2019
                                                                                                                              Signature


                                                       DECLARATION OF SERVICE BY MAIL
I declare that: I am over the age of 18 years and not a party to this case; I am employed in , or am a resident of the County
where the mailing took place; and my residence or business address is:
2801 B. St. Ste. 556
San Diego, CA 92102


I served the NOTICE OF PAYMENT OF ADVANCE JURY FEE by placing a true copy in separate envelopes addressed
to each addressee, respectively, as follows:                                                           ·
Fernando Kish
Office of County Counsel
1600 Pacific Highway, Ste. 355
San Diego, CA 92101

I then sealed each envelope and, with postage thereon fully prepaid, placed each for deposit in the United States Postal
Service, on the date shown below at (City and State) . : :S.=:a.:..:.
                                                                n-=D;.;.ie"'"'g""o:..1.,-=C:..:..A-'--- -- - -- - -- - - - -- - - -- -

1 declare under penalty of perjury, under the laws of the State of California, that the foregoing is true and correct.

Date: 10/3/2019

Michael Licari
Type or Print Name                                                                                                            Signature

SDSC CIV-105 (Rev 9/12)                         NOTICE OF PAYMENT OF ADVANCE JURY FEE


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               EXHIBIT “R”
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     THOMAS E. MONTGOMERY, County Counsel
     County of San Diego
2    By FERNANDO KISH, Senior Deputy (SBN 236961)
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 3   San Diego, California 92101-2469
     Telephone: (619) 531-4713
4    Exemptedfromjili11gfees per Gov't Coile §6103
 5   Attorneys for Defendants County of San Diego
 6

 7
 8                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                                   COUNTY OF SAN DIEGO
10
I1   JANE DOE, an Individual,                   )   No.37-2019-00020094-CU-CR-CTL
                                                )   Action Filed: April 2, 2019
12            Plaintiff:                        )   IMAGED FILE
                                                )
13            V.                                )   DEFENDANT COUNTY OF SAN DIEGO'S
                                                )   MEMORANDUM OF POINTS AND
14   COUNTY OF SAN DIEGO, a California          )   AUTHORITIES IN OPPOSITION TO
     Municipality; TIMOTHY WILSON, an           )   PLAINTIFF'S MOTION FOR LEAVE TO
15   individual; and DOES 1 through 10,         )   FILE SECOND AMENDED COMPLAINT
     inclusive                                  )
                                                    Date: November 8, 2019
                                                ~
16
              Delendants.                           Time: 8:30 a.m.
                                                    Dept: C-65
17
     _______________)                           )
                                                    ICJ: Ronald F. Frazier
18

19   Ill
20   Ill
21   Ill
22   Ill
23   Ill

24   Ill
25   Ill

26   Ill
27   Ill
28   Ill

            DEFENDANT COUNTY OF SAN DIEGO'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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                                                       I
 2                                           INTRODUCTION
 3          Timothy Wilson committed two crimes; sexual assault and illegally accessing
 4   confidential information from a law enforcement computer database. Wilson pied guilty to
 5   these crimes and was sentenced to jail. He also lost his job as a correctional officer with the San
 6   Di:go Sheriffs Department.
 7          Plaintiff wishes to hold the County of San Diego financially responsible for Wilson's
 8   crimes. However, the law does not allow for County liability because Wilson's crimes were an
 9   outgrowth of his own personal motivation and unrelated to any obligation as a correctional
10   officer. Plaintiff concedes that Wilson perpetrated the sexual assault while off-duty and case
I1   law makes clear that his unlawful access of the law enforcement database did not occur within
12   the course and scope or his employment. Plaintiff's common law claims are expressly not
13   permitted against the County. a point that Plaintiff repeatedly accepts in her motion to amend.
14   But. inexplicably, Plaintiffs proposed amended pleading retains all of her impermissible
15   common law claims. Plaintiff attempts to save her lawsuit against the County by adding federal
16   civil rights accusations. However, such claims are also barred as a matter of law because the
17   County had no policy that directed Wilson to commit his crimes and Plaintiff does not have any
18   constitutionally protected property interest in the information illegally accessed.
19          There are no allegations that are capable of curing these pleading deficiencies. No matter
20   what theory Plaintiff advances, she cannot hold the County liable for Wilson's personally
21   motivated crimes. In short, Plaintiffs motion to amend 1m;1st be denied as futile.
22                                                    II
23                           SUMMARY OF PLAINTIFF' S ALLEGATIONS

24          Timothy Wilson sexually assaulted the Plaintiff at a Panda Express in Vista, CA on
     March 21.2018. Pltf s Proposed Second Amended Complaint (":Proposed SAC"),~ 8. ··Wilson

26   was off-duty at the time of the sexual assault.'' Pltf s Motion to Amend, 3:6. The San Diego
27   Sheriffs Department opened and investigation into the sexual assault. Pltf s Proposed SAC, i_'

28   9. Wilson worked as deputy at the Vista jail. Id. at 4 12. Wilson was not part of the team that
                                                           1
         DEFENDANT COUNTY OF SAN DIEGO'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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       investigated Plaintiffs sexual assault. Id. However, Wilson accessed the investigative file
   2   multiple times. Id. at il 12. The Sheriffs Department arrested Wilson on May 18, 2019. Id. at 1'
  3     I 0. At no time prior to his arrest did anyone from the Sheriffs Department realize that Wilson
  4    had accessed Plaintiffs investigation file. Id. at ~ I 5 and 17. Wilson pied guilty to a lewd act
  5    on a minor and illegally accessing the investigation file. Id. at ,i 11. He was sentenced to one
  6    year in jail, five years probation, and required to register as a sex offender. Id.
  7               Plaintiffs proposed Second Amended Complaint contains a total of eight causes of
  8    action. Plaintiff names the County of San Diego as a Defendant in six of those claims. Those
  9    six claims are for injunctive relief, negligence, invasion of privacy, negligent
IO     supervision/training, 42 U.S.C § 1983 (Monell), 42 U.S.C. § 1983 (state created danger).
11                                                         Ill
12                                              STATEMENT OF LAW
13     A.         The Court Has Discretion To Denv Leave To Amend When The Proposed Pleading Fails
                  To State A Cause of Action.
14

15                ··section 473 of the Code of Civil Procedure provides in part that the court may in its
16     discretion. after notice to the adverse party, allow a party to amend any pleading. loser v. E. R.
17     Bacon Co., 201 Cal.App.2d 387, 389-390 (I 962) [citing Civ. Proc. Code§ 4 73, subd. (a)]. The
18     motion for leave to amend must be supported by appropriate affidavits explaining the purpose
19     and need for the amendment, and the reason for failure to raise the issues earlier .... ' 1 loser,
20     201 Cal.App.2d at 390; see also Cal. Rules of Court, rule 3.1324.
21             The court may allow amendment of a pleading ain furtherance of justice." Civ. Proc.
22     Code   ~   4 73. subd. (a)( I). Absent a showing of prejudice, such amendments are generally
,_.,
 ...
       liberally .ii lowed. Hujfv. Wilkins, 138 Cal.App.4th 732, 746 (2006). However, "[i]t is of course
24     proper to deny leave when the proposed amendment or amended pleading is insufficient to state
       a cause ofaction or defense.'' Congleton v. Nat'! Union Fire Ins. Co., 189 Cal.App.3d 51 : 62
26     (Ct. App. 1987) (emphasis in original); see also Hu.ff, 138 Cal. App. 4th at 746 e·Leave to
27     amend is properly denied when the facts are undisputed and as a substantive matter no liability
28     exists under the plainti rr s new theory.'')
                                                                 2
             DEFENDANT COUNTY OF SAN DIEGO'S MEMORANDUM OF POINTS AND AUTHORITIES IN
            OPPOSITION TO PLAINTIFF'S MOTION FOR LEAVE TO FILE SECOND AMENDED COMPLAINT
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       B.      The Pleading Standards Against A Public Entity Are Enhanced And Not Subject To The
               Tvpical Liberal Standard.
 2
 3             There are enhanced requirements for pleadings directed at public entities, such as the
 4     County of San Diego. First, a complaint for injuries against a public entity must derive from a
 5     statutory basis. Cal. Gov't. Code§ 815; see also Becerra v. County ofSanta Cruz, 68
 6     Cal.App.4th 1450, 1457 (1998) ["[A]II government tort liability must be based on statute."].
 7     Except as otherwise provided by statute, ""[a] public entity is not liable for injury, whether such
 8     injury arises out of an act or omission of the public entity or public employee or any other
 9     person." Cal. Gov't. Code§ 8 I 5(a). Second, a claim against a public entity must plead all the
IO     facts essential to establishing a cause of action with specificity. Susman v. City ofLos Angeles~
II     269 Cal.App.2d 803, 809 ( 1969). Thus, every fact essential to the existence of statutory liability
12     must be pleaded. Id.
13                                                       IV
14                                                 ARGUMENT
15     A.      Plaintiffs Proposed Second Amended Complaint Is Futile Because The Government
               Claims Act Precludes Any Common Law Causes Of Action Against The County.
16
17             Under the Government Claims Act (sometimes referred to as '"California Tort Claims
18     AcC), ..a public entity is not liable for injury arising from an act or omission except as provided
19     by statute:· Creason v. Department ofHealth Services, 18 Cal.4th 623, 630-31 (1998) (citing

20     Cal. Gov't. Code § 81 S(a)). Thus, in California, ·"all government tort liability must be based on
21     statute.'' Lopez v. Southern California Rapid Transit Dist., 40 Cal.3d 780, 785, fn. 2 (1985).
22     "'In the absence of a constitutional requirement, public entities may be held liable only if a
_.,
?"'    statute ... is found declaring them to be liable.'' County ofSacramento v. Superior Court, 8
24     Cal.3d 479. 481 (1972). As such, in order to state a cause of action for government tort liability,
?
_)-    every foct essential to the existence of the statutory liability must be alleged with particularity,
26     and all statutes imposing the liability must be identified. Searcy v. Hemet Unified Sc/tool
27     District, 177 Cal.App.3d 792, 802 (1986); Susman, 269 Cal.App.2d at 809.
28     II I
                                                              3
             DEFENDANT COUNTY OF SAN DIEGO'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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                 Government Code section 811.2 defines "public entity" to include any county or other
   2     political subdivision of the State of California. Cal. Gov't. Code§ 811.2. Thus, to state a valid
   3     claim against the County, Plaintiff must properly plead and identify a statutory basis for
   4     Iiability. See Hunsaker v. Borden, 5 Cal. 288. 290 ( 1855) ("A county is not a person in any

   5     sense--it is not a corporation. It cannot sue or be sued, except where specially permitted by
   6     statute ... :'); see also Tuthill v. City of San Buenaventura, 223 Cal.App.4th 1081, 1088 (2014)
   7     (--Section 815 abolished all common law or judicially declared forms of liability for public
   8     entities. except for such liability as may be required by the federal or state Constitution.").
   9             Here. Plaintiff recognizes that her common law claims against the County are not proper.
 10      According to Plainti   n: the purpose of the proposed amended complaint is to "remove any
11       reference to the County·s liability under California common law'· and her counsel determined "it
12       was prudent to remove any reference to the County's violations of California common law and
 13      that any such language would be susceptible to a motion to strike and/or demurrer." (Pltf s Mtn
14       to Amend, 9:27 and 10: 16-18.) The declaration of Plaintiffs attorney even states that changes
1S       to the proposed amended complaint included "remov[ing] any reference to the County being
16       liable under California common law." (Licari Deel., 1 7.) Despite repeatedly acknowledging
 17      that t:ommon law claims against the County are not permitted, Plaintiffs proposed Second
 18      Amended Complaint contains four common law claims against the County (injunctive relief,
19       negligence, invasion of privacy, and negligent supervision/training). Plaintiff fails to identify
20       any statute capable or imposing liability against the County for those claims. Each of those
21       claims are barred as a matter of law against the County. Allowing the Plaintiff to file her
22       Second Amended Complaint with those claims included is an exercise in futility and should not
,.,_.,   be permitted.
24       B.      Plaintiffs Nceligent sur,ervision/Training Claim Is Also Futile Because Such A Claim Is
                 Not Permitted Against t 1e County.

26              . Plaintiffs fitth proposed cause of action is for Negligent Supervision and/or Training.
27       However, negligent hiring. training, and supervision is not a cognizable statutory theory of
28       recovery against a public entity like the County. De Ville rs v. County. of San Diego, 156 Cal.
                                                             4
               DEFENDANT COUNTY OF SAN DIEGO'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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       App. 4th 238,253,256 (2007); Searcy, l 77 Cal.App.3d at 802; Cal. Gov't Code§ 815(a).
 2     ·'[T]here is no statutory basis for declaring a governmental entity liable for negligence in its
 3     hiring and supervision practices and, accordingly, plaintiffs' claim against County based on that
 4     theory is barred." De Villers, l 56 Cal.App.4th at 253. Thus, a "direct claim against a
 5     governmental entity asserting negligent hiring and supervision, when not grounded in the breach
 6     of a statutorily imposed duty owed by the entity to the injured party, may not be maintained.' 1

 7     Id. at 255-256; see also Shoval v. Sobzak, 2009 WL 2780 I 55, at *4 (S.D. Cal. Aug. 31, 2009)
 8     ("·California courts have repeatedly held that there is no statutory basis for direct claims against
 9     a public entity for negligent hiring and supervision practices," citing De Villers, supra.)
10     C.      Plaintiff's Claim for Injunctive Relief Is Also Barred Because (I) It Is Not A Cause of
               Action and (2) There ls No Prospective Threat of Harm to Plaintiff.
II
12             --An injunction is a writ or order requiring a person to refrain from a particular act. It
l3     rn..iy be granted by the court in which the action is brought, or by a judge thereof; and when

14     granted by a judge. it m_ay be enforced as an order of the court." Civ. Proc. Code§ 525. Relief
15     by injunction is an extraordinary remedy to be used with great caution. McRae v. Superior
16     Court for Los Angeles County, 22 I Cal.App.2d 166, 173 (Ct. App. 1963). Injunction is a

17     remedy. not a cause of action. Shell Oil Co. v. Richter, 52 Cal.App.2d 164, 168 (1942)
18     ("'Injunctive relief is a remedy and not. in itselt: a cause of action"). To state a claim where
19     injunctive relief can be awarded, Plaintiff must plead the tort or other wrongful act constituting
20     the cause of action ai:id facts showing the inadequacy of the remedy at law. Elements of Cause
2l     or Action., 5 Witkin, Cal. Proc. 5th Plead § 823 (2008).    Plaintiff proposed Second Amended
22     Complaint does not satisfy this requirement.
_.,
?"             Moreover, an injunction serves to prevent (uture injury and is not applicable to wrongs
24     that have been ·completed. An injunction is authorized only when it appears that wrongful acts
25     arc likely to recur. Russell v. Douvan, 112 Cal.App.4th 399, 402 (2003). Plaintiffs proposed

26     Second Amended Complaint does not allege any facts to suggest an unauthorized intrusion into
27     her file is likely to reoccur. Plaintiff makes no allegation that Wilson is still employed by the

28     Sheri ff s Department. [n fact. Plaintiff alleges that Wilson pleaded guilty and was sentenced to
                                                            5
             DEFENDANT COUNTY OF SAN DIEGO'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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          jail. Pltfs Proposed SAC, 1111-12. Thus, any unauthorized access to her file by Wilson is not
   2      possible. Plaintiff does not have standing to seek relief for the potential unauthorized access to
   3      files   or others.
   4      b.        The County Cannot Be Held Vicariously Liable for Wilson's Alleged Wrongdoing
                    Because He Was Not ActinQ. In The Course And Scope of His Employment.
   5
   6                Plaintiff acc4ses Wilson of improperly touching her and improperly accessing the file
   7      investigating·the touching. Plaintiff concedes that Wilson was not acting within the course and
   8      scope of his employment when he sexually assaulted the Plaintiff. See Pltfs Mtn to Amend, 3:6
   9      (Plaintiff acknowledges that ;'Wilson was off-duty at the time of the sexual assault.'"). However,
10        Plaintiff argues that Wilson ·'was acting within the course and scope of his employment when he
II        illegally accessed [plaintiffs] criminal investigation file." Id at 3 :6-7. Plaintiff is incorrect.
12                  In Pen:v v. County of Fresno, 215 Cal.App.4th 94 (2013 ), the court considered the scope

13        or employment question in circumstances nearly identical to this case. Specifically, the Per,y
14        plainli IT alleged that the County was liable for damages caused by the County's employee, a
15        correctional officer, who accessed confidential jail records to intimidate the plaintiff. Id. at 97.
16        Plaintiff a:;serted claims for invasion of privacy and civil rights violations. Id. at 100. The
17        correctional officer was terminated from his employment with the County and was convicted,
18        inter al ia. for violation of California Penal Code Section 502(c)(2) ( felony unauthorized use of

19        computer data). Id.
20                  Plaintiff had previously sued the correctional officer for a non-work related auto accident.
21        The correctional officer used the information he illegally obtained from jail records to intimidate

22        p\aint i ff into dropping that auto accident lawsuit. The court deemed this a purely personal
_
'J..,_,   endeavor unrelated to any of the correctional officer' s employment responsibilities. As such,
24        the correctional officer's alleged "wrongful tort was outside the scope of his employment." Id at
          102.
26                  The court ruled the correctional officer was not ac_ting within the course and scope of his

27        employment even though his employment gave him access to the jail information. Id at 98. In

28        reaching this decision, the court reasoned respondeat superior liability requires more that
                                                                6
                DEFENDANT COUNTY OF SAN DIEGO'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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         showing that employment as correctional officer gave him access to information to carry out
  2      criminal conduct. Id at I 02.
   ..,
  .)
                 The tort in this case is not simply the improper use of information obtained from
                 the County's computer system, but the use of that information by [correctional
  4              officer] for illegal personal pur,,oses. The law is clear that an employer is not
                 strictly liable for all actions of its employees during working hours. (Farmers Ins.
  5              Group v. County ofSanta Clara (1995) 11 Cal.4th 992, I 004, 4 7 Cal.Rptr.2d 478,
                 906 P.2d 440 (Farmers).) . .. "That the employment brought tortfeasor and victim
  6              together in time and place is not enou~h." (Id. at p. 298, 48 Cal.Rptr.2d 510, 907
                 P.2d 358.) ·' '[B]ut for ' n causation is insufficient. (Id.)
  7

   8     /dat IOI.
  9              Just like in PenJ', Plaintiff here alleges invasion of privacy and civil rights violations.
10       Just like the correctional officer in Peny, Wilson lost his employment with the County and was
II       convicted. inter alia, for violation of California Penal Code Section 502(c)(2) (felony
12       unauthorized use of computer data). Most importantly, pursuant to PerlJ', Wilson's crimes were
13       .a purely personal endeavor unrelated to any of his job duties as a correctional officer. Plaintiff
14       acknowledges that "Wilson was not part of the investigative team for [plaintiffs] case nor does
15       he conduct investigations of any kind and certainly not sexual assault investigations of minors."
16       (Pltf s Proposed SAC.~· 12.) In other words, Wilson had no job-related purpose to access the
17       investigation file. He did so strictly out of his own personal, criminal motivation. The Peny
18       holding on this point is controlling and conclusive- such conduct is outside the scope of
19       employment as a matter of law. As such, there is no valid basis for County liability on any of
20       Plaintiffs state law claims.

21       E.      Plaintiffs Civil Rights Claims Against County Are Also Futile Because Plaintiffs
                 Constitutional Rights Were Not Violated.
22
_.,
')..,
                 A prerequisite to any municipal civil rights claim is proof that a municipal employee
24       violated at least one of the plaintiffs constitutional rights. Forrester v. City of
         San Diego, 25 F.3d 804, 808 (9th Cir. 1994); Los Angeles v. Heller (..Heller'·), 475 U.S. 796,

26       799 (1986) ("If a person has suffered no constitutional injury at the hands of the individual
27       police officer. the fact that the departmental regulations might have authorized the use of

28       constitutionally excessive force is quite beside the point.") (emphasis in original). In other
                                                              7
               DEFENDANT COUNTY OF SAN DIEGO'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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        words. if no violation occurred, the.municipal civil rights claim is moot. Forrester, 25 F.3d at
    2   808; Heller. 475 U.S. at 799; see also LowlJ' v. City ofSan Diego, 858 F.3d 1248, 1260
 3      (Because the use of the pol_ice cani_ne to find and bite the plaintiff did not violate the
 4 · constitution, plaintiff cannot establish liability on the part of the entity.)
    5          One mandatory prerequisite for a Section 1983 claim is that the defendant acted ··under
 6      color ol'state lmv." Gibson v. United States, 781 F.2d 1334, 1338 (9th Cir. 1986) "Ifa
    7   government officer does not act within his scope of employment or under color of state law,
    8   then that government officer acts as a private citizen." Van Ort v. Estate ofStanewich, 92 F.3d
 9      831. 835 (9th Cir. 1996) (There is no constitutional right to be free from a police officer's
10      deprivation of rights when that officer acts in his/her private capacity.) "'[A]cts committed by a
II      police officer even while on duty and in uniform are not under color of state law unless they are
12      in some way related to the performance of police duties." Van Ort, 92 F.3d at 838 ("Thus, acts
13      or ol'ficers in the ambit of their personal pursuits are plainly excluded" from the definition of
14      "under the color of law").

15             llcre. Wilson sexually assaulted Plaintiff while he was off-duty. Plaintiff acknowledges
16      that Wilson, at the time of the assault, was not acting within the scope of his employment with
17      the Sheriff's Department. In other words, Wilson's sexual assault of the Plaintiff was a purely
18      personal endeavor by a private citizen. Pursuant to the holding in Van Ort, such conduct does
19      not constitute a violation of a constitutional right that is actionable under Section 1983.
20             As for the computer database, Plaintiff seems to suggest that Wilson was acting under

21      color of law when he unlawfully accessed it. Evei) ifwe assume that Wilson was acting "'under
n       color oflaw'· when he illegally accessed the investigation file, his conduct still did not violate
23      Plaintiffs constitutional rights. Specifically, Plaintiff does not have a constitutionally protected
24      property or liberty interest in the information Wilson illegally obtained. Wedges/Ledges of
        California, Inc. v. City ofPhoenix, Ariz., 24 FJd 56, 62 (9th Cir. 1994) C'A threshold

26      requirement to a substantive or procedural due process claim is the plaintiffs showing of a
27      liberty or property interest protected by the Constitution.'~) Even if Plaintiff has a legitimate
28      cxpec.tation of confidentiality in her investigation file, "such an expectation did not rise to the
                                                             8
            DEFENDANT COUNTY OF SAN DIEGO'S MEMORANDUM OF POINTS AND AUTHORITIES IN
           OPPOSITION TO PLAINTIFF'S MOTION FOR LEAVE TO FILE SECOND AMENDED COMPLAINT
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          level of a properly interest protected by federal procedural due process." Olivera v. Vizzusi,
     ')
          2011 WL 2366106, at *4 (E.D. Cal. June 9, 2011 ). Even if Wilson was acting under color of
     3    law when he illegally accessed the information in Plaintiffs investigation file, Plaintiff did not
     4    have a constitutionally protected property interest in that information. Thus, Plaintiff cannot

     5    establish that her constitutional rights were violated. Without a constitutional violation, plaintiff
     6    cannot proceed with her municipal civil rights claims against the County. Forrester, 25 F.3d at
     7    808.
     8    F.      Even if Plaintiff Could AlleE?.e A Constitutional Violation. Her Civil RiE?.hts Claims
                  AE?.ainst the Countv Would Still Be Barred By Law.
     9
                  l.     The County Cannot Be Vicariously Liable For Wilson's Alleged
 10                      Constitutional Violation.
 11               In § 1983 suits, municipalities cannot be held vicariously liable under a theory of
 12       respondeat superior. See Monell v. Dep't ofSoc. Servs. ofCity ofNew York. 436 U.S. 658, 691
13        ( 1978). In other words, a municipality is not liable --solely because it employs a tortfeasor." Bd.

14        ofCnty. Comm 'rs v. Brown, 520 U.S. 397,403 (1997). This limitation stems from the
15        ··language of§ 1983 itself," which •1cannot be easily read to impose liability vicariously.'~ Id.
16        (quotations omitted). Likewise, the legislative history of§ 1983 counsels against a permissive
17        policy of vicarious liability. See Pembaur v. Cincinnati, 475 U.S. 469,479 (1986).
18
                  2.     The County Did Not Have Any Policy Or Custom That Directed Wilson's
19                       Criminal Behavior.

20                A ..plaintiff seeking to impose liability on a municipality under§ 1983" is required "to
21        identi ly a municipal policy or custom that caused the plaintiffs injury.'' Himter'v. Cnty. of
22        Sacramenlo, 652 F.3d 1225, 1232- 33 (9th Cir. 2011) (citations and quotation marks omitted).
_.,...
')
          A policy is ..a deliberate choice to follow a course of action ... made from among various

24        alternatives by the official or officials responsible for .establishing final policy with respect to the
          subject matter in question.'' Fairley v. Luman, 281 F.3d 913,918 (9th Cir. 2002).
26                A custom, on the other hand, is an act "'that has not been formally approved by an
27        appropriate oecisionmakcr' 1 but may nonetheless "fairly subject a municipality to liability on the
28        theory that the relevant practice is so widespread as to have the-force of law." Hunter, 652 FJd
                                                               9
                DEFENDANT COUNTY OF SAN DIEGO'S MEMORANDUM OF POINTS AND AUTHORITIES IN
               OPPOSITION TO PLAl~TIFF'S MOTION FOR LEAVE TO FILE SECOND AMENDED COMPLAINT
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         at 1233 (quotations omitted). Liability for custom claims "'may not be predicated on isolated or
   ..,   sporadic incidents; it must be founded upon practices of sufficient duration, frequency and
   3     consistency that the conduct has become a traditional method of carrying out policy." Trevino
           '                                                                   .
  4      v. Gates~ 99 F.3d 9 I 1, 918 (9th Cir. 1996), modified on other grounds by Navarro v. Block, 2 50
   5     F.3d 729 (9th Cir. 200 I).
   6            In addition to identifying a policy or custom, Monell requires that the Plaintiff establish a
   7     ..causal link between the municipal action and the deprivation of federal rights." Bd. ofCty.
   8     Comm 'rs ofB1J1a11 Cty., Oki. v. Brown, 520 U.S. 397,404 (I 997). 'This inquiry has been
  9      described as a difficult one.'' See Koistra v. Cty. ofSan Diego, 310 F. Supp. 3d 1066, 1086
10       (S.D. Cal. 2018) (citing CityofCanto11, Ohio v. Harris, 489 U.S. 378, 385- 86 (1989)). The
11       alleged policy or custom must be the "moving force behind the constitutional violation." Oviall
12       v. Pearce, 954 F.2d 1470, 1474 (9th Cir. 1992).

13              Plaintiff criticizes the County for not restricting access to Plaintiffs investigation file
14       despite having the ability to do so. However, when that investigation started, there was no
15       reason to suspect that the perpetrator of the assault would be a Sheriffs employee. Pltfs
16       Proposed SAC, ,123 (.. there was no indication upon the reporting of this incident that there
17       would be a necessity to limit access by Department peace officers.") Once it was learned that
18       Wilson was involved, he was immediately arrested and taken into custody. Plaintiff herself
19       concedes that the County did not know about Wilson illegally accessing the infonnation prior to
20       his arrest. Id. at tJ l 5, 17 ("~At no time did anyone from the Sheriffs Department realize ... that
21       [Wilson] had accessed the investigative file ... prior to Deputy Wilson's arrest."). Any
22       suggestion that a County policy directed Wilson to comrnit his crimes is absurd and patently
23       false. Wilson violated the law not because a County policy directed him to; he broke the law
24       purely out of his own personal and private motivation. This is not the proper basis for a civil
,-_:,    rights claim against the County.
16              Plaintiff also seems to suggest the County had a custom or pattern of practice of allowing
27       access to their investigative files for non-legitimate purposes. Pltf s Proposed SAC, 1 56.
28       Plaintiff also suggests some deficiency in training resulted in the misconduct or even that the
                                                            10
             DEFENDANT COUNTY OF SAN DIEGO'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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            County ratified it. Id at 59-60. These allegations are made based on information and belief and
       'J   without any factual support. Id. at 56, 59-60. Plaintiff suggests this has happened before but
       3    fails to provide any factual support for these prior incidents. Allegations of a pattern of
                                                                                                         .
       4    constitutional violations, without findings of constitutional violations are insufficient to impose
       5    federal civil rights liability on a municipality for an alleged program failure. See Connick v.
       6    Thompson, 563 U.S. 51, 63 (2011) [With enough overturning of convictions due to Brady
       7    violations a district attorney could be on notice that staff had been inadequately trained.]
       8    Significantly. in discussing what is sufficient to establish a pattern of constitutional violations,
       9    the Supreme Court in Connick confined its fact analysis to prior judicial findings of improper
     10     conduct of which there were only four over a 10 year period, which the Court held was
     11     insufficient to establish a pattern of constitutional violations for Canton liability. Id. at 62.
     12            3.     There Is No Basis for State Created Danger Liability Ilecause The County
                          Wns Not Aware That \Vilson Was Illegally Accessing Plaintifrs Investigation
     13                   File.
     1-i           In this and in other jurisdictions, it is well established that public entities generally are not
     15     linble for failing to protect individuals against crime. Zelig v. County ofLos Angeles, 27 Cal.
y'   16     4th 1112. 1126 (2002). As the United States Supreme Court has concluded, generally "a State's
     17     failure to protect an individual against private violence simply does not constitute a violation of
     18     the Due Process Clause.." Id. at 1148 (quoting DeShaney v. Winnebago Cty. Soc. Servs.
     19     Depr., 489 U.S. 189, 195 ( 1989).) In order to establish a state creat~d exception to this rule of
     20     non:-li.ability ~ Plaintiff must '"plead facts showing some affirmative act on the part of the state
     .2.1   that either created a danger to the plaintiff or rendered him more v.ulnerable to an existing
     22     danger.~- Zelig, 27 Cal.4th at 1149. Further. " '[i]naction by the state in the face of a known
     23     danger is not en~ugh to trigger the obligation [to protect private citi~et).S from each other].' " Id.
     24            In this .case, Plaintiffalleges tliat the County's policy, which allowed Wil!mn to access
     ,-
     _:,    her investigative file. placed her in danger. Pltfs Proposed SAC,~ 63. However, Plaintiff
     26     specifically concedes that the County wijs not aware of any danger during the time he accessed
     27     the files. As stated.previously, the County did not know about Wilson illegally accessing the
     28     in fonn_ation prior to his a~rest. Id. at~ 15, 17 ("At no time did anyone from the Sheriffs
                                                                   11
                DEFENDANT COUNTY OF SAN DIEGO'S MEMORANDUM OF POINTS AND AUTHORITIES IN
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     Department realize ... that [Wilson] had accessed the investigative file ... prior to Deputy
 2   Wi Ison' s arrest."). As such, the state created danger theory has no application in this case.
 3                                                    V
 4                                             CONCLUSION
 5          Based upon the foregoing, Defendant County of San Diego respectfully requests this
 6   Court to deny plaintiffs motion for leave to amend.

 7   DATED: October 28, 2019                                           GOMERY, County Counsel
 8
 9                                              By:
                                                   F       NDO . I-I, Senior Deputy
10                                              Attorneys for Defendants County of San Diego
11

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         DEFENDANT COUNTY OF SAN DIEGO'S MEMORANDUM OF POINTS AND AUTHORITIES IN
        OPPOSITION TO PLAINTIFF'S MOTION FOR LEAVE TO FILE SECOND AMENDED COMPLAINT
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  Jane Doe v. County of San Diego, et al.
  San Diego Superior Court No.37-20 l 9-00020094-CU-CR-CTL



                                    Declaration of Service

        I, Yvonne Lopez, declare:

         That I am over the age of eighteen years and not a party to the case; I am
  employed in, or am a resident of, the County of San Diego, California where the service
  occurred: and my business address is: 1600 Pacific Highway, Room 355, San Diego,
  California.

        On October 28, 2019, I served the following document(s):
            •   DEFENDANT COUNTY OF SAN DIEGO'S MEMORANDUM OF
                POINTS AND AUTHORITIES IN OPPOSITION TO PLAINTIFF'S
                MOTION FOR LEA VE TO FILE SECOND AMENDED
                COMPLAINT
         in the following manner:

  D      By placing a copy in a separate envelope, with postage fully prepaid, for each
         addressee named below and depositing each in the U. S. Mail at San Diego,
         California.

  ~ Via One Legal eService: By submitting an electronic version of the document(s) to
  One Legal, LLC, through the user interface at www.onelegal.com

  {gJ    By emailing an electronic copy of the documents listed above to the following e-
         mail address:

         Michael Licari, Esq.
         SPRINKLE LLOYD & LICARI
         7801 Mission Court, Ste. 240
         San Diego, CA 92108
         (Attorneys for Plaintiff)

        I declare under penalty of per:jury that the foregoing is true and correct. Executed
  on October 28, 2019, at San Diego, California.




                                        EXHIBIT R
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               EXHIBIT “S”
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                      4
                           Attorney for Jane Doe
                      5

                      6                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      7                  FOR THE COUNTY OF SAN DIEGO – CENTRAL DISTRICT
                      8

                      9    JANE DOE, an Individual,                      Case No.: 37-2019-00020094-CU-CR-CTL
                 10                       Plaintiff,                     JANE DOE’S REPLY BRIEF ISO OF HER
                                                                         MOTION SEEKING LEAVE TO FILE A
                 11               v.                                     SECOND AMENDED COMPLAINT,
                                                                         DECLARATION OF MICHAEL LICARI,
                 12        COUNTY OF SAN DIEGO, a California             PROPOSED SECOND AMENDED
                           Municipality; TIMOTHY WILSON, an              COMPLAINT
                 13        individual; and ROES 1 through 10,
                           inclusive,                                    Judge: Hon. Ronald Frazier
                 14                                                      Dept: C-65
                 15                        Defendants.                   [IMAGE FILE]
                 16

                 17

                 18

                 19
                                              MEMORANDUM OF POINTS AND AUTHORITIES
                 20
                                                                I.   INTRODUCTION
                 21
                                 “I’m so young and he’s so old. What was he doing with pictures of me on the phone?” “If
                 22
                          I could do it over again, I would not have called the police.” This is a sample of Jane Doe’s
                 23
                          testimony that the County is trying to prevent by basically filing a Motion for Summary Judgment
                 24
                          in its opposition. As will be described throughout below, the Court must grant Jane Doe’s Motion
                 25
                          to File a Second Amended Complaint (“SAC”) because the substance of Jane Doe’s SAC meets
                 26
                          the minimum standards for pleadings when the Defendant is a municipality. To the extent that the
                 27
                          SAC contains procedural errors, Jane Doe puts forth suggested additions in response to the
                 28
S PRINKLE LLOYD       &
   LICARI , LLP                                                           1
 ATTO RNEY S AT LAW
     SAN DIEGO                                                   JANE DOE’S REPLY BRIEF ISO HER MOTION TO AMEND THE COMPLAINT

                                                             EXHIBIT S
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                      1   County’s concerns. Adopting the County’s substantive arguments however, would effectively

                      2   immunize law enforcement abuse of CLETS.1 This cannot happen and for these reasons, the

                      3   Court should grant Jane Doe’s motion and deem the proposed SAC attached with this reply filed.

                      4                                               II.    ARGUMENT

                      5   A. THE STANDARD FOR GRANTING A MOTION IS LIBERALLY CONSTRUED SO

                      6   THAT JUDGES ALMOST ALWAYS GRANT LEAVE TO AMEND

                      7              Courts should generally permit amendments to pleadings, as long as the statute of

                      8   limitations has not expired and the opposing party will not be prejudiced by the amendment from,

                      9   for example, a delay in the trial of the case, the loss of critical evidence, or added costs of trial

                 10       preparation. Harris v City of Santa Monica, (2013) 56 Cal. 4th 203, 240; Falcon v Long Beach

                 11       Genetics, Inc., (2014) 224 Cal.App. 4th 1263, 1280. A Plaintiffs motion to amend should be

                 12       denied only when the facts are undisputed and the nature of the plaintiff's claim is clear, but under

                 13       the substantive law, no liability exists and no amendment would change the result. See Beckwith v

                 14       Dahl, (2012) 205 Cal App. 4th 1039, 1059 (judge should have given plaintiff leave to amend

                 15       complaint to allege facts necessary to support newly recognized tort claim for intentional

                 16       interference with expected inheritance). When the adequacy of the proposed amended pleading is

                 17       merely unclear, however, the proper course of action is to permit the amendment, after which the

                 18       opposing party may test the sufficiency of the amended pleading by a demurrer or a motion for

                 19       judgment on the pleadings. Armenta ex rel. City of Burbank v. Mueller Co, (2006) 142 Cal. App.

                 20       4th 636, 643.

                 21       B. JANE DOE’s STATE TORT CLAIMS AGAINST THE COUNTY ARE ALL

                 22       GROUNDED IN STATUTE

                 23                  The County of San Diego (the “County”) incorrectly argues that Plaintiff’s state tort

                 24       claims are based on common law, when in fact, the Plaintiff’s state tort claims are all based on

                 25       statute.

                 26
                 27
                          1
                            California Law Enforcement Telecommunications System is the database used by law enforcement to store personal
                 28       information of private citizens.
S PRINKLE L LOYD &
    L ICARI LLP                                                                  2
 ATTO RNEY S AT LAW
     SAN DIEGO                                                        JANE DOE’S REPLY BRIEF ISO HER MOTION TO AMEND THE COMPLAINT

                                                                 EXHIBIT S
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                      1             a. Plaintiff’s negligence claim against the County is based on duties impressed upon law

                      2             enforcement by the California Constitution.

                      3             Article I, § 28 of the California Constitution (“Marsy’s Law”), also known as the

                      4   “California Victim’s Bill of Rights” requires that law enforcement “prevent the disclosure of

                      5   confidential information or records to the defendant, the defendant’s attorney, or any other person

                      6   acting on behalf of the defendant, which could be used to locate or harass the victim or the

                      7   victim’s family.”

                      8             While true that the SAC fails to cite the specific section of the State Constitution where

                      9   this duty derives, Jane Doe nonetheless referenced the California Constitution and properly

                 10       alleged the required duty and pled facts sufficient to meet each element of a negligence claim

                 11       against the County. Jane Doe will add Article I § 28 to the new proposed SAC attached with this

                 12       reply.2

                 13                 b. Plaintiff’s Cause of Action for Invasion of Privacy Cites a Specific Statute

                 14                 Contrary to the County’s claim, Jane Doe’s State Invasion of Privacy claim is based on a

                 15       violation of the Information Practices Act of 1977, which is codified in Cal. Civ. Code §1798.

                 16       The County violated section 1798.24 of the Information Practices Act. The proposed SAC has

                 17       been updated to include “et seq.” after Cal. Civ. Code 1798 in paragraph 36 of the SAC and also

                 18       add section 1798.24 as a specific section within the Information Practices Act.

                 19                 c. Jane Doe inadvertently left out a reference to the proper government code in her claim

                 20                 against the County for Negligent Hiring/Training/Supervising

                 21                 The County is correct that Jane Doe failed to reference a particular statute that it violated.

                 22       Municipalities however, can be held liable under sections 815.2 and 815.6 when a special

                 23       relationship exists between the law enforcement and the private citizen. Jane Doe will add

                 24       reference to the two Government Code sections to the proposed SAC.

                 25                 d. The SAC specifically states that the Injunctive Relief Claim is based on violations of

                 26       federal law.

                 27
                          2
                           Jane Doe had cited Article I section 28 in paragraph 21 of her First Amended Complaint but inadvertently left out
                 28       any reference to this section of the Constitution in the SAC.
S PRINKLE L LOYD &
    L ICARI LLP                                                                    3
 ATTO RNEY S AT LAW
     SAN DIEGO                                                          JANE DOE’S REPLY BRIEF ISO HER MOTION TO AMEND THE COMPLAINT

                                                                   EXHIBIT S
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                      1           The SAC ties the injunctive relief to the Fourth and Fourteenth Amendments for the basis

                      2   of her equitable claim in paragraph 21. Additionally, as described below infra, the injunction is

                      3   based on declaratory relief as well as the section 1983 claims.

                      4   C. JANE DOE CAN BRING AN ACTION AGAINST THE COUNTY FOR NEGLIGENT

                      5   SUPERVISION/TRAINING BECAUSE A SPECIAL RELATIONSHIP EXISTS

                      6   BETWEEN VICTIMS AND LAW ENFORCEMENT

                      7           The key element in bringing a claim under Government Code Section 815.2 for vicarious

                      8   liability for the acts of Defendant is the concept of “special relationship.” See C.A. v. William S.

                      9   Hart Union High School, (2012) 53 Cal. 4th 861. As a general rule, law enforcement officers and

                 10       therefore the public entity that employs them do not owe a duty of care to protect members of the

                 11       public. See Williams v. State of California, (1983) 34 Cal. 3d 18, 24. It has been recognized by

                 12       the California Supreme Court however, that a special relationship can be formed through

                 13       interactions between government agencies and employees so that a duty exists to protect certain

                 14       individuals in various circumstances. William S. Hart Union High School, 53 Cal. 4th at 869-870.

                 15               In William S. Hart, the Supreme Court explained that a special relationship exists between

                 16       school officials and their minor students by virtue of a mandatory attendance policy and

                 17       “comprehensive control over students exercised by school personnel.” Id. at 869. The High Court

                 18       further explained that such a special relationship imposes a duty on the government employee to

                 19       use reasonable measures, in that case to protect students from foreseeable injury at the hands of

                 20       third parties acting negligently or intentionally. Id. at 870. The County’s case law, de Villers v.

                 21       County of San Diego did not involve a special relationship between the Plaintiff and Defendant.

                 22       (2007) 156 Cal. App.4th 238, 249. (also acknowledging that the government entity may be liable

                 23       if a special relationship exists).

                 24               Here, like in William S. Hart, the San Diego Sheriff’s Department created a special

                 25       relationship with Jane Doe by investigating her claim of sexual assault, storing her private

                 26       information on its database and then had a duty and an obligation under Marsy’s Law to keep her

                 27       information private. The County’s failure to do so is the basis for a claim under Government

                 28       Code sections 815.2 and 815.6.
S PRINKLE L LOYD &
    L ICARI LLP                                                             4
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     SAN DIEGO                                                     JANE DOE’S REPLY BRIEF ISO HER MOTION TO AMEND THE COMPLAINT

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                      1          The provisions in Marsy’s Law clearly evidence an intent that the Sheriff’s Department

                      2   (or any other law enforcement agency) have a responsibility to take reasonable measures to

                      3   protect the privacy of victims of sexual assault, especially a minor. There was no need for Deputy

                      4   Wilson to have access to Jane Doe’s information as he was not an investigator on the case.

                      5   D. JANE DOE’S CAUSE OF ACTION SEEKING AN INJUNCTION IS PROPER

                      6          Defendant argues that Plaintiff’s first cause of action is barred because injunctive relief,

                      7   standing alone, is not a cause of action. However, Plaintiff misreads the first cause of action.

                      8   While seeking injunctive relief, the first cause of action primarily seeks declaratory relief for

                      9   violations of Plaintiff’s privacy rights and seeks to enjoin the same. To properly plead declaratory

                 10       relief, a Plaintiff must demonstrate two essential elements: (1) a proper subject of declaratory

                 11       relief, and (2) an actual controversy involving justiciable questions relating to the Plaintiff’s

                 12       rights or obligations, both of which are clearly met in the proposed SAC. Stonehouse Homes v.

                 13       City of Sierra Madre (2008) 167. Cal.App.4th 531, 539; Cal. Code Civ. Proc., § 1060.

                 14              Although the first cause of action does not seek declaratory relief by name, “the gravamen

                 15       or essential nature of a cause of action is determined by the primary right alleged to have been

                 16       violated, not by the remedy sought.” McDowell v. Watson, (1160) 59 Cal.App.4th 1155, 1160

                 17       (internal citation omitted) (emphasis added). In similar instances, Courts have held that a cause of

                 18       action seeking injunctive and declaratory relief is a permissible cause of action. See De Lancie v.

                 19       Superior Court (1982) 31 Cal.3d 865. To alleviate any concern however, Jane Doe modified the

                 20       SAC to change the heading of the First Cause of Action to “Declaratory Relief.”

                 21              Lastly, Plaintiff’s argument that no future harm is possible because Defendant fired

                 22       Wilson must also fail. Plaintiff alleges a probable future controversy relating to the legal rights

                 23       and duties of the parties exists because non-essential San Diego County employees still have

                 24       access to Plaintiff’s private information which remain on the San Diego County servers. (SAC, ¶¶

                 25       22-26). Although the Defendant fired Wilson, non-essential employees – including Wilson’s

                 26       colleagues – continue to have access to Plaintiff’s private information.

                 27              Because the gravamen of Plaintiff’s first cause of action properly seeks to determine the

                 28       rights and duties of the parties as they relate to Plaintiff’s privacy rights, and because the
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                      1   Complaint alleges a probability of future harm, Plaintiff has properly plead the first cause of

                      2   action for declaratory and injunctive relief.3

                      3   E. JANE DOE MADE ONLY MINOR CHANGES TO THE STATE INVASION OF

                      4   PRIVACY CLAIM, THUS THE COURT MAY ONLY DENY THE AMENDMENT

                      5              Jane Doe’s Invasion of Privacy claim was only slightly amended. Given that the proposed

                      6   amendment as to the Invasion of Privacy claim was not substantively altered, attacking the

                      7   pleadings here in the County’s opposition is improper. The court is limited to denying the

                      8   amendment as to the Invasion of Privacy cause of action and the County can later address its

                      9   concerns in demurrer and or a motion for summary judgment. Striking an entire cause of action

                 10       here would be improper.

                 11       F. THE UNAUTHORIZED ACCESS OF JANE DOE’S CRIMINAL INVESTGATIVE

                 12       FILE AND THE SUBSEQUENT TAKING OF HER PRIVATE INFORMATION WERE

                 13       CONSTITUTIONAL VIOLATIONS.

                 14                  To succeed on a section 1983 claim for invasion of privacy against Deputy Wilson, a

                 15       Plaintiff need only demonstrate that “1) the action occurred under color of state law and 2) the

                 16       action resulted in a deprivation of a constitutional right or a federal statutory right.” Parratt v.

                 17       Taylor, 451 U.S. 527, 535 (1981). “The purpose of § 1983 is to deter state actors from using the

                 18       badge of their authority to deprive individuals of their federally guaranteed rights.” McDade v.

                 19       West, 223 F.3d 1135, 1139 (9th Cir. 2000); See Wyatt v. Cole, (1992) 504 U.S. 158, 161. “The

                 20       traditional definition of acting under color of state law requires that the defendant in a § 1983

                 21       action have exercised power ‘possessed by virtue of state law and made possible only because the

                 22       wrongdoer is clothed with the authority of state law.’” Id. at 1140 quoting West v. Atkins, (1988)

                 23       487 U.S. 42, 48.

                 24                  The 9th Circuit held that a District Attorney employee who illegally accessed a County

                 25       medical database to find information on her husbands’ ex-wife was acting under the color of state

                 26       law. McDade, 223 F.3d at 1141. The Court reasoned that the County authorized the employee to

                 27       access the database as part of her official duties, using a password and a computer provided by

                 28       3
                              Jane Doe nevertheless made minor changes to the First Cause of Action in the proposed SAC.
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                      1   the County and doing so during normal working hours. Id. at 1140. The 9th Circuit drew a straight

                      2   line through the offender’s status as an employee at the District Attorney’s Office, her access to

                      3   the database and her egregious misuse of the confidential information in its analysis. Id.

                      4          Like the District Attorney employee in McDade, Deputy Wilson was employed by the

                      5   County, was given access to CLETS by the County and presumably accessed Jane Doe’s

                      6   information and photographs on County computers during regular work hours. For these reasons,

                      7   it is indisputable that Deputy Wilson was acting under the color of law when he viewed and

                      8   removed Jane Doe’s information from the County CLETS system.

                      9          As to the second prong, the County argues that Jane Doe “does not have a constitutionally

                 10       protected property or liberty interest in the information Wilson illegally obtained” but fails to cite

                 11       a single case that supports this notion. County Opposition p. 8 ln. 23-24. Olivera was an

                 12       unpublished case that should not have been cited [CRC 8.1115], but involved the disclosure of a

                 13       police officer’s employment record to other members of his former department. Olivera v.

                 14       Vizzusi,2011 WL 2366106, at *4 (E.D. Cal. June 9, 2011). Wedges involved the City of Phoenix,

                 15       Arizona’s decision to revoke licenses to distribute an arcade game throughout the City and had

                 16       nothing related to the disclosure of private information of a citizen by a government agency.

                 17       Wedges/Ledges of Cal., Inc. v. City of Phoenix, 24 F.3d 56, 62 (9th Cir.1994). Lastly, Forrester

                 18       [Forrester v. City of San Diego, 25 F.3d 804 (9th Cir. 1994)] and Heller [Los Angeles v. Heller,

                 19       475 U.S. 796 (1986)] involved excessive force by law enforcement.

                 20              The Courts have recognized a bona fide constitutionally protected right to privacy in

                 21       circumstances where the government maintains certain information of private citizens –

                 22       “informational privacy.” In re Crawford, 194 F.3d 954, 958 (9th Cir. 1999) citing Doe v. City of

                 23       New York, 15 F.3d 264, 267 (2d Cir.1994) (“there is . . . a constitutional right to privacy in

                 24       personal information.”) In Crawford, the 9th Circuit citing Doe explained that the right to

                 25       informational privacy was not absolute, and that an individual’s privacy rights could be infringed

                 26       by the government’s showing of a proper interest to justify disclosure. Id. at 959. The Court stated

                 27       that the relevant question in each case is whether the government can meet its burden by showing

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                      1   that “its use of the information would advance a legitimate state interest and that its actions are

                      2   narrowly tailored to meet the legitimate interest.” Id.

                      3          First and foremost, paragraph 14 of the SAC lists several pieces of information that

                      4   Deputy Wilson viewed and removed from the CLETS system, but the list was not exhaustive.

                      5   What information Deputy Wilson specifically took from CLETS is an open, factual question and

                      6   thus, dismissal of this cause of action at the current stage would be improper.

                      7          Setting aside the factual questions for a moment, the County cannot argue that Deputy

                      8   Wilson’s taking of Jane Doe’s private and confidential information served any legitimate

                      9   government purpose whatsoever. Further, federal law protects victim’s privacy, bestowing a duty

                 10       on law enforcement to ensure that privacy is maintained, thus limiting disclosure of victim’s

                 11       information in nearly all circumstances. 18 U.S.C. §3771(a)(8); see also 18 U.S.C. § 3509(d)(e)

                 12       (extensive procedure to protect identity and well-being of child victims); 5 U.S.C. § 552. In its

                 13       opposition, the County makes no effort to demonstrate that Wilson’s actions served some

                 14       legitimate purpose. Because Wilson clearly acted under the color of state law and Jane Doe’s

                 15       information was constitutionally protected, the cause of action for section 1983 claim is properly

                 16       pled and the motion should be granted.

                 17       G. JANE DOE’S MONNELL CLAIM IS PROPERLY PLED

                 18              Jane Doe also brought a claim against the County under Monell v. City of New York, 436

                 19       U.S. 659 (1978), whereby municipalities may be held liable for constitutional deprivations

                 20       pursuant to governmental custom. In order to establish liability under Monell, a plaintiff must

                 21       demonstrate: “(1) an express policy that causes a constitutional deprivation when enforced; (2) a

                 22       widespread practice that is so permanent and well-settled that it constitutes a custom or practice. .

                 23       . . Waters v. City of Chi., 580 F.3d 575, 581 (7th Cir. 2009).

                 24              It has been recognized that a local government body may be liable if it has a policy of

                 25       inaction and such inaction amounts to a failure to protect constitutional rights. Mortimer v. Baca,

                 26       594 F.3d 714, 716 (9th Cir. 2010) quoting Oviatt By & Through Waugh v. Pearce, 954 F.2d 1470,

                 27       1474 (9th Cir. 1992); see also Gant v. Cty. of L.A., 772 F.3d 608, 618 (9th Cir. 2014) (requiring a

                 28       plaintiff to show that the government’s “omission amounts to deliberate indifference”); Chew v.
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                      1   Gates, 27 F.3d 1432, 1439 (9th Cir. 1994) (distinguishing between the different theories

                      2   of Monell liability for officially sanctioned affirmative acts and for failure to train). Jane Doe’s

                      3   civil rights were deprived as a result of the Sheriff’s Department’s policy of creating no

                      4   restrictions nor oversight over access to the private information of victims of a crime, especially

                      5   sexual assault victims. Additionally, the County failed to properly train its employees on the

                      6   proper use of the CLETS system – both if proven true would be satisfy the Monell standard.

                      7            Jane Doe’s SAC articulates a clear-cut policy stated on the record by the San Diego

                      8   County Sheriff’s spokesperson that the County almost never imposes limitations on who may

                      9   access certain investigative files including when a minor sexual assault victim is involved.

                 10       Despite privacy concerns flooding news stories daily and despite the presence of serious

                 11       constitutional protections, the County’s policy of creating no restrictions on access to CLETS is a

                 12       gross indifference to the constitution and victim’s rights. At a minimum sex crime victim files,

                 13       especially those belonging to minors should be limited to a small universe of investigators and not

                 14       the entire Sheriff’s Department. After all, confidential and private information is no longer

                 15       confidential and private if 4,000 people can access the information.4

                 16                The County argues the SAC lacks specific facts that support Jane Doe’s allegations of

                 17       systematic abuse of CLETS by law enforcement. In 2017, the California Department of Justice

                 18       announced that there were 143 reports of CLETS abuse. David Maass and Aaron Mackey,

                 19       California's Sensitive Law Enforcement Databases Were Violated in 143 Cases Last Year,

                 20       Electronic Frontier Foundation, June 20, 2018, https://www.eff.org/deeplinks/2018/06/clets-

                 21       misuse-2017. This figure only includes those law enforcement officers who were caught and

                 22       worked for an agency that reported its figures to the DOJ. Id. In total, only 53% of law

                 23       enforcement agencies reported CLETS abuse to the DOJ, and thus the abuse is far more rampant

                 24       that indicated by these figures. San Diego County did not report its numbers in 2017. Id. Jane Doe

                 25       has added these statistics to the proposed SAC.

                 26
                 27
                          4
                           It is believed that the San Diego Police Department has a similar procedure and thus, there’s an additional 2,700
                 28       employees that have access to databases that contain confidential information.
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    L ICARI LLP                                                                     9
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     SAN DIEGO                                                           JANE DOE’S REPLY BRIEF ISO HER MOTION TO AMEND THE COMPLAINT

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                      1          The County relies on Connick suggesting that four incidents in a ten-year period were

                      2   insufficient to sustain a Monell claim, but here, the DOJ listed 143 reported incidences of abuse

                      3   in one year. See Connick v. Thompson, 563 U.S. 51, 63 (2011). The full breadth of the widespread

                      4   abuse is a factual question that requires expert testimony at a later date. Knowing, at least

                      5   superficially, of the extensive CLETS abuse throughout law enforcement, the County’s user

                      6   policy is nonsensical and frankly, dangerous. At a minimum, the County’s lack of oversight and

                      7   policing of CLETS is callous and reveals a grotesque indifference to minor victims who deserve

                      8   the utmost protection by law enforcement. Such an indifference to basic constitutional rights

                      9   illustrates why a 14-year-old girl would “not go to the police, if she could do it again.” This is the

                 10       type of scenario this lawsuit seeks to prevent in the future.

                 11       H. JANE DOE’S STATE CREATED DANGER CLAIM IS PROPERLY PLED.

                 12              “As a general rule, members of the public have no constitutional right to sue [public]

                 13       employees who fail to protect them against harm inflicted by third parties.” L.W. v. Grubbs, 974

                 14       F.2d 119, 121 (9th Cir. 1992) (citing DeShaney v. Winnebago Cty., Dep't of Soc. Servs., 489 U.S.

                 15       189, 197 (1989)). An exception to the rule applies when government employees “affirmatively

                 16       place the plaintiff in a position of danger, that is, where [their] action[s] create or expose[ ] an

                 17       individual to a danger which he or she would not have otherwise faced.” Kennedy v. City of

                 18       Ridgefield, 439 F.3d 1055, 1061 (9th Cir. 2006) (citing DeShaney, 489 U.S. at 197). The

                 19       affirmative act must create an actual, particularized danger, [id. at 1063], and the ultimate injury

                 20       to the plaintiffs must be foreseeable, Lawrence v. United States, 340 F.3d 952, 957 (9th Cir.

                 21       2003). The employees must have also acted with “deliberate indifference” to a “known or obvious

                 22       danger.” Patel v. Kent Sch. Dist., 648 F.3d 965, 974 (9th Cir. 2011).

                 23              The County cites Zelig to argue that the government has no liability when failing to

                 24       protect a private citizen from a third party. Zelig v. County of Los Angeles, 27 Cal. 4th 1112. 1126

                 25       (2002). Zeilig however, involved a police shooting inside the courthouse and the Court there did

                 26       not even address the State Created Danger Doctrine. While the County’s general premise here is

                 27       generally true, the State Created Danger Doctrine is the exception. Kennedy, 439 F.3d at 1061.

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                      1          Here, the County’s creation of a flawed policy that restricts no one from viewing a minor

                      2   sexual assault victim from viewing private, confidential information is the necessary affirmative

                      3   act that triggers liability against the County. Given that the Department of Justice found 143

                      4   reported instances of abuse in 2017, CLETS abuse by law enforcement employees was well-

                      5   known to the County, thus making Wilson’s unlawful access and taking of Jane Doe’s

                      6   information entirely foreseeable. Because CLETS abuse is well-known throughout the State of

                      7   California, the County’s decision to place zero restrictions on access to a minor victim’s file

                      8   shows a “deliberate indifference to a known danger.” Patel, 648 F.3d at 974. Jane Doe did

                      9   include the DOJ statistics in the SAC to better demonstrate foreseeability.

                 10       I. JANE DOE REQUESTS THAT THE COURT ALLOW THE CHANGES DESCRIBED

                 11       BELOW TO THE PROPOSED SECOND AMENDED COMPLAINT

                 12              In light of the County’s concerns raised in its opposition to Jane Doe’s motion to amend

                 13       the complaint, Jane Doe offers the following additions to the SAC below. A copy of the updated

                 14       SAC is attached to Michael Licari’s Declaration as Exhibit A.

                 15              The additions to the SAC are the following:

                 16          •   Changed “Injunctive Relief” to “Declaratory Relief” p. 4 ln. 17.

                 17          •    “An actual controversy has arisen and now exists between Jane Doe and the

                 18              County. A judicial determination of these issues and of the respective duties of Plaintiff

                 19              and Defendant is necessary and appropriate at this time under the circumstances to prevent

                 20              future constitutional violations against Jane Doe.” p. 4 ln. 21.

                 21          •   “under Article I section 28” p. 6 ln. 8.

                 22          •   “et. seq” and “specifically Cal. Civ. Code § 1798.24 and” p. 7 ln. 14.

                 23          •   “and subject the County to liability under Gov. Code § 815.2 and §815.6.” p. 9 ln 2.

                 24          •   “The California Department of Justice declared that it found 143 reported incidences of

                 25              database abuse by law enforcement of the CLETS database in 2017.” p. 10 ln. 28.

                 26          •   “Further demonstrating foreseeability, the California Department of Justice reported 143

                 27              known incidents where law enforcement was found to have used the CLETS database for

                 28              an improper purpose in 2017.” p. 11 ln. 17.
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    L ICARI LLP                                                             11
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                      1                                         III. CONCLUSION

                      2          Jane Doe respectfully requests that the Court grant her motion and deem the attached

                      3   proposed SAC to this reply filed.

                      4   DATED: November 1, 2019                           SPRINKLE LLOYD & LICARI LLP

                      5

                      6                                               By:
                                                                              Michael Licari
                      7                                                       Attorney for Jane Doe
                      8

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    L ICARI LLP                                                         12
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                      3   San Diego, CA 92108
                          Telephone: (858) 717-0013
                      4
                          Attorney for Jane Doe
                      5

                      6                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      7                FOR THE COUNTY OF SAN DIEGO – CENTRAL DISTRICT
                      8

                      9   JANE DOE, an Individual,                         Case No.: 37-2019-00020094-CU-CR-CTL
                 10                     Plaintiff,                         DECLARATION OF MICHAEL A. LICARI IN
                                                                           SUPPORT OF JANE DOE’S MOTION TO
                 11              v.                                        AMEND THE COMPLAINT
                 12       COUNTY OF SAN DIEGO, a California                Judge: Hon. Ronald Frazier
                          Municipality; TIMOTHY WILSON, an                 Dept: C-65
                 13       individual; and ROES 1 through 10,
                          inclusive,                                       [IMAGE FILE]
                 14
                                                                           Filed Concurrently with Jane Doe’s Reply Brief
                 15                      Defendants.
                 16

                 17

                 18

                 19
                                I, Michael Licari declare the following:
                 20
                            1. I am a California licensed attorney and in good standing with the California State Bar
                 21
                                Association. I am Jane Doe’s attorney of record and have personal knowledge of the
                 22
                                forgoing and could testify to the contents of this declaration if called upon to do so. This
                 23
                                declaration is given in support of Jane Doe’s motion to amend her complaint.
                 24
                            2. Exhibit A is a true and accurate copy of a second draft of the proposed Second Amended
                 25
                                Complaint, to be filed with the Court if the Court should grant Jane Doe’s motion. The
                 26
                                changes reflected in this Second Amended Complaint were done in addition to the
                 27
                                changes in the first version that was filed with Jane Doe’s Motion for leave to amend the
                 28
S PRINKLE LLOYD       &
   LICARI , LLP                                                            1
 ATTO RNEY S AT LAW
     SAN DIEGO                                                                                DECLARATION OF MICHAEL LICARI

                                                            EXHIBIT S
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                      1          Complaint. These changes are a direct response to concerns raised by the County in their

                      2          opposition.

                      3      3. The County will not be prejudiced by these amendments because the case is not yet at

                      4          issue, the case management conference has yet to occur and the trial date is not set.

                      5          Additionally, no discovery including depositions have taken place. The County will have

                      6          ample time to prepare a defense and these changes were minor if not immaterial.

                      7   I declare under penalty of perjury under the laws of the State of California that the forgoing is

                      8   true and correct.

                      9   DATED: October 31, 2019                         _____________________________________
                                                                          Michael A. Licari
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S PRINKLE L LOYD &
    L ICARI LLP                                                            2
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     SAN DIEGO                                                                                  DECLARATION OF MICHAEL LICARI

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                                Exhibit A



                                  EXHIBIT S
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                      5    Attorneys for Jane Doe
                      6

                      7

                      8                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      9                 FOR THE COUNTY OF SAN DIEGO – CENTRAL DISTRICT
                 10

                 11        JANE DOE, an Individual,                             Case No.: 37-2019-00020094-CU-CR-CTL
                 12                      Plaintiff,                        SECOND AMENDED COMPLAINT FOR:
                 13               v.                                       1)     DECLARATORY RELIEF
                 14                                                        2)     NEGLIGENCE
                           COUNTY OF SAN DIEGO, a California
                           Municipality; TIMOTHY WILSON, an                3)     INVASION OF PRIVACY
                 15        individual; and ROES 1 through 10,              4)     BATTERY
                           inclusive,                                      5)     NEGLIGENT SUPERVISION
                 16
                                         Defendants.                              AND/OR TRAINING
                 17                                                        6)     42 U.S.C. §1983 [Breach of Privacy]
                 18                                                        7)     42 U.S.C. §1983 [Monell]
                                                                           8)     42 U.S.C. §1983 [State Created Danger]
                 19                                                                 [Image File]
                 20                                                               Jury Trial Demanded

                 21              Plaintiff Jane Doe. alleges as follows:

                 22                                                   PARTIES

                 23       1. Plaintiff JANE DOE (“Jane Doe”) was a fourteen-year-old girl at the time that the events that

                 24          give rise to this Second Amended Complaint occurred and is resident of the County of San

                 25          Diego and in the State of California.

                 26       2. Sheriff’s Deputy Timothy Wilson (“Deputy Wilson”) was and is a resident of San Diego

                 27          County.

                 28       3. Jane Doe, Deputy Wilson and the County of San Diego may be collectively referred to as the
S PRINKLE L LOYD &
    L ICARI , LLP                                                          1
 ATTO RNEY S AT LAW
     SAN DIEGO                                  PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

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                      1      “Parties.”

                      2   4. Plaintiff is unaware of the true names and capacities, whether individual, corporate, associate

                      3      or otherwise, of those Defendants sued herein as Roes 1 through 10, inclusive, which Plaintiff

                      4      therefore sues by such fictitious names. Plaintiff is informed and believes that each of the

                      5      fictitiously named Defendants is in some way responsible and/or liable to Plaintiff as herein

                      6      alleged and caused the damage to Plaintiff as herein alleged. Plaintiff will amend this

                      7      Complaint to allege the true names and capacities and the responsibility and/or liability of

                      8      such fictitiously named Defendants when their identities have been ascertained.

                      9   5. Plaintiff is informed and believes, and on this basis alleges, that at all times herein mentioned,

                 10          Defendants sued herein as Roes 1 through 10, inclusive, and each of them, were acting as the

                 11          duly authorized agent, servant, representative, joint venturer, co-venturer, co-conspirator,

                 12          partner, employee, and/or alter ego of each of the remaining Defendants and with the

                 13          knowledge, permission, consent, ratification and/or for the benefit of each of said remaining

                 14          Defendants, and in doing the things herein mentioned, each of the Defendants named herein

                 15          was acting in the course and scope of such employment, agency, conspiracy and/or

                 16          representative capacity with the ratification and consent of the other Defendants , and acted in

                 17          concert with them.

                 18                                                     VENUE

                 19       6. Based on information and belief, venue is proper in the San Diego County Superior Court

                 20          because all acts that give rise to this Complaint occurred in the County of San Diego.

                 21                                           GENERAL ALLEGATIONS

                 22       7. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 23          contained above in paragraphs 1 through 6, inclusive, as though fully set forth herein.

                 24       8. On March 21, 2018 at a Panda Express in Vista, CA, Deputy Wilson approached Jane Doe

                 25          from behind, sexually assaulted her and quickly exited the Panda Express thereafter.

                 26       9. That same day, Jane Doe and her mother reported the incident to the San Diego County

                 27          Sherriff’s Department. The San Diego County Sheriff’s Department thereafter opened an

                 28          investigation into the matter.
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    L ICARI , LLP                                                           2
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                      1   10. The Sheriff’s Department arrested Deputy Wilson on May 18, 2018.

                      2   11. Deputy Wilson pled guilty to one count of committing a lewd act on a minor and two counts

                      3      of unlawfully taking computer data on October 3, 2018. Judge Goldstein sentenced Deputy

                      4      Wilson to one year in jail, five years’ probation, and he must register as a sex offender.

                      5   12. Prior to his arrest, Deputy Wilson used his unique position as an employee of the San Diego

                      6      County Sherriff’s department to access Jane Doe’s investigative file forty-four times from

                      7      March 21, 2018 until his arrest on May 18, 2018. Deputy Wilson worked for San Diego

                      8      County as a Sheriff’s Deputy in the local Vista jail. Deputy Wilson was not part of the

                      9      investigative team for Jane Doe’s case nor does he conduct investigations of any kind and

                 10          certainly not sexual assaults investigations of minors.

                 11       13. Based on information and belief, the Sheriff’s Department has the capability to limit access to

                 12          investigative files, does limit access in rare circumstances, but did not limit access of any kind

                 13          to Jane Doe’s sexual assault investigative file.

                 14       14. In the course of accessing Jane Doe’s file, Deputy Wilson downloaded photographs of Jane

                 15          Doe and sent them to his personal email account. In one instance, Deputy Wilson titled at

                 16          least one photograph, “White Pants” to describe Jane Doe. Deputy Wilson was also able to

                 17          learn Jane Doe’s name, address and cell phone number by gaining access to Jane Doe’s file,

                 18          as well as where Jane Doe attended school.

                 19       15. Based on information and belief, at no time did anyone from the Sheriff’s Department realize

                 20          nor did anyone find it unusual that a corrections officer at the local jail had accessed the

                 21          investigative file of a minor sexual assault victim’s case file forty-four times prior to Deputy

                 22          Wilson’s arrest. Based on information and belief, Deputy Wilson’s access of Jane Doe’s file

                 23          had no bearing whatsoever on his arrest.

                 24       16. The San Diego County Sheriff’s Department arrested Deputy Wilson because a San Diego

                 25          County employee identified Deputy Wilson in a video feed from the Panda Express security

                 26          footage that the local news outlets broadcasted as part of their story.

                 27       17. Once Jane Doe discovered that her assailant accessed her personal file, downloaded

                 28          photographs of her and knew where she lived, Jane Doe became extremely fearful for her life
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    L ICARI , LLP                                                          3
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                      1      and safety. Thereafter, Jane Doe, at times became depressed, sick, confused, irritable, and

                      2      experienced periods of isolation so much so, that she has sought medical treatment as a result

                      3      of knowing that her personal information was breached forty-four times by the individual who

                      4      sexually assaulted her and law enforcement never noticed. For example, Jane Doe has

                      5      preferred to isolate herself as opposed to socializing with friends and peers as she attempts to

                      6      process what has happened to her and why. Jane Doe lacks trust in adults now and becomes

                      7      quickly uncomfortable and nervous when an adult male makes eye contact with her in an

                      8      otherwise typical social interaction. Jane Doe’s ability to seek a relationship with the opposite

                      9      sex has also been impaired by the events in this case. Each of these unfortunate consequences

                 10          may have a long-lasting negative impact on Jane Doe’s long-term growth and social

                 11          development.

                 12       18. Jane Doe also changed schools because Deputy Wilson discovered where Jane Doe attended

                 13          school by accessing her case file.

                 14       19. Jane Doe submitted a claim with San Diego County as required by the California Govt. Code.

                 15          Section 900 et. seq. San Diego County rejected Jane Does’ claim and denied any

                 16          responsibility or liability on October 18, 2018.

                 17                                         FIRST CAUSE OF ACTION

                 18                             Declaratory Relief against the County of San Diego

                 19       20. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 20          contained above in paragraphs 1 through 19, inclusive, as though fully set forth herein.

                 21       21. The Fourth and Fourteenth Amendments not only create a reasonable expectation of privacy

                 22          for all United States Citizens, but the Fourteenth Amendment also requires municipalities

                 23          such as the County of San Diego to ensure that the actions of its employees do not endanger

                 24          U.S. citizens. The San Diego County Sheriff’s Department’s current policy regarding who

                 25          may access a criminal investigative files involving victims of crimes [including but not

                 26          limited to Jane Doe] violates the United States Constitution and specifically the Fourth and

                 27          Fourteenth Amendments and gives rise to claims for constitutional violations under 42 U.S.C.

                 28          § 1983. An actual controversy has arisen and now exists between Jane Doe and the County. A
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                      1      judicial determination of these issues and of the respective duties of Jane Doe and the County

                      2      is necessary and appropriate at this time under the circumstances to prevent future

                      3      constitutional violations against Jane Doe.

                      4   22. Based on information and belief, the San Diego County Sheriff grants access to all criminal

                      5      investigative files including cases involving minor sexual assault victims to all San Diego

                      6      County employees with few limited exceptions. The County’s policy regarding access to

                      7      investigative files is completely at odds with the United States Constitution’s requirements to

                      8      protect the victim reasonable expectation of privacy by ensuring that any private or

                      9      confidential information stay out of the hands of people such as the victim’s assailant.

                 10       23. San Diego County Sheriff spokesperson Lt. Karen Stubkjaer revealed that the department has

                 11          “the ability to limit access to certain investigatory files when necessary” and “there was no

                 12          indication upon the reporting of this incident that there would be a necessity to limit access by

                 13          Department peace officers.”

                 14       24. At least nine members of law enforcement in San Diego, five from the San Diego Police

                 15          Department and four San Diego County Sherriff’s Department employees have been arrested

                 16          on charges of sexual misconduct since 2005 and likely had access to the victim’s investigative

                 17          file and personal information. The number could be higher but the City and County of San

                 18          Diego do not track sexual misconduct complaints. The California Legislature passed Senate

                 19          Bill 1421 in 2018 and the bill took effect on January 1, 2019, which requires law enforcement

                 20          agencies to release information when an officer committed sexual assault, lied when reporting

                 21          a crime or in an investigation, or used force that caused a person serious harm or death. To

                 22          date, the San Diego County Sheriff’s department has released two such files: Deputy Wilson

                 23          and Deputy Juan Andrade.

                 24       25. Here, Deputy Wilson is but one example where the County granted access to a minor victim’s

                 25          sexual assault file to a nonessential employee who then unlawfully accessed the file and the

                 26          victim’s confidential information forty-four times. Of course, no one from the department

                 27          noticed that Deputy Wilson systematically and endlessly accessed Jane Doe’s file and emailed

                 28          the file to his personal email account, nor did the department take any steps to prevent Deputy
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                      1         Wilson’s continuous access of Jane Doe’s confidential file until his arrest.

                      2   26. Jane Doe seeks injunctive relief from this Court that forces the San Diego County Sherriff’s

                      3         Department to limit access to investigative files that involve victims to essential personnel

                      4         only so as to be in compliance with the United States Constitution. In seeking the injunction,

                      5         Jane Doe seeks to ensure that no one other than essential personnel can view, use and

                      6         appropriate Jane Doe’s and other similar minor victims’ confidential and private information

                      7         so as to comply with the Fourth and Fourteenth Amendments to the U.S. Constitution.

                      8                                      SECOND CAUSE OF ACTION

                      9                               Negligence against the County of San Diego

                 10       27. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 11             contained above in paragraphs 1 through 26, inclusive, as though fully set forth herein.

                 12       28. The California Constitution imposes certain duties under Article I section 28 on law

                 13             enforcement when law enforcement is investigating and prosecuting crimes that involve

                 14             victims. Among them are a duty to protect the privacy of an individual including but not

                 15             limited to the victim’s confidential information as described in paragraph twenty above.

                 16       29. Here, the San Diego County Sheriff’s Office breached its duties to Jane Doe by implementing

                 17             a system where nonessential employees including Deputy Wilson could access Jane Doe’s

                 18             underage sexual assault investigative files stored on computer software that contained

                 19             confidential and private information about Jane Doe forty-four times without preventing

                 20             further access.

                 21       30. It was entirely foreseeable that Jane Doe’s offender could be one of 4,000 San Diego County

                 22             employees because law enforcement employees in the Sherriff’s Office and the San Diego

                 23             County Police Department have been arrested, charged and/or convicted of crimes including

                 24             sexual assault on at least nine occasions since 2005.

                 25       31. The Sheriff’s Department’s breach of its duties to Jane Doe have caused Jane Doe serious

                 26             emotional distress and therefore, Jane Doe is entitled to compensation for her injuries in an

                 27             amount to be awarded at trial.

                 28       ///
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                      1                                    THIRD CAUSE OF ACTION

                      2                                Invasion of Privacy against All Parties

                      3   32. Plaintiff realleges and incorporates herein by this reference each and every allegation

                      4      contained above in paragraphs 1 through 31, inclusive, as though fully set forth herein.

                      5   33. As the victim of sexual assault, the California Constitution provides all victims of crime a

                      6      reasonable expectation of privacy regarding confidential information, identity, home address

                      7      and phone number.

                      8   34. Deputy Wilson intentionally intruded on Jane Doe’s privacy rights by using his position as a

                      9      Deputy with the San Diego County Sheriff’s Department and his access credentials given to

                 10          him by the San Diego County Sheriff’s Office to access Jane Doe’s private, confidential

                 11          information during normal business hours that the Department stored on its computer system

                 12          and server. Deputy Wilson then converted Jane Doe’s private, confidential information for his

                 13          own personal use including photographs of Jane Doe just weeks after Deputy Wilson sexually

                 14          assaulted Jane Doe. For these reasons, the San Diego County Sheriff’s Department is

                 15          vicariously liable for Deputy Wilson’s conduct.

                 16       35. Deputy Wilson’s conduct was within the scope of his employment when he committed his

                 17          tortious acts and thus, the County of San Diego is vicariously liable.

                 18       36. Deputy Wilson’s intrusion is not only highly offensive to a reasonable person, but also

                 19          violates California law under Civil Code section 1798 et. seq, specifically Cal. Civ. Code §

                 20          1798.24 and the California Constitution.

                 21       37. As a consequence of Deputy Wilson’s intrusion, Jane Doe was harmed as particularly

                 22          described in paragraphs sixteen and seventeen of this Complaint.

                 23                                       FOURTH CAUSE OF ACTION

                 24                                   Sexual Battery against Timothy Wilson

                 25       38. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 26          contained above in paragraphs 1 through 37, inclusive, as though fully set forth herein.

                 27       39. On March 21, 2018 at a Panda Express in Vista, CA, Deputy Wilson approached Jane Doe

                 28          from behind, sexually assaulted and battered her by grabbing Jane Doe in intimate areas on
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    L ICARI , LLP                                                          7
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                      1      her body without her consent.

                      2   40. The offensive and wrongfully touching was intentional and caused Jane Doe injuries and

                      3      damages in an amount to be awarded at trial.

                      4   41. The acts of Timothy Wilson, as alleged herein were willful, wanton, and malicious and were

                      5      intended to oppress and cause injury to Jane Doe. In light of the willful, wanton, malicious

                      6      and intentional conduct engaged in by Deputy Wilson, Jane Doe is entitled to an award of

                      7      punitive damages.

                      8                                     FIFTH CAUSE OF ACTION

                      9      Negligent Supervision and/or Training against the County of San Diego and Does 1-3

                 10       42. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 11          contained above in paragraphs 1 through 41, inclusive, as though fully set forth herein.

                 12       43. Plaintiff is informed and believes and based therefore alleges that the supervisors [Does1-3]

                 13          of Deputy Wilson had, and did exercise, supervisory authority over Deputy Wilson, while

                 14          engaged in, and required by, the course and scope of their employment during regular

                 15          business hours.

                 16       44. Plaintiff is informed and believes and based therefore alleges that Deputy Wilson’s

                 17          unauthorized use of the government databases was done during regular business hours, on an

                 18          ongoing basis throughout his tenure at the Sheriff’s Department and ostensibly while Deputy

                 19          Wilson was engaged in the course and scope of his employment and performing his required

                 20          official duties as a County Sheriff’s Deputy.

                 21       45. Plaintiff is informed and believes and based therefore alleges that the San Diego County

                 22          Sheriff’s Department and Deputy Wilson’s supervisors had actual and/or constructive

                 23          knowledge that Deputy Wilson was using the time and resources of the County, and to gather

                 24          information for the personal use of himself on a routine basis, and while acting as a county

                 25          deputy when logging in to these government databases.

                 26       46. Deputy Wilson’s continuous use of the government database for personal reasons made

                 27          Deputy Wilson unfit for his position as a Deputy Sheriff with the San Diego County Sheriff’s

                 28          Department.
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    L ICARI , LLP                                                            8
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                      1   47. Notwithstanding such knowledge, Deputy Wilson’s supervisors, and thus the County was

                      2      negligent, careless and failed to properly supervise, train and control Wilson as a Sheriff’s

                      3      Deputy. These failures enabled and allowed Deputy Wilson to access Jane Doe’s investigative

                      4      file forty-four times and download the file and email it to his personal email address all in

                      5      violation of Jane Doe’s rights as a victim and in violation of her right to privacy. A special

                      6      relationship exists between law enforcement and criminal sexual assault victims that creates a

                      7      duty owned by law enforcement to keep victim’s information confidential and private.

                      8   48. The supervisors’ failure to properly supervise, train and control Deputy Wilson were a

                      9      substantial cause of Jane Doe’s damages and subject the County to liability under Gov. Code

                 10          § 815.2 and §815.6.

                 11                                         SIXTH CAUSE OF ACTION

                 12                    Invasion of Privacy Under 42 U.S.C. § 1983 against Timothy Wilson

                 13       49. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 14          contained above in paragraphs 1 through 48, inclusive, as though fully set forth herein.

                 15       50. The Fourth and Fourteenth Amendments of the United States Constitution guarantee that

                 16          every United States citizen enjoys a right to privacy.

                 17       51. Deputy Wilson, acting under the color of state law while working as a sheriff’s deputy,

                 18          deprived Jane Doe of her reasonable expectation of privacy by accessing Jane Doe’s private,

                 19          confidential information by using the San Diego Sheriff’s Department’s computer system for

                 20          personal reasons. Wilson’s decision to access, review and take Jane Doe’s private,

                 21          confidential information maintained and stored on the County of San Diego’s website is a

                 22          violation of Jane Doe’s constitutional right to privacy.

                 23       52. As a direct result of Wilson’s unlawful conduct, Jane Doe has been damaged including

                 24          emotional suffering, mental anguish, humiliation and embarrassment.

                 25                                      SEVENTH CAUSE OF ACTION

                 26                    Monell Claim Under 42 U.S.C. § 1983 against County of San Diego

                 27       53. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 28          contained above in paragraphs 1 through 52, inclusive, as though fully set forth herein.
S PRINKLE L LOYD &
    L ICARI , LLP                                                          9
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                      1   54. San Diego County Sheriff spokesperson Lt. Karen Stubkjaer stated to the San Diego Union

                      2      Tribune that the San Diego County Sheriff’s Department has the ability to limit access to its

                      3      online investigative files but only exercises these limitations in rare circumstances. Lt.

                      4      Stubkjaer indicated that Jane Doe’s status as a minor sexual assault victim does not qualify as

                      5      an investigation that would warrant certain limitations or restrictions regarding access. Thus,

                      6      San Diego County implements a department wide policy that allows anyone employed by the

                      7      San County Sheriff to access the criminal investigative files, even in circumstances where a

                      8      minor sexual assault victim such as Jane Doe is the subject of the investigation.

                      9   55. San Diego County’s policy provides access to more than 4,000 individuals who can and do in

                 10          fact access personal, private, intimate, embarrassing and confidential information of crime

                 11          victims. Oftentimes, the individual County employee accessing this information plays no role

                 12          whatsoever in the investigation. Additionally, much of this information is protected by a

                 13          reasonable expectation of privacy guaranteed by the Fourth and Fourteenth Amendments of

                 14          the United States Constitution. Therefore, the Department wide policy creates the opportunity

                 15          for county employees to consistently and systematically violate the rights of American

                 16          citizens by accessing the information of crime victims for personal use rather than for

                 17          legitimate purposes.

                 18       56. Based on information and belief, the practice by County employees of accessing investigative

                 19          files for non-legitimate purposes and thus gaining access to the private and confidential

                 20          information of innocent victims of crime is widespread, systematic and ongoing.

                 21       57. Deputy Wilson’s ability to access Jane Doe’s file despite being a mere jailer in the local jail

                 22          was made possible only because of the County’s unconstitutional policy.

                 23       58. The County of San Diego’s policy was implemented with a deliberate indifference to crime

                 24          victims’ constitutional rights under the Fourth and Fourteenth Amendments of the United

                 25          States Constitution.

                 26       59. Liability against the County of San Diego further exists where a municipality fails to properly

                 27          train, supervise, and discipline its employees amounting in a deliberate indifference to one’s

                 28          constitutional rights. See City of Canton, Ohio v. Harris, 489 U.S. 378 (1989); Patzner v.
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                      1      Burkett, 779 F.2d 1363, 1367 (8th Cir. 1985); Wellington v. Daniels, 717 F.2d 932, 936

                      2      (4th Cir. 1983). Deputy Wilson’s actions, among that of others within the Sheriff’s

                      3      Department demonstrates that the County has failed to properly train, supervise and/or

                      4      discipline employees who have abused the County’s online records system.

                      5   60. The Sheriff’s Department’s indifference to the Constitution by condoning, ratifying and/or

                      6      perpetuating abuse of the database has directly contributed to systematic misconduct, and the

                      7      failure to end this policy, pattern of practice, or custom was a proximate cause to the injuries

                      8      suffered by Jane Doe. The California Department of Justice declared that it found 143

                      9      reported incidences of database abuse by law enforcement of the CLETS database in 2017.

                 10       61. Wherefore, as a direct and proximate cause of the actions of the County, Plaintiff has suffered

                 11          damages in an amount to be awarded at trial.

                 12                                       EIGHTH CAUSE OF ACTION

                 13       State Created Danger Doctrine Claim Under 42 U.S.C. § 1983 against County of San Diego

                 14       62. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 15          contained above in paragraphs 1 through 61, inclusive, as though fully set forth herein.

                 16       63. By creating and executing a policy that allow for any San Diego County employee to access

                 17          any criminal file with limited exceptions, the County affirmatively placed Jane Doe in danger

                 18          by providing access to Jane Doe’s private and confidential information to Deputy Wilson who

                 19          played no role in the actual investigation and where Deputy Wilson was the individual who

                 20          committed the sexual assault.

                 21       64. By executing this department wide policy of allowing access to investigative files to nearly

                 22          everyone at the Sheriff’s Department, the County demonstrates a deliberate indifference to a

                 23          known or obvious danger. The danger is known or obvious because it is entirely foreseeable

                 24          that one of four thousand San Diego County Sheriff’s Department employees committed an

                 25          offense against a victim. In this case, Deputy Wilson was that offender and Jane Doe was that

                 26          victim. Further demonstrating foreseeability, the California Department of Justice reported

                 27          143 known incidents where law enforcement was found to have used the CLETS database for

                 28          an improper purpose in 2017.
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    L ICARI , LLP                                                          11
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                      1   65. The aforementioned policy is reckless, and demonstrates a conscientious disregard for

                      2      protecting the constitutional rights of crime victims to a level that shocks the conscience.

                      3   66. The County’s policy is a direct and proximate cause of Jane Doe’s damages.

                      4                                         PRAYER FOR RELIEF

                      5      WHEREFORE, Jane Doe. prays for relief against the County of San Diego as follows:

                      6      For the First Causes of Action:

                      7          1. An order from the Court directing the County of San Diego to modify its internal

                      8              policies regarding access to criminal investigative files involving victims so that it

                      9              does not violate the Constitutional Rights of crime victims;

                 10          For Causes of Action Two, Three and Five:

                 11              2. Compensatory damages in an amount to be awarded at trial;

                 12              3. Costs of the lawsuit;

                 13              4. Such other relief the Court deems appropriate;

                 14          For Cause of Action Four:

                 15              5. Compensatory damages in an amount to be awarded at trial;

                 16              6. Costs of the lawsuit;

                 17              7. Punitive Damages;

                 18              8. Such other relief the Court deems appropriate.

                 19
                              For Causes of action Six, Seven and Eight
                 20
                                 9. Compensatory damages in an amount to be awarded at trial;
                 21
                                 10. Costs of the lawsuit;
                 22
                                 11. Attorney’s Fees;
                 23
                                 12. Such other relief the Court deems appropriate.
                 24

                 25       DATED: October 31, 2019                          SPRINKLE LLOYD & LICARI, LLP

                 26
                 27                                                     By:
                                                                                Michael Licari Attorney for Jane Doe
                 28
S PRINKLE L LOYD &
    L ICARI , LLP                                                          12
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     SAN DIEGO                                  PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

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  Re: Doe v. County of San Diego
  Case No. 37-2019-00020094-CU-CR-CTL


                                      PROOF OF SERVICE
                              Code of Civil Procedure §§ 1013a, 210.5

  I am a resident of the State of California and over the age of eighteen years, and not a party to the
  within action. My business address is 2801 B Street, Unit 556, San Diego, CA 92102. On
  November 1, 2019, I served the following document(s):

  Reply Brief – Motion to Amend Complaint, Michael Licari Declaration

  ___x____By placing the document(s) listed above in a sealed envelope, addressed as set forth
  below, and placing the envelop for collection and mailing it overnight.

  _______By transmitting via fax the document(s) listed above to the fax numbers set forth below
  on this date before 5:00 pm.

  _______By transmitting via One Legal the document(s) listed above to the person(s) listed below

  _______By E-mailing the document(s) listed above to the address set forth below on this date
  before 5:00pm.

  _______By Causing a true and correct copy thereof to be personally delivered to the person(s) at
  the addresses set forth below.

          I am readily familiar with the firm’s practice of collection and processing correspondence
  for mailing with the United States Postal Service. Under the practice, it would be deposited with
  the U.S. Postal Service on the same day with the postage thereon fully prepaid in the ordinary
  course of business. I am aware that on motion of the party served, service is presumed invalid if
  postal cancellation date or postage meter date is more than one day after the date of deposit for
  mailing in affidavit.

  I declare under penalty of perjury under the laws of the State of California that the above is true
  and correct.

  Executed on November 1, 2019 at San Diego, California.


                                        ___________________________________
                                        Michael A. Licari




                                             EXHIBIT S
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  Service List:

  Fernando Kish
  Office of County Counsel
  1600 Pacific Highway, Room 355
  San Diego, California 92101




                                   EXHIBIT S
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               EXHIBIT “T”
   Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.167 Page 161 of 189
                             SUPERIOR COURT OF CALIFORNIA,
                                        COUNTY OF SAN DIEGO
                                           HALL OF JUSTICE
                                TENTATIVE RULINGS - November 07, 2019


EVENT DATE: 11/08/2019             EVENT TIME:     08:30:00 AM      DEPT.: C-65
JUDICIAL OFFICER:Ronald F. Frazier


CASE NO.:      37-2019-00020094-CU-CR-CTL

CASE TITLE: DOE VS COUNTY OF SAN DIEGO [IMAGED]


CASE CATEGORY: Civil - Unlimited               CASE TYPE: Civil Rights


EVENT TYPE: Motion Hearing (Civil)
CAUSAL DOCUMENT/DATE FILED:

Plaintiff's Motion for Leave to File a Second Amended Complaint is GRANTED. (ROA 21.) Plaintiff is to
file the proposed Second Amended Complaint within five (5) days.

The court observes Plaintiff's pleadings indicate she is a minor. Accordingly, Plaintiff must appear
through a guardian ad litem. The court will hear from Plaintiff's counsel regarding the appointment of
a guardian ad litem.




Event ID: 2143838                      TENTATIVE RULINGS                 Calendar No.: 8
                                             Page: 1
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     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
     Central
     330 West Broadwa~
     San Diego, CA 92101


 SHORT TITLE: Doe vs County of San Diego [IMAGED]

                                                                                            CASE NUMBER:
            CLERK'S CERTIFICATE OF SERVICE BY MAIL                                  37-2019-00020094-CU-CR-CTL


      I certify that I am not a party to this cause. I certify that a true copy of the attached minute order was mailed
      following standard court practices in a sealed envelope with postage fully prepaid, addressed as indicated below.
      The mailing and this certification occurred at San Diego. California, on 11/12/2019.




                                            Clerk of the Court, by: ___
                                                                      ·~ - - - · - - - - - - - - - - - , Deputy

'v   FERNANDO KISH
     1600 PACIFIC HWY RM 355
                                                                  MICHAEL A LICARI
                                                                  7801 MISSION COURT COURT# 240
     SAN DIEGO, CA 92101~2469                                     SAN DIEGO, CA 92108




 D     Additional names and address attached.


                                      CLERK'S CERTIFICATE OF SERVICE BY MAIL

                                                       EXHIBIT U
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                             SUPERIOR COURT OF CALIFORNIA,
                                 COUNTY OF SAN DIEGO
                                       CENTRAL
                                            MINUTE ORDER
DATE: 11/08/2019                   TIME: 08:30:00 AM                     DEPT: C-65
JUDICIAL OFFICER PRESIDING: Ronald F. Frazier
CLERK: Lori Urie
REPORTER/ERM: Suzanne Tate CSR# 8120
BAILIFF/COURT ATTENDANT: J. Arnold

CASE NO: 37-2019-00020094-CU-CR-CTL CASE !NIT.DATE: 04/02/2019
CASE TITLE: Doe vs County of San Diego [IMAGED]
CASE CATEGORY: Civil - Unlimited    CASE TYPE: Civil Rights


EVENT TYPE: Motion Hearing (Civil)




EVENT TYPE: Civil Case Management Conference
MOVING PARTY: Jane Doe
CAUSAL DOCUMENT/DATE FILED: Complaint, 04/02/2019

APPEARANCES
Michael A Licari, counsel, present for Plaintiff(s).
Christina Vilaseca, specially appearing for counsel Fernando Kish, present for Defendant(s).
After hearing oral argument, the Court takes this matter under submission.

1:30 pm The Court, having taken this matter under submission, and having fully considered the
argument of all parties, both written and oral now rules as follows:

The Court CONFIRMS the tentative ruling as follows:

Plaintiffs Motion for Leave to File a Second Amended Complaint is GRANTED. (ROA 21.) Plaintiff is to
file the proposed Second Amended Complaint within five (5) days.

The court observes Plaintiffs pleadings indicate she is a minor. Accordingly, Plaintiff must appear
through a guardian ad litem.

Plaintiffs counsel states he will file the necessary papers next week.

Civil Case Management Conference is continued pursuant to Court's motion to 01/17/2020 at 10:30AM
before Judge Ronald F. Frazier.



                                                          Judge Ronald F. Frazier




DATE: 11/08/2019                                 MINUTE ORDER                                    Page 1
DEPT: C-65                                                                                 Calendar No. 8
                                               EXHIBIT U
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               EXHIBIT “V”
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                      1    MICHAEL LICARI (SBN 265241)
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                           2801 B. St., Ste. 556
                      3    San Diego, CA 92102
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                      5    Attorneys for Jane Doe
                      6

                      7

                      8                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      9                 FOR THE COUNTY OF SAN DIEGO – CENTRAL DISTRICT
                 10

                 11        JANE DOE, an Individual,                             Case No.: 37-2019-00020094-CU-CR-CTL
                 12                      Plaintiff,                        SECOND AMENDED COMPLAINT FOR:
                 13               v.                                       1)     DECLARATORY RELIEF
                 14                                                        2)     NEGLIGENCE
                           COUNTY OF SAN DIEGO, a California
                           Municipality; TIMOTHY WILSON, an                3)     INVASION OF PRIVACY
                 15        individual; and ROES 1 through 10,              4)     BATTERY
                           inclusive,                                      5)     NEGLIGENT SUPERVISION
                 16
                                         Defendants.                              AND/OR TRAINING
                 17                                                        6)     42 U.S.C. §1983 [Breach of Privacy]
                 18                                                        7)     42 U.S.C. §1983 [Monell]
                                                                           8)     42 U.S.C. §1983 [State Created Danger]
                 19                                                                 [Image File]
                 20                                                               Jury Trial Demanded

                 21              Plaintiff Jane Doe. alleges as follows:

                 22                                                   PARTIES

                 23       1. Plaintiff JANE DOE (“Jane Doe”) was a fourteen-year-old girl at the time that the events that

                 24          give rise to this Second Amended Complaint occurred and is resident of the County of San

                 25          Diego and in the State of California.

                 26       2. Sheriff’s Deputy Timothy Wilson (“Deputy Wilson”) was and is a resident of San Diego

                 27          County.

                 28       3. Jane Doe, Deputy Wilson and the County of San Diego may be collectively referred to as the
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    L ICARI , LLP                                                          1
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                      1      “Parties.”

                      2   4. Plaintiff is unaware of the true names and capacities, whether individual, corporate, associate

                      3      or otherwise, of those Defendants sued herein as Roes 1 through 10, inclusive, which Plaintiff

                      4      therefore sues by such fictitious names. Plaintiff is informed and believes that each of the

                      5      fictitiously named Defendants is in some way responsible and/or liable to Plaintiff as herein

                      6      alleged and caused the damage to Plaintiff as herein alleged. Plaintiff will amend this

                      7      Complaint to allege the true names and capacities and the responsibility and/or liability of

                      8      such fictitiously named Defendants when their identities have been ascertained.

                      9   5. Plaintiff is informed and believes, and on this basis alleges, that at all times herein mentioned,

                 10          Defendants sued herein as Roes 1 through 10, inclusive, and each of them, were acting as the

                 11          duly authorized agent, servant, representative, joint venturer, co-venturer, co-conspirator,

                 12          partner, employee, and/or alter ego of each of the remaining Defendants and with the

                 13          knowledge, permission, consent, ratification and/or for the benefit of each of said remaining

                 14          Defendants, and in doing the things herein mentioned, each of the Defendants named herein

                 15          was acting in the course and scope of such employment, agency, conspiracy and/or

                 16          representative capacity with the ratification and consent of the other Defendants , and acted in

                 17          concert with them.

                 18                                                     VENUE

                 19       6. Based on information and belief, venue is proper in the San Diego County Superior Court

                 20          because all acts that give rise to this Complaint occurred in the County of San Diego.

                 21                                           GENERAL ALLEGATIONS

                 22       7. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 23          contained above in paragraphs 1 through 6, inclusive, as though fully set forth herein.

                 24       8. On March 21, 2018 at a Panda Express in Vista, CA, Deputy Wilson approached Jane Doe

                 25          from behind, sexually assaulted her and quickly exited the Panda Express thereafter.

                 26       9. That same day, Jane Doe and her mother reported the incident to the San Diego County

                 27          Sherriff’s Department. The San Diego County Sheriff’s Department thereafter opened an

                 28          investigation into the matter.
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                      1   10. The Sheriff’s Department arrested Deputy Wilson on May 18, 2018.

                      2   11. Deputy Wilson pled guilty to one count of committing a lewd act on a minor and two counts

                      3      of unlawfully taking computer data on October 3, 2018. Judge Goldstein sentenced Deputy

                      4      Wilson to one year in jail, five years’ probation, and he must register as a sex offender.

                      5   12. Prior to his arrest, Deputy Wilson used his unique position as an employee of the San Diego

                      6      County Sherriff’s department to access Jane Doe’s investigative file forty-four times from

                      7      March 21, 2018 until his arrest on May 18, 2018. Deputy Wilson worked for San Diego

                      8      County as a Sheriff’s Deputy in the local Vista jail. Deputy Wilson was not part of the

                      9      investigative team for Jane Doe’s case nor does he conduct investigations of any kind and

                 10          certainly not sexual assaults investigations of minors.

                 11       13. Based on information and belief, the Sheriff’s Department has the capability to limit access to

                 12          investigative files, does limit access in rare circumstances, but did not limit access of any kind

                 13          to Jane Doe’s sexual assault investigative file.

                 14       14. In the course of accessing Jane Doe’s file, Deputy Wilson downloaded photographs of Jane

                 15          Doe and sent them to his personal email account. In one instance, Deputy Wilson titled at

                 16          least one photograph, “White Pants” to describe Jane Doe. Deputy Wilson was also able to

                 17          learn Jane Doe’s name, address and cell phone number by gaining access to Jane Doe’s file,

                 18          as well as where Jane Doe attended school.

                 19       15. Based on information and belief, at no time did anyone from the Sheriff’s Department realize

                 20          nor did anyone find it unusual that a corrections officer at the local jail had accessed the

                 21          investigative file of a minor sexual assault victim’s case file forty-four times prior to Deputy

                 22          Wilson’s arrest. Based on information and belief, Deputy Wilson’s access of Jane Doe’s file

                 23          had no bearing whatsoever on his arrest.

                 24       16. The San Diego County Sheriff’s Department arrested Deputy Wilson because a San Diego

                 25          County employee identified Deputy Wilson in a video feed from the Panda Express security

                 26          footage that the local news outlets broadcasted as part of their story.

                 27       17. Once Jane Doe discovered that her assailant accessed her personal file, downloaded

                 28          photographs of her and knew where she lived, Jane Doe became extremely fearful for her life
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                      1      and safety. Thereafter, Jane Doe, at times became depressed, sick, confused, irritable, and

                      2      experienced periods of isolation so much so, that she has sought medical treatment as a result

                      3      of knowing that her personal information was breached forty-four times by the individual who

                      4      sexually assaulted her and law enforcement never noticed. For example, Jane Doe has

                      5      preferred to isolate herself as opposed to socializing with friends and peers as she attempts to

                      6      process what has happened to her and why. Jane Doe lacks trust in adults now and becomes

                      7      quickly uncomfortable and nervous when an adult male makes eye contact with her in an

                      8      otherwise typical social interaction. Jane Doe’s ability to seek a relationship with the opposite

                      9      sex has also been impaired by the events in this case. Each of these unfortunate consequences

                 10          may have a long-lasting negative impact on Jane Doe’s long-term growth and social

                 11          development.

                 12       18. Jane Doe also changed schools because Deputy Wilson discovered where Jane Doe attended

                 13          school by accessing her case file.

                 14       19. Jane Doe submitted a claim with San Diego County as required by the California Govt. Code.

                 15          Section 900 et. seq. San Diego County rejected Jane Does’ claim and denied any

                 16          responsibility or liability on October 18, 2018.

                 17                                         FIRST CAUSE OF ACTION

                 18                             Declaratory Relief against the County of San Diego

                 19       20. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 20          contained above in paragraphs 1 through 19, inclusive, as though fully set forth herein.

                 21       21. The Fourth and Fourteenth Amendments not only create a reasonable expectation of privacy

                 22          for all United States Citizens, but the Fourteenth Amendment also requires municipalities

                 23          such as the County of San Diego to ensure that the actions of its employees do not endanger

                 24          U.S. citizens. The San Diego County Sheriff’s Department’s current policy regarding who

                 25          may access a criminal investigative file involving victims of crimes [including but not limited

                 26          to Jane Doe] violates the United States Constitution and specifically the Fourth and

                 27          Fourteenth Amendments and gives rise to claims for constitutional violations under 42 U.S.C.

                 28          § 1983. An actual controversy has arisen and now exists between Jane Doe and the County. A
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                      1      judicial determination of these issues and of the respective duties of Jane Doe and the County

                      2      is necessary and appropriate at this time under the circumstances to prevent future

                      3      constitutional violations against Jane Doe.

                      4   22. Based on information and belief, the San Diego County Sheriff grants access to all criminal

                      5      investigative files including cases involving minor sexual assault victims to all San Diego

                      6      County employees with few limited exceptions. The County’s policy regarding access to

                      7      investigative files is completely at odds with the United States Constitution’s requirements to

                      8      protect the victim’s reasonable expectation of privacy by ensuring that any private or

                      9      confidential information remains private and confidential and that a criminal defendant who is

                 10          also a law enforcement employee cannot access this protected information.

                 11       23. San Diego County Sheriff spokesperson Lt. Karen Stubkjaer revealed that the department has

                 12          “the ability to limit access to certain investigatory files when necessary” and “there was no

                 13          indication upon the reporting of this incident that there would be a necessity to limit access by

                 14          Department peace officers.” Spokesman Jason White stated the following on behalf of the

                 15          Sheriff’s Department on November 5, 2019 in response to an NBC7 news report about police

                 16          abuse of the CLETS system, “We have security measures in place to limit access to sensitive

                 17          or high-profile cases.” According to the Department’s own spokespersons, the Sheriff’s

                 18          Department does not consider a minor sexual assault victim such as Jane Doe’s case to be

                 19          “sensitive” nor “high profile” enough to warrant limitations. Further problematic, the Sheriff’s

                 20          Department, based on information and belief, takes no steps whatsoever to proactively

                 21          monitor who is accessing certain files to prevent ongoing and perpetual abuse or to act as a

                 22          deterrent as evidenced by Deputy Wilson accessing Jane Doe’s file more than forty times

                 23          without challenge or abatement.

                 24       24. At least nine members of law enforcement in San Diego, five from the San Diego Police

                 25          Department and four San Diego County Sherriff’s Department employees have been arrested

                 26          on charges of sexual misconduct since 2005 and likely had access to the victim’s investigative

                 27          file and personal information. The number could be higher but the City and County of San

                 28          Diego do not track sexual misconduct complaints. The California Legislature passed Senate
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                      1      Bill 1421 in 2018 and the bill took effect on January 1, 2019, which requires law enforcement

                      2      agencies to release information when an officer committed sexual assault, lied when reporting

                      3      a crime or in an investigation, or used force that caused a person serious harm or death. To

                      4      date, the San Diego County Sheriff’s department has released two such files: Deputy Wilson

                      5      and Deputy Juan Andrade.

                      6   25. Here, Deputy Wilson is but one example where the County granted access to a minor victim’s

                      7      sexual assault file to a nonessential employee who then unlawfully accessed the file and the

                      8      victim’s confidential information forty-four times. Of course, no one from the department

                      9      noticed that Deputy Wilson systematically and endlessly accessed Jane Doe’s file and emailed

                 10          the file to his personal email account, nor did the department take any steps to prevent Deputy

                 11          Wilson’s continuous access of Jane Doe’s confidential file until his arrest.

                 12       26. Jane Doe seeks a Court declaration stating that the Sheriff’s Department’s policy of not

                 13          limiting access to minor sexual assault victims’ investigative files is unconstitutional.

                 14          Injunctive relief from this Court would force the San Diego County Sherriff’s Department to

                 15          limit access to investigative files that involve victims to essential personnel only so as to be in

                 16          compliance with the United States Constitution. In seeking the injunction, Jane Doe seeks to

                 17          ensure that no one other than essential personnel can view, use and appropriate Jane Doe’s

                 18          confidential and private information so as to comply with the Fourth and Fourteenth

                 19          Amendments to the U.S. Constitution.

                 20                                       SECOND CAUSE OF ACTION

                 21                                 Negligence against the County of San Diego

                 22       27. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 23          contained above in paragraphs 1 through 26, inclusive, as though fully set forth herein.

                 24       28. The California Constitution imposes certain duties under Article I section 28 on law

                 25          enforcement when law enforcement is investigating and prosecuting crimes that involve

                 26          victims. Among them are a duty to protect the privacy of an individual including but not

                 27          limited to the victim’s confidential information as described in paragraph twenty above.

                 28       29. Here, the San Diego County Sheriff’s Office breached its duties to Jane Doe by implementing
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                      1      a system where nonessential employees including Deputy Wilson could access Jane Doe’s

                      2      underage sexual assault investigative files stored on computer software that contained

                      3      confidential and private information about Jane Doe forty-four times without preventing

                      4      further access.

                      5   30. It was entirely foreseeable that Jane Doe’s offender could be one of 4,000 San Diego County

                      6      employees because law enforcement employees in the Sherriff’s Office and the San Diego

                      7      County Police Department have been arrested, charged and/or convicted of crimes including

                      8      sexual assault on at least nine occasions since 2005.

                      9   31. The Sheriff’s Department’s breach of its duties to Jane Doe have caused Jane Doe serious

                 10          emotional distress and therefore, Jane Doe is entitled to compensation for her injuries in an

                 11          amount to be awarded at trial.

                 12                                        THIRD CAUSE OF ACTION

                 13                                    Invasion of Privacy against All Parties

                 14       32. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 15          contained above in paragraphs 1 through 31, inclusive, as though fully set forth herein.

                 16       33. As the victim of sexual assault, the California Constitution provides all victims of crime a

                 17          reasonable expectation of privacy regarding confidential information, identity, home address

                 18          and phone number.

                 19       34. Deputy Wilson intentionally intruded on Jane Doe’s privacy rights by using his position as a

                 20          Deputy with the San Diego County Sheriff’s Department and his access credentials given to

                 21          him by the San Diego County Sheriff’s Office to access Jane Doe’s private, confidential

                 22          information during normal business hours that the Department stored on its computer system

                 23          and server. Deputy Wilson then converted Jane Doe’s private, confidential information for his

                 24          own personal use including photographs of Jane Doe just weeks after Deputy Wilson sexually

                 25          assaulted Jane Doe. For these reasons, the San Diego County Sheriff’s Department is

                 26          vicariously liable for Deputy Wilson’s conduct.

                 27       35. Deputy Wilson’s conduct was within the scope of his employment when he committed his

                 28          tortious acts and thus, the County of San Diego is vicariously liable.
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    L ICARI , LLP                                                          7
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                      1   36. Deputy Wilson’s intrusion is not only highly offensive to a reasonable person, but also

                      2      violates California law under Civil Code section 1798 et. seq, specifically Cal. Civ. Code §

                      3      1798.24 and the California Constitution.

                      4   37. As a consequence of Deputy Wilson’s intrusion, Jane Doe was harmed as particularly

                      5      described in paragraphs sixteen and seventeen of this Complaint.

                      6                                   FOURTH CAUSE OF ACTION

                      7                               Sexual Battery against Timothy Wilson

                      8   38. Plaintiff realleges and incorporates herein by this reference each and every allegation

                      9      contained above in paragraphs 1 through 37, inclusive, as though fully set forth herein.

                 10       39. On March 21, 2018 at a Panda Express in Vista, CA, Deputy Wilson approached Jane Doe

                 11          from behind, sexually assaulted and battered her by grabbing Jane Doe in intimate areas on

                 12          her body without her consent.

                 13       40. The offensive and wrongfully touching was intentional and caused Jane Doe injuries and

                 14          damages in an amount to be awarded at trial.

                 15       41. The acts of Timothy Wilson, as alleged herein were willful, wanton, and malicious and were

                 16          intended to oppress and cause injury to Jane Doe. In light of the willful, wanton, malicious

                 17          and intentional conduct engaged in by Deputy Wilson, Jane Doe is entitled to an award of

                 18          punitive damages.

                 19                                         FIFTH CAUSE OF ACTION

                 20          Negligent Supervision and/or Training against the County of San Diego and Does 1-3

                 21       42. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 22          contained above in paragraphs 1 through 41, inclusive, as though fully set forth herein.

                 23       43. Plaintiff is informed and believes and based therefore alleges that the supervisors [Does1-3]

                 24          of Deputy Wilson had, and did exercise, supervisory authority over Deputy Wilson, while

                 25          engaged in, and required by, the course and scope of their employment during regular

                 26          business hours.

                 27       44. Plaintiff is informed and believes and based therefore alleges that Deputy Wilson’s

                 28          unauthorized use of the government databases was done during regular business hours, on an
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     SAN DIEGO                                   PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

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                      1      ongoing basis throughout his tenure at the Sheriff’s Department and ostensibly while Deputy

                      2      Wilson was engaged in the course and scope of his employment and performing his required

                      3      official duties as a County Sheriff’s Deputy.

                      4   45. Plaintiff is informed and believes and based therefore alleges that the San Diego County

                      5      Sheriff’s Department and Deputy Wilson’s supervisors had actual and/or constructive

                      6      knowledge that Deputy Wilson was using the time and resources of the County, and to gather

                      7      information for the personal use of himself on a routine basis, and while acting as a county

                      8      deputy when logging in to these government databases.

                      9   46. Deputy Wilson’s continuous use of the government database for personal reasons made

                 10          Deputy Wilson unfit for his position as a Deputy Sheriff with the San Diego County Sheriff’s

                 11          Department.

                 12       47. Notwithstanding such knowledge, Deputy Wilson’s supervisors, and thus the County was

                 13          negligent, careless and failed to properly supervise, train and control Wilson as a Sheriff’s

                 14          Deputy. These failures enabled and allowed Deputy Wilson to access Jane Doe’s investigative

                 15          file forty-four times and download the file and email it to his personal email address all in

                 16          violation of Jane Doe’s rights as a victim and in violation of her right to privacy. A special

                 17          relationship exists between law enforcement and criminal sexual assault victims that creates a

                 18          duty owned by law enforcement to keep victim’s information confidential and private.

                 19       48. The supervisors’ failure to properly supervise, train and control Deputy Wilson were a

                 20          substantial cause of Jane Doe’s damages and subject the County to liability under Gov. Code

                 21          § 815.2 and §815.6.

                 22                                         SIXTH CAUSE OF ACTION

                 23                    Invasion of Privacy Under 42 U.S.C. § 1983 against Timothy Wilson

                 24       49. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 25          contained above in paragraphs 1 through 48, inclusive, as though fully set forth herein.

                 26       50. The Fourth and Fourteenth Amendments of the United States Constitution guarantee that

                 27          every United States citizen enjoys a right to privacy.

                 28       51. Deputy Wilson, acting under the color of state law while working as a sheriff’s deputy,
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                      1      deprived Jane Doe of her reasonable expectation of privacy by accessing Jane Doe’s private,

                      2      confidential information by using the San Diego Sheriff’s Department’s computer system for

                      3      personal reasons. Wilson’s decision to access, review and take Jane Doe’s private,

                      4      confidential information maintained and stored on the County of San Diego’s website is a

                      5      violation of Jane Doe’s constitutional right to privacy.

                      6   52. As a direct result of Wilson’s unlawful conduct, Jane Doe has been damaged including

                      7      emotional suffering, mental anguish, humiliation and embarrassment.

                      8                                  SEVENTH CAUSE OF ACTION

                      9                Monell Claim Under 42 U.S.C. § 1983 against County of San Diego

                 10       53. Plaintiff realleges and incorporates herein by this reference each and every allegation

                 11          contained above in paragraphs 1 through 52, inclusive, as though fully set forth herein.

                 12       54. San Diego County Sheriff spokesperson Lt. Karen Stubkjaer stated to the San Diego Union

                 13          Tribune that the San Diego County Sheriff’s Department has the ability to limit access to its

                 14          online investigative files but only exercises these limitations in rare circumstances. Lt.

                 15          Stubkjaer indicated that Jane Doe’s status as a minor sexual assault victim does not qualify as

                 16          an investigation that would warrant certain limitations or restrictions regarding access. Thus,

                 17          San Diego County implements a department wide policy that allows anyone employed by the

                 18          San County Sheriff to access the criminal investigative files, even in circumstances where a

                 19          minor sexual assault victim such as Jane Doe is the subject of the investigation.

                 20       55. San Diego County’s policy provides access to more than 4,000 individuals who can and do in

                 21          fact access personal, private, intimate, embarrassing and confidential information of crime

                 22          victims. Oftentimes, the individual County employee accessing this information plays no role

                 23          whatsoever in the investigation. Additionally, much of this information is protected by a

                 24          reasonable expectation of privacy guaranteed by the Fourth and Fourteenth Amendments of

                 25          the United States Constitution. Therefore, the Department wide policy creates the opportunity

                 26          for county employees to consistently and systematically violate the rights of American

                 27          citizens by accessing the information of crime victims for personal use rather than for

                 28          legitimate purposes.
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    L ICARI , LLP                                                          10
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     SAN DIEGO                                   PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

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                      1   56. Based on information and belief, the practice by County employees of accessing investigative

                      2      files for non-legitimate purposes and thus gaining access to the private and confidential

                      3      information of innocent victims of crime is widespread, systematic and ongoing.

                      4   57. Deputy Wilson’s ability to access Jane Doe’s file despite being a mere jailer in the local jail

                      5      was made possible only because of the County’s unconstitutional policy.

                      6   58. The County of San Diego’s policy was implemented with a deliberate indifference to crime

                      7      victims’ constitutional rights under the Fourth and Fourteenth Amendments of the United

                      8      States Constitution.

                      9   59. Liability against the County of San Diego further exists where a municipality fails to properly

                 10          train, supervise, and discipline its employees amounting in a deliberate indifference to one’s

                 11          constitutional rights. See City of Canton, Ohio v. Harris, 489 U.S. 378 (1989); Patzner v.

                 12          Burkett, 779 F.2d 1363, 1367 (8th Cir. 1985); Wellington v. Daniels, 717 F.2d 932, 936

                 13          (4th Cir. 1983). Deputy Wilson’s actions, among that of others within the Sheriff’s

                 14          Department demonstrates that the County has failed to properly train, supervise and/or

                 15          discipline employees who have abused the County’s online records system.

                 16       60. The Sheriff’s Department’s indifference to the Constitution by condoning, ratifying and/or

                 17          perpetuating abuse of the database has directly contributed to systematic misconduct, and the

                 18          failure to end this policy, pattern of practice, or custom was a proximate cause to the injuries

                 19          suffered by Jane Doe. That an officer within the Sheriff’s Department would abuse the

                 20          CLETS system as Officer Wilson did was entirely foreseeable as well. The California

                 21          Department of Justice declared that it found 143 reported incidences of database abuse by law

                 22          enforcement of the CLETS database in 2017 and numerous articles and news stories have

                 23          highlighted the growing trend of CLETS abuse among law enforcement in reason years.

                 24       61. Wherefore, as a direct and proximate cause of the actions of the County, Plaintiff has suffered

                 25          damages in an amount to be awarded at trial.

                 26                                        EIGHTH CAUSE OF ACTION

                 27       State Created Danger Doctrine Claim Under 42 U.S.C. § 1983 against County of San Diego

                 28       62. Plaintiff realleges and incorporates herein by this reference each and every allegation
S PRINKLE L LOYD &
    L ICARI , LLP                                                          11
 ATTO RNEY S AT LAW
     SAN DIEGO                                   PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

                                                              EXHIBIT V
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                      1      contained above in paragraphs 1 through 61, inclusive, as though fully set forth herein.

                      2   63. By creating and executing a policy that allow for any San Diego County employee to access

                      3      any criminal file with limited exceptions, the County affirmatively placed Jane Doe in danger

                      4      by providing access to Jane Doe’s private and confidential information to Deputy Wilson who

                      5      played no role in the actual investigation and where Deputy Wilson was the individual who

                      6      committed the sexual assault.

                      7   64. By executing this department wide policy of allowing access to investigative files to nearly

                      8      everyone at the Sheriff’s Department, the County demonstrates a deliberate indifference to a

                      9      known or obvious danger. The danger is known or obvious because it is entirely foreseeable

                 10          that one of four thousand San Diego County Sheriff’s Department employees committed an

                 11          offense against a victim. In this case, Deputy Wilson was that offender and Jane Doe was that

                 12          victim. Further demonstrating foreseeability, the California Department of Justice reported

                 13          143 known incidents where law enforcement was found to have used the CLETS database for

                 14          an improper purpose in 2017.

                 15       65. The aforementioned policy is reckless, and demonstrates a conscientious disregard for

                 16          protecting the constitutional rights of crime victims to a level that shocks the conscience.

                 17       66. The County’s policy is a direct and proximate cause of Jane Doe’s damages.

                 18                                             PRAYER FOR RELIEF

                 19          WHEREFORE, Jane Doe. prays for relief against the County of San Diego as follows:

                 20          For the First Causes of Action:

                 21              1. An order from the Court directing the County of San Diego to modify its internal

                 22                  policies regarding access to criminal investigative files involving victims so that it

                 23                  does not violate the Constitutional Rights of Jane Doe;

                 24          For Causes of Action Two, Three and Five:

                 25              2. Compensatory damages in an amount to be awarded at trial;

                 26              3. Costs of the lawsuit;

                 27              4. Such other relief the Court deems appropriate;

                 28          For Cause of Action Four:
S PRINKLE L LOYD &
    L ICARI , LLP                                                          12
 ATTO RNEY S AT LAW
     SAN DIEGO                                  PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

                                                             EXHIBIT V
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                      1         5. Compensatory damages in an amount to be awarded at trial;

                      2         6. Costs of the lawsuit;

                      3         7. Punitive Damages;

                      4         8. Such other relief the Court deems appropriate.

                      5      For Causes of action Six, Seven and Eight

                      6         9. Compensatory damages in an amount to be awarded at trial;

                      7         10. Costs of the lawsuit;

                      8         11. Attorney’s Fees;

                      9         12. Such other relief the Court deems appropriate.

                 10
                          DATED: November 14, 2019                           SPRINKLE LLOYD & LICARI, LLP
                 11

                 12
                                                                     By:
                 13                                                          Michael Licari
                                                                             Attorney for Jane Doe
                 14

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                 28
S PRINKLE L LOYD &
    L ICARI , LLP                                                       13
 ATTO RNEY S AT LAW
     SAN DIEGO                                 PLAINTIFF JANE DOE’S SECOND AMENDED COMPLAINT

                                                            EXHIBIT V
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  Re: Doe v. County of San Diego
  Case No. 37-2019-00020094-CU-CR-CTL


                                      PROOF OF SERVICE
                              Code of Civil Procedure §§ 1013a, 210.5

  I am a resident of the State of California and over the age of eighteen years, and not a party to the
  within action. My business address is 2801 B Street, Unit 556, San Diego, CA 92102. On
  November 14, 2019, I served the following document(s):

  Jane Doe’s Second Amended Complaint

  ___x____By placing the document(s) listed above in a sealed envelope, addressed as set forth
  below, and placing the envelop for collection and mailing it overnight.

  _______By transmitting via fax the document(s) listed above to the fax numbers set forth below
  on this date before 5:00 pm.

  ____x___By transmitting via One Legal the document(s) listed above to the person(s) listed below

  _______By E-mailing the document(s) listed above to the address set forth below on this date
  before 5:00pm.

  _______By Causing a true and correct copy thereof to be personally delivered to the person(s) at
  the addresses set forth below.

          I am readily familiar with the firm’s practice of collection and processing correspondence
  for mailing with the United States Postal Service. Under the practice, it would be deposited with
  the U.S. Postal Service on the same day with the postage thereon fully prepaid in the ordinary
  course of business. I am aware that on motion of the party served, service is presumed invalid if
  postal cancellation date or postage meter date is more than one day after the date of deposit for
  mailing in affidavit.

  I declare under penalty of perjury under the laws of the State of California that the above is true
  and correct.

  Executed on November 14, 2019 at San Diego, California.



                                        ___________________________________
                                        Michael A. Licari




                                            EXHIBIT V
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.186 Page 180 of 189



  Service List:

  Fernando Kish
  Office of County Counsel
  1600 Pacific Highway, Room 355
  San Diego, California 92101




                                   EXHIBIT V
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.187 Page 181 of 189




               EXHIBIT “W”
      Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.188 Page 182 of 189

                                                                                                                                CIV-010
 ATTORNEY (Name, State Bar number, and address):                                                         FOR COURT USE ONLY




                       858-717-0013 FAX NO. (Optional):
            TELEPHONE NO.:

                       mike@SL2Law.om
 E-MAIL ADDRESS (Optional):

  ATTORNEY FOR (Name): Jane Doe
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego
      STREET ADDRESS:  330 West Broadway
         MAILING ADDRESS:
                         San Diego, CA 92102
        CITY AND ZIP CODE:

           BRANCH NAME:  Central
         PLAINTIFF/PETITIONER: Jane Doe

  DEFENDANT/RESPONDENT:                  County of San Diego, Timothy Wilson, Roes

                        APPLICATION AND ORDER FOR APPOINTMENT                                 CASE NUMBER:

                              OF GUARDIAN AD LITEM—CIVIL
                                                                                             37-2019-00020094-CU-CR-CTL
                                       EX PARTE
    NOTE: This form is for use in civil proceedings in which a party is a minor, an incapacitated person, or a person for
    whom a conservator has been appointed. A party who seeks the appointment of a guardian ad litem in a family law or
    juvenile proceeding should use form FL-935. A party who seeks the appointment of a guardian ad litem in a probate
    proceeding should use form DE-350/GC-100. An individual cannot act as a guardian ad litem unless he or she is
    represented by an attorney or is an attorney.

1. Applicant (name): Jane Doe                                                       is
   a.       the parent of (name):
   b.       the guardian of (name):
   c.       the conservator of (name):
   d.       a party to the suit.
   e.       the minor to be represented (if the minor is 14 years of age or older).
   f.       another interested person (specify capacity):

2. This application seeks the appointment of the following person as guardian ad litem (state name, address, and telephone number):




3. The guardian ad litem is to represent the interests of the following person (state name, address, and telephone number):




4. The person to be represented is:
   a.       a minor (date of birth): November 1, 2003
   b.       an incompetent person.
   c.       a person for whom a conservator has been appointed.
5. The court should appoint a guardian ad litem because:
   a.       the person named in item 3 has a cause or causes of action on which suit should be brought (describe):




             Continued on Attachment 5a.

                                                                                                                                  Page 1 of 2
                                                                                                                       Code of Civil Procedure,
Form Adopted for Mandatory Use
  Judicial Council of California
                                                   APPLICATION AND ORDER FOR APPOINTMENT                                          § 372 et seq.
 CIV-010 [Rev. January 1, 2008]                          OF GUARDIAN AD LITEM—CIVIL


                                                               EXHIBIT W
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.189 Page 183 of 189




                                  EXHIBIT W
            Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.190 Page 184 of 189



                      1   MICHAEL A. LICARI (BAR NO. CA 265241)
                          SPRINKLE LLOYD & LICARI LLP
                      2   Attorneys at Law
                          2801 B. St. Ste. 556
                      3   San Diego, CA 92108
                          Telephone: (858) 717-0013
                      4
                          Attorney for Jane Doe
                      5

                      6                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      7                FOR THE COUNTY OF SAN DIEGO – CENTRAL DISTRICT
                      8

                      9   JANE DOE, an Individual,                         Case No.: 37-2019-00020094-CU-CR-CTL
                 10                      Plaintiff,                        DECLARATION OF JENNIFER TANIS IN
                                                                           SUPPORT OF JANE DOE’S EX PARTE
                 11              v.                                        APPLICATION FOR APPOINTMENT OF
                                                                           GUARDIAN AD LITEM
                 12       COUNTY OF SAN DIEGO, a California
                          Municipality; TIMOTHY WILSON, an                 Judge: Hon. Ronald Frazier
                 13       individual; and ROES 1 through 10,               Dept: C-65
                          inclusive,
                 14                                                        [IMAGE FILE]
                 15                      Defendants.
                 16

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                 19
                                I, Jennifer Tanis declare the following:
                 20
                            1. I am over the age of 18 and have personal knowledge of the forgoing and will testify
                 21
                                truthfully to such matters if called upon to do so.
                 22
                            2. I am Jane Doe’s mother. I have never been married to Jane Doe’s father Lejon Jackson
                 23
                                and no custody order between myself and her father exists regarding Jane Doe.
                 24
                            3. I have full custody of Jane Doe and she lives with me.
                 25
                            4. I am familiar with Jane Doe’s civil case, the facts and the timeline of events that have
                 26
                                occurred to date. I routinely interact with Jane Doe’s counsel and essentially have been
                 27
                                acting in the capacity as Guardian Ad Litem since before the case was filed.
                 28
S PRINKLE LLOYD       &
   LICARI , LLP                                                            1
 ATTO RNEY S AT LAW
     SAN DIEGO                                                                                DECLARATION OF JENNIFER TANIS

                                                            EXHIBIT W
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.191 Page 185 of 189




                                  EXHIBIT W
             Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.192 Page 186 of 189



                        MICHAEL A. LICARI (BAR NO. CA 265241)
                        SPRINKLE LLOYD & LICARI LLP
                        Attorneys at Law
                        2801 B. St. Ste. 556
                        San Diego, CA 92108
                        Telephone: (858) 717-0013

                        Attorney for Jane Doe
                    5

                                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                          FOR THE COUNTY OF SAN DIEGO — CENTRAL DISTRICT


                 9      JANE DOE, an Individual,                           Case No.: 37-2019-00020094-CU-CR-CTL
                10                         Plaintiff,                      DECLARATION OF LEJON JACKSON IN
                                                                           SUPPORT OF JANE DOE'S EX PARTE
                                                                           APPLICATION FOR APPOINTMENT OF
                                                                           GUARDIAN AD LITEM
                12      COUNTY OF SAN DIEGO, a California
                        Municipality; TIMOTHY WILSON, an                   Judge: Hon. Ronald Frazier
                13      individual; and ROES I through 10,                 Dept: C-65
                        inclusive,
                14                                                         [IMAGE FILEI
               15                          Defendants.
               16

               17

               18

               19
                               I,   Lejon Jackson declare the following:
               20
                          I.   I    am over the age of 18 and have personal knowledge of the forgoing and will testify
               21
                               truthfully to such matters if called upon to do so.
               22
                          2.   I    am Jane Doe's father. I have never been married to Jane Doe's mother and no custody
               23
                               order between myself and Jane Doe's mother exists.
               24
                          3.   Jane Doe's mother, Jennifer Tanis has fully custody of Jane Doe. Jane Doe lives with her
               25
                               mother.
               26
                         4. I am generally familiar with Jane Doe's civil case, the facts and the timeline    of events that
               27
                               have occurred to date. I routinely have conversations with Jennifer Tanis about the case
               28
SPRINKLE IRIPYD A
   LICARI, LLP

    EA   P                                                                                    DECLARATION OF LEJON JACKSON

                                                             EXHIBIT W
          Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.193 Page 187 of 189



                                and she provides me updates.

                            5. I live in San Diego County and have a good relationship with Jennifer Tanis. I have full

                                faith and confidence in Ms. Tanis to act as Jane Doe's Guardian Ad Litem and her

                                appointment to this role in Jane Doe's case.
                            6. Jane Doe is not the subject   of a juvenile dependency action nor the subject of a probate
                                guardianship.

                  7   I   declare under penalty of perjury under the laws of the State of California that the forgoing is

                  8   true and correct.



                 10   DATED: November 13, 2019                                                                 i(iK~(~7
                                                                            +on Jackson
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SPRINKLE LLOYD   EK

    LICARI LLP
  AY    PY'AYL
    EAR DIPA                                                                                  DECLARATION OF LEJON JACKSON

                                                           EXHIBIT W
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.194 Page 188 of 189



  Re: Doe v. County of San Diego
  Case No. 37-2019-00020094-CU-CR-CTL


                                      PROOF OF SERVICE
                              Code of Civil Procedure §§ 1013a, 210.5

  I am a resident of the State of California and over the age of eighteen years, and not a party to the
  within action. My business address is 2801 B Street, Unit 556, San Diego, CA 92102. On
  November 14, 2019, I served the following document(s):

  Jane Doe’s Application for Guardian Ad Litem

  ___x____By placing the document(s) listed above in a sealed envelope, addressed as set forth
  below, and placing the envelop for collection and mailing it overnight.

  _______By transmitting via fax the document(s) listed above to the fax numbers set forth below
  on this date before 5:00 pm.

  ____x___By transmitting via One Legal the document(s) listed above to the person(s) listed below

  _______By E-mailing the document(s) listed above to the address set forth below on this date
  before 5:00pm.

  _______By Causing a true and correct copy thereof to be personally delivered to the person(s) at
  the addresses set forth below.

          I am readily familiar with the firm’s practice of collection and processing correspondence
  for mailing with the United States Postal Service. Under the practice, it would be deposited with
  the U.S. Postal Service on the same day with the postage thereon fully prepaid in the ordinary
  course of business. I am aware that on motion of the party served, service is presumed invalid if
  postal cancellation date or postage meter date is more than one day after the date of deposit for
  mailing in affidavit.

  I declare under penalty of perjury under the laws of the State of California that the above is true
  and correct.

  Executed on November 14, 2019 at San Diego, California.



                                        ___________________________________
                                        Michael A. Licari




                                            EXHIBIT W
Case 3:19-cv-02335-JM-AGS Document 1-3 Filed 12/06/19 PageID.195 Page 189 of 189



  Service List:

  Fernando Kish
  Office of County Counsel
  1600 Pacific Highway, Room 355
  San Diego, California 92101




                                   EXHIBIT W
